                           Operation California Dreamin'
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                  IN THE UNITED STATES DISTRICT COURT FOR THE

                             WESTERN DISTRICT OF VIRGINIA

                                       Abingdon Division



IN THE MATTER OF THE ARRESTS                 )                      UNDER SEAL
OF SHAWN WAYNE FARRIS,                       )
ETAL.                                        )                      Case No.
                                             )




                                 AFFIDAVIT IN SUPPORT OF

                         APPLICATION FOR ARREST WARRANTS

   I, Christopher L Parks, United States Department of Justice, Drug Enforcement

Administration, being first duly sworn, hereby depose and state as follows:

   I am a Task Force Officer for the United States Drug Enforcement Administration (DEA)

and have been assigned this position for approximately four (4) years. I have been employed by

the Abingdon Police Department (APD) for approximately seventeen (17) years with the

previous twelve (12) years being assigned to investigate drug cases. Prior to working for the

APD I worked for approximately one (1) year for the Glade Spring Virginia Police Department

and Virginia Highlands Community College Campus Police.

   I was trained as a Police Officer at the Southwest Virginia Criminal Justice Training

Academy in Bristol, Virginia. During my training at the law enforcement academy I received

specialized training in drug laws and drug recognition. Over the past sixteen (16) years I have

attended several classes/courses specializing in techniques and procedures to investigate drug

cases. This training includes courses that directly relate to possession, manufacturing and

distribution of drugs and their subsidiaries and include the drugs, marijuana, cocaine, heroin,



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methamphetamine and prescription drugs. For the past nine (9) years I have taught at the law

enforcement academy. The course I teach is, drug identification and recognition.

       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       Based on my training and experience and the facts as set forth in this affidavit, there is

probable cause to believe that violations of Title 21, United States Code, Sections 846, 841(a)(1)

and (b)(1)(C), have been committed, and are being committed, by others known and unknown..

       The information contained in this affidavit is based on my personal observations,

observations of other law enforcement officers, observations of Cooperating Sources (CS) as

related to me, my review of official police and government reports, my review of records and

documents gathered during this investigation, and consultation with other Agents involved in the

investigation. This affidavit contains information necessary to support probable cause for the

search warrant. The information contained in this affidavit is not intended to include each and

every fact and matter observed by or known to the United States.

       Numerous search warrants have been executed for the contents of seized cellular

telephones as well as text message content on the accounts of active cellular telephones. In

addition, call detail records have been received on many target telephones via DEA

Administrative Subpoena. A minimal amount of data received as a result of these search

warrants and subpoenas has been included in this affidavit to help establish probable cause.


       This affidavit is submitted in support of a request that a complaint and arrest warrant(s)

be issued for the following person(s) for violations of Title 21, United States Code, Section 846,


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Conspiracy to Possess with the Intent to Distribute Methamphetamine:


                                         PERSONS


                            a) Shawn Wayne FARRIS

                            b) Sean Philip MAIDLOW

                            c) Jair Medina GUTIERREZ, aka "Primo"

                            d) Lacey Cheri WEIR

                            e) Andrea Nichole STICKEL, aka "Nikki"

                            f) James Nicholas HOWINGTON, aka "Nick''

                            g) James Robert JOHNSON, aka "Jamie"

                            h) Stephen A. GRAHAM

                            i) Christopher Lee SMILEY

                            j) Joshua Todd CHAPMAN, aka "Josh"

                            k) Saleemah Lashawn ROBERSON, aka Saleemah EANS

                            1) Donald Zachary SNYDER, aka "Stryker"

                            m) James Skyler SEBASTIAN

                            n) Larry Levi BENNETT

                            o) Terry Melvin DALTON

                            p) Heather Ashley DAVIS, aka Heather Ashley HALL

                            q) Brianna Nicole WOODBY, aka Brianila NICKLES

                            r) Donald Shane HAWTHORNE

                            s) Gary Lee MCFARLANE

                            t) Elizabeth Pauline EATON, aka Beth EATON

                            u) Matthew Todd MULLINS

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                              v) Anthony Jerome HARLESS

                              w) Kimberly Ann DRAKE, aka "Mama Kim"

                              x) Brandon Heath WHITT

                              y) Melissa Darlene BARRETT

                              z) Susan Nicole PAYNE, aka Susan WRIGHT

                              aa) Bradley Scott WILLIAMS

                              bb) Devon Scott COLEMAN, aka "Cuz"



                                      INTRODUCTION



        In early 2017, an investigation was initiated into the Shawn FARRIS Drug Trafficking

. Organization, which was responsible for the trafficking of crystal methamphetamine between

 Southern California and the areas of Southwest Virginia and Northeast Tennessee. The

 investigation revealed that FARRIS temporarily moved from Cathedral City, CA to Bristol, VA

 at the suggestion of close friend Lacey WEIR, a Bristol, TN resident who was originally from

 California. FARRIS' source of supply for methamphetamine was identified as Raul LOPEZ-

 VALENZUELA, who was recently indicted in the Southern District of California in a separate

 DEA investigation.


        In addition to FARRIS, WEIR also recruited family member Sean MAID LOW from

 Pomona, CA who moved to Bristol, TN. MAIDLOW's source of supply for methamphetamine

 was identified as Jair Medina GUTIERREZ, who was also a target of a separate DEA

 investigation.




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       With FARRIS and MAID LOW both in Bristol with methamphetamine sources of supply

in California, the FARRIS DTO recruited many distributors in the area who sold large amounts

·of methamphetamine in the Western District ofVirginia and Eastern District of Tennessee.

WEIR's boyfriend, John Ratcliff, became a major distributor and enforcer for both FARRIS and

MAIDLOW. In July 2017, Ratcliff was arrested in Bristol, TN in possession of 1.3 kilograms of

crystal methamphetamine and a gun, which was prosecuted in the Eastern District of Tennessee.


      , One month prior, Amy Mann, a major distributor of methamphetamine for FARRIS, was

arrested in possession of approximately 300 grams of methamphetamine and two (2) firearms,

which was prosecuted in the Western District of Virginia.


       A common link between Ratcliff and Mann was another major distributor for FARRIS

and MAIDLOW, Donald Zachary SNYDER aka "Stryker". SNYDER was arrested on June 15,

2017 in Bristol, VA in possession of approximately two (2) ounces of methamphetamine. On

August 4, 2017, SNYDER was arrested again in Bristol, VA in possession of approximately 1Y2

ounces of methamphetamine and a gun.


       Other direct distributors of methamphetamine for FARRIS and/or MAIDLOW included

Andrea Nichole "Nikki'' STICKEL, James Nicholas "Nick'' HOWINGTON, Saleemah Lashawn

ROBERSON, James Skyler SEBASTIAN, Larry Levi BENNETT, Terry Melvin DALTON,

Heather Ashley DAVIS, Brianna Nicole WOODBY, Donald Shane HAWTHORNE, Melissa

Darlene BARRETT, and Bradley Scott WILLIAMS. Other direct distributors included Crystal

Pharis and Brandon Thorpe, both of whom were indicted in the Eastern District of Tennessee in

a related conspiracy.




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       Sub-distributors for the organization, those who sold methamphetamine at the direction

of John Ratcliff, Amy Mann, ''Nikki" STICKEL, Saleemah ROBERSON and others include

James "Jamie" JOHNSON, Stephen GRAHAM, Christopher SMILEY, Joshua CHAPMAN,

Gary MCFARLANE, Elizabeth EATON, Matthew Todd MULLINS, Anthony HARLESS,

Kimberly DRAKE, Brandon WHITT, Susan PAYNE and Devon COLEMAN.


                                     PROBABLE CAUSE



                                    Shawn Wayne FARRIS

       On February 16, 2017, CS-1 was interviewed pursuant to his arrest for Conspiracy to

Distribute Methamphetamine in the Eastern District of Tennessee. CS-1 stated that in

approximately September 2016, he started obtaining methamphetamine from "JR." Ratcliff.

CS-1 stated that he purchased ounces of methamphetamine from Ratcliff for $700.00 or $800.00

per ounce. CS-1 stated that Ratcliff drove a silver Dodge Charger.

       CS-1 stated that Ratcliff obtained the methamphetamine from a source of supply who

was from California. CS-1 described this source of supply for methamphetamine as a white male

in his 40's who drove a silver Ford Mustang. CS-1 stated that this source of supply for

methamphetamine lived in a brick house with a long black driveway with two (2) white garage

doors located near Virginia High School in Bristol, VA. CS-1 provided directions to the

residence.

       CS-1 stated that in mid-January 2017, he was at the residence near Virginia High School

with Ratcliff and helped count $250,000.00. CS-1 stated that he observed 49 pounds of crystal

methamphetamine in the residence at that time. CS-1 stated that Ratcliff was making plans to

rob the methamphetamine source of supply who lived in that house.


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       CS-1 stated that Lacey WEIR was originally from California and was the connection to

the methamphetamine source of supply.

       On March 8, 2017, CS-2 was interviewed by law enforcement. CS-2 advised that he had

been incarcerated with (CS-1) in January 2017. CS-2 advised that (CS-1) told him that sometime

between January 14 and 17, 2017, (CS-1) had observed 49.7 pounds of methamphetamine that

had come from California. This information corroborated what (CS-1) advised law enforcement

when he was interviewed.

       On March 29, 2017, SA Brewer conducted a spot surveillance at 600 Garden Ln., Bristol,

VA. The residence was a brick house with two (2) white garage doors down a long asphalt

driveway, approximately two (2) blocks from Virginia High School. SA Brewer believed this to

be the house described by CS-1 where he observed 49 pounds of crystal methamphetamine and

$250,000.00. SA Brewer observed a silver Dodge Charger parked in the driveway, which may

have been the vehicle CS-1 described as belonging to "J. R." Ratcliff.

       On March 30, 2017, ATF SA Justin Masuhr conducted a drive by surveillance at 600

Garden Ln., Bristol, VA. SA Masuhr observed the same Dodge Charger, as well as a silver Ford

Mustang parked in the driveway at the residence, which may have been the vehicle CS-1

described as belonging to the methamphetamine source of supply from California. According to

the records of the Tennessee Dept. of Motor Vehicles, a silver Ford Mustang was registered to

John Ratcliff, Jr. and Alba S. Perez at 769 Beechwood Dr., Bristol, TN.

       On June 1, 2017, CS-3 was interviewed by law enforcement. CS-3 identified Shawn

FARRIS as one of her sources of supply for methamphetamine. CS-3 stated that she had been

purchasing methamphetamine from FARRIS since the beginning of 2017. CS-3 stated that she

had obtained methamphetamine practically every day, one (1) to two (2) ounces each time. CS-3



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stated that FARRIS gave CS-3 the methamphetamine and after it was sold, she would pay him

back $700 per ounce.

       CS-3 stated that Levi BENNETT owed FARRIS $28,000.00 for 7 pounds of

methamphetamine. CS-3 stated that FARRIS had assaulted BENNETT a few days prior to

BENNETT's arrest. CS-3 advised that the times she purchased methamphetamine from

FARRIS, she contacted FARRIS on his cellular telephone. CS-3 advised that the cell phone

number for FARRIS would be located in her phone. CS-3 granted permission for her phone to

be searched. In the contacts section ofthe phone agents found the number (276) 591-7287 under

the name "The Man".

       On July 20,2017, CS-4 was interviewed pursuant to a proffer agreement entered into

with the U.S. Attorney's Office in Abingdon, VA. CS-4 stated the following:

       Shawn FARRIS was transporting methamphetamine from California to Bristol, VA. The

week prior to CS-4' s arrest, FARRIS dropped off~ pound of methamphetamine at CS-4' s

residence, which was picked up by Brandon Thorpe. CS-4 stated that Zach SNYDER, aka

"Stryker", distributed methamphetamine for FARRIS, as well as collected drug debts and acted

as an enforcer. CS-4 stated that "J.R." Ratcliff, "Dee Dee" (Crystal Pharis), and Levi BENNETT

also sold methamphetamine for FARRIS.


       On June 23, 2017law enforcement conducted a trash pull at 600 Garden Lane Bristol,

VA, the known residence of Shawn FARRIS. A trash pull is a tool for law enforcement wherein

the trash of the target residence is discarded at the curb to be picked up. Found during the search

was mail belonging to FARRIS, two (2) cell phone boxes, several plastic bags that had

previously been heat sealed and receipts from restaurants located in California. Your affiant




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knows that it is common for drug traffickers to transport drugs, especially over long distances, in

heat sealed containers to avoid detection of the drugs by law enforcement.


       On June 29, 2017, a search warrant was applied for and obtained in the Western District

of Virginia for text message content stored in the accounts of telephone number (276) 591-7287

(Shawn FARRIS). In response to the execution ofthis search warrant on Verizon Wireless,

agents received text messages stored in those accounts from June 20 to June 29, 2017. The

following is an excerpt from the search warrant results:

June 21, 2017

       FARRIS to (423) 438-3912 (John Ratcliff), "I haven't done anything to you so quit

       texting me"

       Ratcliff to FARRIS, "Well ur talking about beating my assn shit and then !find out u

       called pretty much the cops on me and said I was a drug dealer so I mean hell bro what

       else is there I'm gonna find out"

       FARRIS to Ratcliff, "I never called anyone"

       Ratcliffto FARRIS, "That u made someone come 2000 miles away to deal with a

       situation and put it off on me when it had none of my doings and ur trying to get me

       arrested yea I get it"

       FARRIS to Ratcliff, "No we don't feel with cops cops are not part of our lives we don't

       call them for any reason"

       Ratcliffto FARRIS, " ... I'm tellingu now bro u crossed the line on this one"

       FARRIS to Ratcliff, "No JR you burnt me and then tried to get rid of me so you could

       take everything I got well you can stay broke now because I'm never doing anything with

       you agin"


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       Ratcliff to FARRIS, "I'm over it man I can look past the bullshit I'm more of a man than

       to hold grudges over anyone but when it comes to my family and shit being said about

       beating my baby out ofLacey's belly and how my life is over bro it'sjust to muchfor me

       be that's personal ... "

       FARRIS to Ratcliff, "What want JR for me to say I'm sorry for saying I will beat the

       baby out of her. I guess that was a little mean and I am sorry for that one"

       Ratcliff to FARRIS, "I don't need apologies man we are all men we say shit when we are

       mad I'm over it dude really to much ahit has been done to go back to how things were I

       left it all alone and I ask u do the same"

       FARRIS to Ratcliff, "I already did that then you started back up"

       Ratcliff to FARRIS, "Not when u send ppl from Cali to handle me as u said u planned on

       remember but again I'm done with it bro no need to continue"

       Based on my training and experience, and my knowledge of this investigation, I believe

that Shawn FARRIS and John Ratcliffutilized their cellular telephone to discuss how FARRIS

called the police on Ratcliff and reported him as a drug dealer. I believe that FARRIS denied

this, but admitted to threatening Ratcliff and his girlfriend, Lacey WEIR. I believe that Ratcliff

accused FARRIS of having people from California come to Bristol to collect money from

Ratcliff. I believe that this conversation stemmed from FARRIS accusing Ratcliff of stealing

drug proceeds from FARRIS.


June 22,2017

       FARRIS to (760) 970-5433 (Davisa Martinez), "Davisa I'm sending money to your house

       for Chaubooa I will send you some for letting me ok''

       FARRIS to Martinez, "I need you to text me you address"


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      Martinez to FARRIS, "68238 Via Domingo DHS 92240"

      FARRIS to Martinez, "Thanks"

      Martinez to FARRIS, "Raul has good shit right now y arent u getn from him espescially

      since its chesper"

      Martinez to FARRIS, "Of course anything 4 u"

       Martinez to FARRIS, "U dont have 2 send me money 4 letting u thats what frenz r 4"

      FARRIS to Martinez, "I need to have it delivers and Chaubooa has it beautiful to me"

       FARRIS to Martinez, "Ok I sent 5000 and I will send 9000 tomorrow. I didn't want to

       send all my eggs in one shot"

       FARRIS to Martinez, "They said it will be at your house by 8:00pm"

       Based on my training and experience and knowledge of this investigation, I believe that

Shawn FARRIS communicated with Davisa Martinez in Desert Hot Springs, CA ("DHS"). I

believe that FARRIS paid Martinez to send money to Martinez's house ($5,000.00 and

$9,000.00) to be delivered to "Chaubooa" for methamphetamine. Martinez told FARRIS that

Raul Lopez ("Rauf') had good methamphetamine and told him it was cheaper and asked why he

didn't get methamphetamine through him FARRIS told Martinez that the reason he did not get

methamphetamine through Lopez was because he did not deliver it and "Chaubooa" did.


June 27,2017

       (706) 748-8943 (Saleemah Roberson) to FARRIS, "Hey this is Saleemah look Levi went

       to jail and I had gave him the majority of it and nobody was trying to pay u brought what

       I had to GA and Rico robbed me"




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       FARRIS to Roberson, "Why couldn't you of told me this sooner and why has JR bean

       lying saying he didn't no what happens Levi only got busted with a half do you no where

       the rest is at "

       Roberson to FARRIS, "K no Dee was suppose to round it up but then she went to jail

       and JR really hadn't spoken to me even now I left my phone at a truck stop k in

       Alabama"

       FARRIS to Roberson, "Do you no were JR mite have it at"

       Roberson to FARRIS, "/haven't been in touch with anyone I was terrified 49000 its what

       Levi had to give me !just got all my google contacts I'm going to send us number to

       someone who said they know everyone who had money for Levi"

       FARRIS to Roberson, "Because JR acted like it was no big deal and never looked for it

       so I accused him ofstilling it from me I thank he has it but he says he didn 't"

       Roberson to FARRIS, "No I didn't think he had it because he would have paid you"

       Based on my training and experience and knowledge of this investigation, I believe that

Saleemah Roberson utilized the text messaging service of her cellular telephone to contact

Shawn FARRIS. During the conversation they talked about a $49,000.00 drug debt that Levi

BENNETT owed to FARRIS. BENNETT went to jail and FARRIS thought that "JR" (John

Ratcliff) had the money that was owed to him.

       On July 26, 2017, John Ratcliff was arrested in Bristol, 1N pursuant to an outstanding

warrant for violation of probation. Based on a 4th Amendment waiver, to which Ratcliffhad

previously agreed to as part of his probation, a search was conducted at his residence.

Approximately 1.3 kilograms of crystal methamphetamine and a handgun were seized from

Ratcliff s bedroom.



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       Subsequent to his arrest, Ratcliff agreed to be interviewed by agents. Ratcliff stated that

the two (2) largest methamphetamine distributors in the area were Shawn FARRIS and Sean
                                                                           /


MAID LOW, both from California. Ratcliff stated that he worked for both FARRIS and

MAID LOW to collect drug proceeds and to introduce them to drug distributors. Ratcliff stated

that FARRIS drove his methamphetamine from California, and MAID LOW had it mailed here to

different addresses. Ratcliff stated that FARRIS was driving a new Dodge Challenger registered

in the name of "Nikki" STICKEL. Ratcliff advised that FARRIS printed receipts from his

computer to make it look like he had won money at casinos in case it was detected by law

enforcement.

       Ratcliff advised that on occasion, FARRIS mailed money to Desert Hot Springs,

California to "Tim" and "Lori". Ratcliff provided the address of 5 Sand Creek Drive, Cathedral

City, CA as a location where money was sent.

       Ratcliff stated that FARRIS' telephone number was saved under "Sean" and

MAIDLOW's cellular telephone number was saved under "Sean Sean" in his cellular telephone.

Ratcliff agreed to let agents search his cellular telephone.

       Saved under "Sean" was telephone number (276) 591-7287, a known telephone number

for Shawn FARRIS. According to the records ofVerizon Wireless, telephone number (276)

591-7287 was subscribed to by Shawn FARRIS at 600 Garden Ln., Bristol, VA.

       On August 16, 2017, James Nicholas HOWINGTON was interviewed in Abingdon, VA.

HOWINGTON stated that he was a distributor of methamphetamine for Shawn LNU (last name

unknown). HOWINGTON stated that Shawn LNU was from California and currently lived in a

house located near Virginia High School. HOWINGTON stated that Shawn LNU used to drive a




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silver Dodge Charger, but was currently driving a new Dodge Challenger registered to "Nikki"

STICKEL.

       HOWINGTON stated that he had obtained methamphetamine from Shawn LNU on only

two (2) occasions, twelve (12) ounces each time. HOWINGTON stated that Shawn LNU also

provided HOWINGTON with two (2) ounces of heroin. HOWINGTON also stated that he was

present at Shawn LNU' s residence on one (1) occasion when he received a package from

California. HOWINGTON was directed by Shawn LNU to open and unpackage the contents.

HOWINGTON advised that the package contained three (3) heat sealed bags and each bag

contained either one (1) pound of one (1) kilo each of methamphetamine. HOWINGTON

provided additional information on Lacey WEIR, "J.R." Ratcliff, "Nikki" STICKEL, Sophia

LNU (McMurray), and others who were involved in the distribution of methamphetamine with

ShawnLNU.

       On August 30, 2017, a search warrant was applied for and obtained in the Western

District of Virginia for text message content stored in the accounts of telephone number (276)

791-6721 (Shawn FARRIS). In response to the execution of this search warrant on Verizon

Wireless, agents received text messages stored in those accounts from August 19 to August 25,

2017. The following is an excerpt from the search warrant results:

August 20, 2017

       FARRIS to (276) 274-6648 (Darlene BARRETT), "Don't no it was Sunday I will send it

       in the morning"

       BARRETT to FARRIS, "Damn"

       BARRETT to FARRIS, "Ok"




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       Based on my training and experience, and my knowledge of this investigation I believe

that Shawn FARRIS utilized the text messaging service of his cellular telephone to contact

Darlene BARRETT. I believe that FARRIS told BARRETT that he was not able to send a

package of methamphetamine to her because it was Sunday. I believe that FARRIS told

BARRETT he would send the methamphetamine the next day.

August 25, 2017

       (276) 274-6648 (Darlene BARRETT) to (276)791-6721 (FARRIS), "Why 15 when it's

       been 14"

       FARRIS to BARRETT, "Because the blue stuffwas extra"

       BARRETT to FARRIS, "Damn we each got one blue so 7500 apiece"

       FARRIS to BARRETT, "Yes"

       BARRETT to FARRIS, "Ok"

       Based on my training and experience, and my knowledge of this investigation, I believe

that Darlene BARRETT utilized the text messaging service of her cellular telephone to contact

Shawn FARRIS on his cellular telephone. I believe that BARRETT asked FARRIS why he sent

her 15 ounces of methamphetamine when she usually received 14 minces, "Why 15 when it's

been 14 ". I believe that FARRIS advised BARRETT that they received an extra ounce of "blue"

methamphetamine free of charge. I believe that BARRETT then confirmed that she would owe

$7,500.00 for the methamphetamine she received, "Damn we each got one blue so 7500 a piece"

       On September 13, 2017, a search warrant was applied for and obtained in the Western

District of Virginia for text message content stored in the accounts of telephone number (276)

791-6721 (Shawn FARRIS). In response to the execution of this search warrant on V erizon




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Wireless, agents received text messages stored in those accounts from August 30 to September

13, 2017. The following is an excerpt from the search warrant results:

September 11, 2017

       (276) 206-0368 (Bradley WILLIAMS) to FARRIS, "Hey bro, everything ok?"

       FARRIS to WILLIAMS, "Address please"

       WILLIAMS to FARRIS, "209 B Street Abingdon, VA 24210"

       WILLIAMS to FARRIS, "You have my address right"

       FARRIS to WILLIAMS, "That's what !was lookingfor !just need house number and

       zip"

September 12, 2017

       FARRIS to WILLIAMS, "/sent some boxes for you to send money"

       WILLIAMS to FARRIS, "Ok"

       Based on my training and experience, and my knowledge of this investigation, I believe

that Brad WILLIAMS and Shawn FARRIS utilized the text messaging services of their cellular

telephones to engage in a conversation. I believe that WILLIAMS provided an address to

FARRIS to which FARRIS sent a package of methamphetamine. I also believe that FARRIS

advised WILLIAMS that he included shipping boxes in the package of methamphetamine for

WILLIAMS to send money to FARRIS once the methamphetamine was sold. The address used

to send the package to WILLIAMS was 209 B Street Abingdon, VA. According to the

Abingdon, VA Police Department's database, this was the known address of Charlotte Finch.

Your affiant is aware that Charlotte Finch is the on again, off again girlfriend of WILLIAMS and

she is the mother of WIILLIAMS' children.




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       On September 19,2017, Bradley WILLIAMS was arrested with approximately one (1)

ounce of methamphetamine and approximately $4,400.00. CS-6 was interviewed and advised

that WILLIAMS had obtained the methamphetamine from Darlene BARRETT. CS-6 stated that

he/she had been with WILLIAMS on multiple occasions when he delivered methamphetamine

for BARRETT.

       On September 27, 2017, CS-31 was interviewed pursuant to a proffer agreement entered

into with the U.S. Attorney's Office in Greeneville, TN. CS-31 stated that he had been

introduced to "Shawn" who was from California. CS-31 stated that "Shawn" had bought a house

located on the Virginia side of Bristol. CS-31 stated that "Shawn" left for days at a time and

drove to California to pickup methamphetamine. CS-31 stated that on one (1) occasion, he saw

vacuum sealed bags at "Shawn's" residence that contained methamphetamine. CS-31 stated that

he was introduced to "Shawn" by Brianna WOODBY. Based on your affiant's knowledge of

this investigation, your affiant believes that when referring to "Shawn", CS-31 was referring to

Shawn FARRIS.

       On November 1, 2017, CS-3 was interviewed again by law enforcement. CS-3 stated

that Shawn FARRIS was the person who was currently bringing all the methamphetamine to the

area. CS-3 advised that Larry Addair used to work for FARRIS before his murder. CS-3

advised that she had known FARRIS for approximately one (1) year. CS-3 advised that she

obtained methamphetamine from FARRIS, about one (1) ounce per week for the last six (6)

months, approximately twenty four (24) ounces total. CS-3 advised that she really didn't sell the

methamphetamine, that Levi BENNETT did most of the selling.


       CS-3 advised that a few days after BENNETT last went to jail in Virginia, FARRIS came

to her residence claiming that BENNETT owed him $40,000.00 for seven (7) pounds of


                                                18

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methamphetamine. CS-3 advised that she did not know anything about that, she had never seen

BENNETT with seven (7) pounds of methamphetamine, the most she had ever seen BENNETT

with was two (2) pounds. CS-3 advised that the seven (7) pounds of methamphetamine was

supposedly "fronted" to Saleemah ROBERSON, who in turn "fronted" the methamphetamine to

BENNETT for resale.


       On March 15,2018, the United States Postal Service discovered a package that was

mailed from California to Darlene BARRETT at 240 Campbell Street Abingdon, VA. The

USPS intercepted the package and after a police K-9 alerted to the package having.an illegal

narcotic inside of it, a search warrant was obtained by the USPS. A crystal like substance was

found inside the package that was field tested and was positive for methamphetamine.


       The methamphetamine was replaced with a "fake" substance and repackaged in the

original package. A federal search warrant was obtained for 240 Campbell Street Abingdon, VA

(known residence of Melissa Darlene BARRETT). On March 16, 2018, the package of

methamphetamine was delivered by the· USPS and after the package was taken from the mailbox,

the search warrant was served.


       Several items were found during the search and they included the following items: the

package of "fake" methamphetamine that was delivered by USPS, two (2) sets of digital scales,

several empty zip style bags and other items.


       The following text message was recovered from BARRETT's phone:


March 16, 2018


       (276) 791-6721 (Shawn FARRIS) to (276) 274-6648 (Darlene BARRETT), "It's there"


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       Based on my training and experience, and knowledge of this investigation, I believe that

Shawn FARRIS advised Darlene BARRETT that the package of methamphetamine he sent her

had arrived at her house. I believe that FARRIS had been tracking the package via the United

States Postal Service tracking number.


       BARRETT was interviewed by law enforcement on the same day. Before the interview

started, BARRETT was advised of her Miranda rights and she acknowledged she understood

them and agreed to speak with law enforcement. During the interview BARRETT stated that her

source of supply for methamphetamine was Shawn FARRIS. BARRETT advised that she met

FARRIS in January 2017 through a mutual friend, John Ratcliff. BARRETT purchased 1/8

ounce of methamphetamine for $225.00 from FARRIS during the first meeting. For the next

four (4) months BARRETT purchased 1/8 ounce of methamphetamine from FARRIS two (2) to

three (3) time per week for $200.00 each. After four (4) months, FARRIS "fronted" one ( 1)

ounce of methamphetamine for $700.00. BARRETT was then "fronted" one (1) ounce of

methamphetamine per week for the next four (4) to five (5) months. After FARRIS moved back

to California, he started mailing the methamphetamine to BARRETT. During the last three (3)

to four (4) months FARRIS has been fronting Y4 pound quantities of methamphetamine to

BARRETT for $1,750.00. The packages with Y4 pound quantities arrived every week or two.

Once or twice the packages that FARRIS sent to BARRETT only contained one (1) ounce of

methamphetamine. BARRETT advised there was a six (6) week period when she did not receive

any methamphetamine from FARRIS. BARRETT advised that she would owe FARRIS

$1,750.00 for every four (4) ounces of methamphetamine she received from him. FARRIS

advised BARRETT to never sign for packages. BARRETT advised that she used the Postal

Service to mail the money back to FARRIS. She placed the United States currency into a little


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yellow, plastic, bubble wrap lined envelope with the currency inside. She then placed the

envelope inside of a USPS Priority Mail Box and mailed the package to Shawn FARRIS at 253

Standing Bear Road, Cathedral City, CA.


       Cooperating with law enforcement, BARRETT and FARRIS engaged in the following

conversation via text message:


March 19, 2018


       FARRIS to BARRETT, "Just wondering ifyou sent that today. And need to know           ifyou
       are ready"


       BARRETT to FARRIS, "No you"


       BARRETT to FARRIS, "Not ready"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Shawn FARRIS asked Darlene BARRETT if she had sent the money for the

methamphetamine to him and asked her if she was ready for him to send another package of

methamphetamine, to which she replied that she had not sent the money and she was not ready

for more methamphetamine.


       On AprilS, 2018, Shawn FARRIS sent a second package addressed to Darlene

BARRETT. With BARRETT's consent, the package was intercepted by the United States Postal

Service (USPS). The package was opened and was found to contain approximately four (4)

ounces of a crystal substance that was field tested and was positive for methamphetamine. After

the package was intercepted, law enforcement met with BARRETT and $1,750.00 was sent to




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FARRIS from BARRETT using Official Government Funds (ATF Funds). The money was

tracked through the USPS.


       On April13, 2018 a third package was intercepted by law enforcement. The package

was sent from Shawn FARRIS to Darlene BARRETT. BARRETT gave consent for the package

to be opened by law enforcement. The package was found to contain a crystal substance that

was fieldtested and was found to be positive for methamphetamine.


       According to the records ofNCIC, Shawn Wayne FARRIS was arrested in 1985 for

Possession of a Controlled Substance and Unlawful Carrying of a Weapon (no disposition).

FARRIS was convicted in 1993 for Possession of Concentrated Cannabis, and in 2001 for

Possession of a Controlled Substance. In 2006, FARRIS was convicted of Possession of a

Controlled Substance and Manufacturing Methamphetamine. In 2010, FARRIS was arrested for

Possession of a Controlled Substance for Sale (dismissed) and Possession of a Prohibited

Weapon (convicted). In 2011, FARRIS was convicted of Possession of a Controlled Substance .

for Sale. In 2016, FARRIS was arrested for Possession of a Controlled Substance for Sale and

Felon in Possession of a Firearm (no dispositions).


                                    Sean Philip MAIDLOW


       According to the records ofT-Mobile, the subscriber to telephone number (909) 441-

8562 was Sean MAIDLOW at 1724 Appleton Way, Pomona, CA.


       On January 13, 2017, a search warrant was executed at 119 Honaker Dr., Bristol, TN, the

residence of James Mullins. Seized pursuant to the search warrant were approximately three (3)

ounces of crystal methamphetamine, digital scales, $3,015.00 U.S. Currency, eight (8) firearms,

and several cellular telephones. A search of the cellular telephone utilizing telephone number

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(423) 217-2526 revealed the following text messages with telephone number (909) 441-8562

(saved as "Shawn Cal"):


December 28,2016


       (909) 441-8562 (Sean MAIDLOW) to Mullins, "I'm good so come get it"


       Mullins to MAIDLOW, "Be there in 15 bro"


       Mullins to (276) 791-1657 (Ryan Jones), "Het bro diffsupplier just now goin after"


       Mullins to Jones, "Gonba be 400 a q. 700. Half, 1100 whole"


       MAID LOW to Mullins, "I'm weighing it now"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Sean MAIDLOW notified Jamie Mullins that he had methamphetamine for sale. I believe

that Mullins advised a methamphetamine customer, Ryan Jones, that he had a new supplier and

was charging $400.00 for Y4 ounce, $700.00 for~ ounce, and $1,100.00 for a whole ounce of

methamphetamine.


December 30, 2016


       MAIDLOW to Mullins, "How you doing"


       Mullins to MAIDLOW, "Xhey bro I got a dinner of cooked cabbage bring u shortly"


       MAIDLOW to Mullins, "Nice see you soon"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Sean MAIDLOW sent a text to Jamie Mullins asking if he had drug proceeds to pay to


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MAIDLOW. I believe that Mullins affirmed that he had money for MAIDLOW ("cabbage")

and would be there shortly.


January 3, 2017


       Mullins to MAIDLOW, "I got some dinner for ya in lil byt"


       Mullins to MAIDLOW, "Cooked cabbGe again"


       MAIDLOW to Mullins, "Ok cool I have to send some to get some this time"


       Mullins to MAIDLOW, "/C'


       Based on my training and experience, and my knowledge of this investigation, I believe

that Jamie Mullins advised Sean MAIDLOW that he had drug proceeds to pay to MAIDLOW

("cabbage"). I believe that MAIDLOW advised Mullins that he needed the money to order

additional methamphetamine ("send some to get some").


January 5, 2017


       MAID LOW to Mullins, "Is everything cool with Lacy's baby Daddy"


       MAIDLOW to Mullins, "U od 95-400 so91 now we rat 5630"


       Mullins to MAIDLOW, "Got ya bud I'll have it tomorrow .)"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Sean MAID LOW inquired of Jamie Mullins if John Ratcliff ("Lacy's baby daddy") was

cool. I believe that MAIDLOW advised Mullins that his drug debt was $9,500.00 minus

$400.00 which equaled $9,1 00.00, minus what was just paid with a final debt of $5,630.00.



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January 7, 2017


       Mullins to MAIDLOW, "Hey bro I'll get over this evening"


       Mullins to MAIDLOW, "With cabbage for dinner"


       MAIDLOW to Mullins, "Ok I need some hungry going to look at a truck for sale so need

       it asap"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Jamie Mullins advised Sean MAID LOW that he was going to bring drug proceeds

("cabbage") to MAIDLOW.


       On February 16, 2017, CS-1 was interviewed in Bristol, 1N. CS-1 stated that he

purchased ounces of methamphetamine at a time from "J. R." Ratcliff. CS-1 stated that Ratcliff

was supplied methamphetamine by two (2) guys from California. CS-1 stated that Ratcliff was

introduced to the methamphetamine sources of supply by Lacey WEIR. CS-1 described Shawn

FARRIS and Sean MAID LOW as the two (2) California guys who supplied Ratcliff with

methamphetamine.


       On June 1, 2017, CS-3 was interviewed in Bristol, VA. CS-3 stated that she purchased

methamphetamine from Shawn FARRIS, Sean MAIDLOW aka "Cali'', Terry DALTON,

Heather Ashley DAVIS, Gary MCFARLANE, Skyler SEBASTIAN and others.


       On July 26,2017, John Ratcliff was interviewed pursuant to his arrest for possession of

1.3 kilograms of crystal methamphetamine and a gun. Ratcliff advised that Sean MAID LOW

made Ratcliff keep the methamphetamine at his house to keep him under control. Ratcliff

advised that MAIDLOW was from California and MAIDLOW had methamphetamine shipped to

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him through the mail. Ratcliff stated that MAID LOW often switched the location to where the

methamphetamine was shipped. Once the methamphetamine was sold, MAIDLOW shipped the

money (proceeds from sale) back to California the same way. Ratcliff told Agents that

MAID LOW was "small" and only had a couple of pounds shipped here at a time.


       Ratcliff stated that MAIDLOW's cellular telephone number was saved in his phone under

"Sean Sean" .. Ratcliff consented to let agents search his phone. Telephone number (423) 366-

7544 was saved in Ratcliffs phone under "Sean Sean". The following text messages were

contained on Ratcliffs phone with MAIDLOW:


July 3, 2017


       Ratcliff to MAIDLOW, "I turned that stuff around yesterday I wasn't happy with the

       quality"


       MAIDLOW to Ratcliff, "So what happened, did you get it"


       Ratcliff to MAID LOW, "No I was not happy with the quality of the work at hand it didn't

       seem right so I had dude turn it around''


       MAIDLOW to Ratcliff, "Ok''


       Ratcliff to MAID LOW, "All that bullshit for there bullshit wasn't good enough for me

       and I said nope I'll go home first"


       MAID LOW to Ratcliff, "Shit that suck well at least we still have the money to send back''


       Ratcliffto MAIDLOW, "Yea I got $6500 of it right now and then the rest Lema is

       coming with for what I bought and returned''


                                               26

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       Ratcliff to MAIDLOW, "I left it in her house and dude is coming to see her now with it

       and she is gonna meet me in Erwin with the rest as soon as they are done"


       MAID LOW to Ratcliff, "So the 10 I gave you plus the seven he has all ready plus the 3 I

      · have that 20 so we r still good'


       Based on my training and experience, and my knowledge of this investigation, I believe

that John Ratcliff had made a trip to Georgia to obtain methamphetamine from Saleemah

ROBERSON ("Lema"). I believe that Ratclifftook $10,000.00 of Sean MAIDLOW's money,

but was not happy with the quality of the methamphetamine, so returned with $6,500.00 and was

awaiting the rest when ROBERSON came up to Erwin, 1N. I believe that MAIDLOW

confirmed that they had $20,000.00 between them to purchase more methamphetamine.


       According to the records of AT&T, the subscriber to telephone number (423) 366-7544

was Maidlow Plumbling at 1412 Windsor Ave., Bristol, 1N with a contact name of Sean

MAIDLOW and email address Maidlow7326@gmail.com.


       On August 9, 2017, a search warrant was applied for and obtained in the Western District

of Virginia for text message content stored in the accounts of telephone numbers (276) 206-0158

(Donald Zachary SNYDER) and (276) 274-6648 (Darlene BARRETT). In response to the

execution of this search warrant on Verizon Wireless, agents received text messages stored in

those accounts from July 25 to August 1, 2017. The following is an excerpt from the search

warrant results:

July 26,2017


       (423) 366-7544 (Sean MAIDLOW) to SNYDER, "Hey I'm good'



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        Based on my training and experience, and my knowledge of this investigation, I believe

that Sean MAIDLOW contacted Donald Zachary SNYDER to advise SNYDER that MAIDLOW

had methamphetamine for sale.


        As the result of an investigation conducted by DEA Riverside (California), several

telephone calls and text messages were captured between telephone numbers (423) 366-7544

(Sean MAIDLOW) and (909) 667-9085 (Jair GUTIERREZ, aka "Primo"). The following are

text messages between the two:


September 25, 2017


        MAID LOW to GUTIERREZ, "Can you send me some more Spanish-speaking books

        today or tomorrow"


        GUTIERREZ to MAIDLOW, "lma try today, but tomorrow latest .... I'm just missin 1

        dictionary"


        MAIDLOWto GUTIERREZ, "0/C'


        Based on my training and experience, and my knowledge of this investigation, I believe

that Sean MAIDLOW ordered methamphetamine ("Spanish-speaking books") from Jair

GUTIERREZ. I believe that GUTIERREZ told MAIDLOW that he would send it tomorrow at

the latest.


        On September 26,2017, at the direction of law enforcement, CS-5 exchanged the

following text messages with telephone number (423) 366-7544 (Sean MAID LOW):


        CS-5 to MAID LOW, "Yo are we gonna be good today? Wanted to see        if I could make a
        few calls n get some things going or not"

                                                28

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        MAIDLOW to CS-5, "Tomorrow I'll b good''


        CS-5 to MAIDLOW, "Ok bro"


        On September 28, 2017, CS-5 (working for the 2nd Judicial District Drug Task Force and

acting at their direction) met with Sean MAIDLOW at 1205 Florida Ave., Bristol, TN and

received four (4) ounces of crystal methamphetamine. CS-5 and MAID LOW had previously

agreed that the methamphetamine would be "fronted" and the CS would pay MAIDLOW

 $2,600.00 after it was sold. Prior to the transaction, CS-5 was in communication with

MAIDLOW on telephone number (423) 366-7544. This transaction was controlled and

monitored by law enforcement.


        On October 1, 2017, CS-5 met with MAIDLOW at 1205 Florida Ave., Bristol, TN and

paid him $2,600.00 OAF (Official Advanced Funds) for the four (4) ounces of crystal

methamphetamine obtained on September 28, 2017. Prior to the transaction, CS-5 was in

communication with MAID LOW on telephone number (423) 366-7544. MAID LOW advised

CS-5 that next time, the CS could have eight (8) ounces of methamphetamine for $5,000.00.

This transaction was controlled and monitored by law enforcement.


        As a result of the Riverside DEA investigation, the following telephone calls and text

messages were captured between Sean MAIDLOW and Jair GUTIERREZ:


October 2, 2017


(Telephone Call)


        GUTIERREZ asked MAIDLOW if he was done. MAIDLOW told GUTIERREZ that he

was done, but it was too late to send it.


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       Both MAIDLOW and GUTIERREZ verified that they should send it to the same

addresses. GUTIERREZ told MAIDLOW that they would both send it tomorrow.


       Based on my training and experience, and my knowledge of this investigation, I believe

that Jair GUTIERREZ inquired of Sean MAIDLOW if he was done selling the last

methamphetamine that GUTIERREZ sent. I believe that MAIDLOW told GUTIERREZ that he

was done selling it, but it was too late in the day to send him the money. I believe that

GUTIERREZ agreed to send more methamphetamine the next day, and MAID LOW agreed to

send the money.


October 3, 2017


(Text Messages)


       GUTIERREZ to MAIDLOW, "Let me know when u do that plz"


       MAID LOW to GUTIERREZ, "Ok I will"


       GUTIERREZ to MAIDLOW, "Thanks bro"


       MAIDLOW to GUTIERREZ, "We good'


       GUTIERREZ to MAIDLOW, "Thank u"


       GUTIERREZ to MAIDLOW, "Be ready"


       MAIDLOW to GUTIERREZ, "Be carefuf'


       GUTIERREZ to MAIDLOW, "Same place?"


       MAIDLOW to GUTIERREZ, "Yes"


                                                 30

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       Based on my training and experience, and my knowledge of this investigation, I believe

that Sean MAIDLOW advised Jair GUTIERREZ when he sent the drug proceeds to

GUTIERREZ ("we good"). I believe that GUTIERREZ told MAIDLOW to be ready to receive

methamphetamine at the same address as before.


October 4, 2017


(Text Messages)


       GUTIERREZ to MAIDLOW, "Is in ur city be ready"


       MAIDLOW to GUTIERREZ, "What time is it scheduled to be here"


       MAIDLOW to GUTIERREZ, "8:30 or 10:30"


       GUTIERREZ to MAIDLOW, "1030"


       MAIDLOWto GUTIERREZ, "Okay"


(Telephone call)


       MAIDLOW advised GUTIERREZ that the quality received was really, really good.

However, the amount was two (2) ounces short. MAIDLOW told GUTIERREZ that he only

received 14 ounces and 11 grams.


       GUTIERREZ told MAIDLOW that he had done it himself, put it on the scale and

everything. GUTIERREZ stated that he started doing it himself now. GUTIERREZ told

MAID LOW that he was missing 1Yz. GUTIERREZ stated that he would take care of

MAID LOW.




                                              31

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       GUTIERREZ asked MAIDLOW about the quality, and said that this was a new supplier.

MAIDLOW said that it was very good. GUTIERREZ told MAIDLOW to know who he was

working with and not to deal with new people. GUTIERREZ told MAIDLOW that once his

customers got ahold of this, others would come.


       MAIDLOW told GUTIERREZ that the last stuff had a weird taste. GUTIERREZ said

not to worry, this new guy was the main guy. GUTIERREZ told MAIDLOW that he had 20 of

those motherfuckers and they would be good for a minute.


       Based on my training and experience, and my knowledge of this investigation, I believe

that Sean MAID LOW received methamphetamine from Jair GUTIERREZ, scheduled to be

delivered at 10:30 a.m. on October 4, 2017. I believe that the methamphetamine was supposed

to be one (1) pound (16 ounces), however only weighted 14 ounces and 11 grams. I believe that

GUTIERREZ agreed to make it up, and they talked about how the quality of this

methamphetamine was better than the last. I believe that GUTIERREZ found a new source of

supply for methamphetamine and had 20 pounds in his possession.


       On October 4, 2017, acting at the direction ofthe 2nd DTF, CS-5 met with Sean

MAIDLOW at 1101 Broad St., Bristol, TN and received approximately eight (8) ounces of

crystal methamphetamine. CS-5 and MAIDLOW had previously arranged the transaction so that

the CS could pay MAIDLOW $5,000.00 at a later date. Prior to the transaction, the CS was in

communication with MAIDLOW on telephone number (423) 366-7544. This transaction was

controlled and monitored by law enforcement.

       On October 9, 2017, acting at the direction of the 2nd DTF, CS-5 met with Sean

MAIDLOW at 1101 Broad St., Bristol, TN and paid him $2,500.00 OAF for half of the



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methamphetamine obtained on October 4, 2017. This transaction was controlled and monitored

by law enforcement.


       On October 12, 2017, CS-5 met with MAIDLOW at 447 Beechwood Circle Bristol, TN

to pay MAIDLOW the balance owed for the methamphetamine obtained on October 4, 2017.

CS-5 was given another $2,500.00 OAF to give to MAIDLOW, but MAIDLOW only took

$2,300.00 and let the CS keep the other $200.00. This transaction was controlled and monitored

by law enforcement.


       On February 2, 2018, CS-7 was interviewed by law enforcement regarding his knowledge

of drug distribution in Northeast, TN and Southwest, VA. CS-7 stated that in June 2016, he was

introduced to Lacey WEIR by "Rodney and Vickie" from Bristol, VA. CS-7 stated that when he

first met WEIR, she gave him a couple of "8 balls" (118 ounce) of methamphetamine to sell. CS-

7 stated that WEIR was more of a contact for bringing people together to buy and sell

methamphetamine than she was a distributor herself. CS-7 stated that WEIR knew all the boys

from California.


       CS-7 stated that sometime around September or October 2016, WEIR introduced him to

"Sean" LNU from California, for whom WEIR was supposedly selling methamphetamine. CS-7

stated that "Sean" lived on Windsor Avenue in Bristol, Tennessee. CS-7 stated that "Sean" was

getting methamphetamine sent to him via the United States postal Service (USPS). CS-7 stated

that in or around December 2016, he observed a box in "Sean's" possession that contained

approximately twenty (20) pounds of methamphetamine. Based upon CS-7' s description of

"Sean" LNU and his residence, your affiant believes that CS-7 was referring to Sean

MAID LOW.



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       CS-7 stated that the first time he dealt with "Sean" he was "fronted" one (I) pound of

methamphetamine. CS-7 stated that he dealt with "Sean" a couple of more times after that. CS-

7 stated that he received approximately six (6) total pounds of methamphetamine from "Sean".

CS-7 stated that he paid "Sean" $8,500.00 to $9,000.00 per pound.


       CS-7 advised that WEIR also introduced him to J .R. Ratcliff. Ratcliff advised CS-7 that

he could do better on the price of methamphetamine than "Sean". Ratcliff offered to sell CS-7 a

pound of methamphetamine for $8,000.00. CS-7 stated that he bought methamphetamine from

Ratcliff approximately five (5) times and purchased Y2 to one (1) pound of methamphetamine

each time.


       CS-7 stated that Ratcliff and "Sean" were getting their methamphetamine from the same

source in California. CS-7 stated that he believed that the source sent his "buddy" to our area

and that he was living in Bristol, Virginia. CS-7 described the guy as_being "sickly" or having

cancer (based on the description, it is believed that CS-7 was r~ferring to Shawn FARRIS).


       According to the records ofNCIC, Sean Philip MAIDLOW was convicted of two (2)

separate charges of Possession of a Controlled Substance in 2015. Also in 2015 was a third

arrest for Possession of a Controlled Substance (no disposition).


                           Jair Medina GUTIERREZ, aka "Primo"


       On September 14,2017, a controlled purchase of approximately one (1) pound of

methamphetamine was made from Jair GUTIERREZ in Pomona, California for $2,400.00.

During the transaction, which lasted approximately 20 minutes, GUTIERREZ made the

following statements to the CS:



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        GUTIERREZ advised the CS that he received fifteen (15) pounds of methamphetamine

 every two (2) weeks from a source of supply in Orange County, California. GUTIERREZ

 advised the CS that he paid for the fifteen (15) pounds of methamphetamine when he picked it

 up in full. GUTIERREZ advised the CS he would lower the price of the methamphetamine to

 $2,100.00 per pound if the CS would purchase the methamphetamine in bulk. GUTIERREZ told

 the CS that he could supply the CS with Cocaine for $21,000.00 per kilogram, and GUTIERREZ

 also had access to oxycodone and synthetic heroin pills that sell for $14.00 per pill.

 GUTIERREZ told the CS that if he was interested in the pills, the CS would have to purchase no

 less than 1,000 pills per order.


         GUTIERREZ advised the CS that he shipped multi-pound quantities of

·methamphetamine to customers in Tennessee and other states out east via United Parcel Service

 (UPS). GUTIERREZ advised the CS that he charged his customer in Tennessee and others out

 east $3,100.00 per pound. GUTIERREZ advised the CS that he had a guy who worked for UPS

 that generated the shipping labels for his narcotics packages and also sent the packages for him.

 GUTIERREZ advised that he also received the money from the sale of the narcotics via UPS as

 well. GUTIERREZ advised that his UPS contact picked up the packages of money from the

 UPS facility and delivered them to GUTIERREZ.


         As the result of an investigation conducted by DEA Riverside (California), several

 telephone calls and text messages were captured between telephone numbers (423) 366-7544

 (Sean MAIDLOW) and (909) 667-9085 (Jair GUTIERREZ, aka "Primo"). The following are

 text messages between the two:


 September 25, 2017



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        MAID LOW to GUTIERREZ, "Can you send me some more Spanish-speaking books

        today or tomorrow"


        GUTIERREZ to MAIDLOW, "lma try today, but tomorrow latest .... I'm just missin 1

        dictionary"


        MAIDLOW to GUTIERREZ, "0/C'


        Based on my training and experience, and my knowledge of this investigation, I believe

that Sean MAIDLOW ordered methamphetamine ("Spanish-speaking books") from Jair

GUTIERREZ. I believe that GUTIERREZ told MAIDLOW that he would send it tomorrow at

the latest.


        On September 26, 2017, at the direction oflaw enforcement, CS-5 exchanged the

following text messages with telephone number (423) 366-7544 (Sean MAID LOW):


        CS-5 to MAIDLOW, "Yo are we gonna be good today? Wanted to see if! could make a

        few calls n get some things going or not"


        MAIDLOW to CS-5, "Tomorrow I'll b good'


        CS-5 to MAIDLOW, "Ok bro"


        On September 28, 2017, CS-5 (working for the 2nd Judicial District Drug Task Force and

acting at their direction) met with Sean MAIDLOW at 1205 Florida Ave., Bristol, TN and

received four (4) ounces of crystal methamphetamine.


        On October 1, 2017, CS-5 met with MAIDLOW at 1205 Florida Ave., Bristol, TN and

paid him $2,600.00 OAF (Official Advanced Funds) for the four (4) ounces of crystal


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methamphetamine obtained on September 28, 2017. MAIDLOW advised CS-5 that next time,

the CS could have eight (8) ounces of methamphetamine for $5,000.00.


       As a result of the Riverside DEA investigation, the following telephone calls and text

messages were captured between Sean MAIDLOW and Jair GUTIERREZ:


October 2, 2017


(Telephone Call)


        GUTIERREZ asked MAIDLOW if he was done. MAIDLOW told GUTIERREZ that he

was done, but it was too late to send it.


       Both MAIDLOW and GUTIERREZ verified that they should send it to the same

addresses. GUTIERREZ told MAIDLOW that they would both send it tomorrow.


       Based on my training and experience, and my knowledge of this investigation, I believe

that Jair GUTIERREZ inquired of Sean MAIDLOW ifhe was done selling the last

methamphetamine that GUTIERREZ sent. I believe that MAIDLOW told GUTIERREZ that he

was done selling it, but it was too late in the day to send him the money. I believe that

GUTIERREZ agreed to send more methamphetamine the next day, and MAIDLOW agreed to

send the drug proceeds to GUTIERREZ.


October 3, 2017


(Text Messages)


        GUTIERREZ to MAIDLOW, "Let me know when u do that plz"


       MAID LOW to GUTIERREZ, "Ok I will"

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      GUTIERREZ to MAIDLOW, "Thanks bro"


       MAIDLOW to GUTIERREZ, "We goolf'


       GUTIERREZ to MAIDLOW, "Thank u"


       GUTIERREZ to MAIDLOW, "Be ready"


       MAIDLOW to GUTIERREZ, "Be carefuf'


       GUTIERREZ to MAIDLOW, "Same place?"


       MAIDLOW to GUTIERREZ, "Yes"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Sean MAIDLOW advised Jair GUTIERREZ when he sent the drug proceeds to

GUTIERREZ ("we goolf'). I believe that GUTIERREZ told MAIDLOW to be ready to receive

methamphetamine at the same address as before.


October 4, 2017


(Text Messages)


       GUTIERREZ to MAIDLOW, "Is in ur city be ready"


       MAIDLOW to GUTIERREZ, "What time is it scheduled to be here"


       MAIDLOW to GUTIERREZ, "8:30 or 10:30"


       GUTIERREZ to MAIDLOW, "1030"


       MAIDLOW to GUTIERREZ, "Okay"



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 (Telephone call)


        MAIDLOW advised GUTIERREZ that the quality received was really, really good.

 However, the amount was two (2) ounces short. MAIDLOW told GUTIERREZ that he only

 received 14 ounces and 11 grams.


        GUTIERREZ told MAIDLOW that he had done it himself, put it on the scale and

 everything. GUTIERREZ stated that he started doing it himself now. GUTIERREZ told

 MAID LOW that he was missing 1K GUTIERREZ stated that he would take care of

 MAID LOW.


        GUTIERREZ asked MAID LOW about the quality, and said that this was a new supplier.

 MAIDLOW said that it was very good. GUTIERREZ told MAIDLOW to know who he was

. working with and not to deal with new people. GUTIERREZ told MAIDLOW that once his

 customers got ahold of this, others would come.


        MAIDLOW told GUTIERREZ that the last stuff had a weird taste. GUTIERREZ said

 not to worry, this new guy was the main guy. GUTIERREZ told MAIDLOW that he had 20 of

 those motherfuckers and they would be good for a minute.


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Sean MAIDLOW received methamphetamine from Jair GUTIERREZ, scheduled to be

 delivered at 10:30 a.m. on October 4, 2017. I believe that the methamphetamine was supposed

 to be one (1) pound (16 ounces), however only weighted 14 ounces and 11 grams. I believe that

 GUTIERREZ agreed to make it up, and they talked about how the quality of this

 methamphetamine was better than the last. I believe that GUTIERREZ found a new source of

 supply for methamphetamine and had 20 pounds in his possession.

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       On October 4, 2017, acting at the direction of the 2nd DTF, CS-5 met with Sean

MAID LOW at 1101 Broad St., Bristol, TN and received approximately eight (8) ounces of

crystal methamphetamine.


       On October 25, 2017, agents were conducting surveillance on a known drug house in

Pomona, CA. Surveillance observed Jair GUTIERREZ arrive and park in front of the residence.

GUTIERREZ was detained while leaving this residence, and eventually his vehicle was

searched. The following items were located and seized from GUTIERREZ' vehicle:

approximately 2,724 grams of methamphetamine, five (5) firearms, miscellaneous firearm

.magazines, and miscellaneous ammunition.


       On October 27, 2017, officers from Immigration and Customs Enforcement (ICE) and

Customs and Border Control (CPB) executed a search warrant at the home of Jair GUTIERREZ.

As a result of the search, approximately 298.4 grams of methamphetamine, 156.1 grams of

heroin, 312 grams of marijuana and $16,400.00 in United States currency was seized.


       According to the records ofNCIC, Jair GUTIERREZ has no prior drug felonies.


                                      Lacey Cheri WEIR


       On June 4, 2016, a search warrant was executed at 119 Honaker Dr., Bristol, TN, the

residence of James Mullins. Seized pursuant to the search warrant were the following: small

amount of crystal methamphetamine, three (3) sets of digital scales, plastic baggies, drug

paraphernalia, four (4) cellular telephones and $1,465.00 U.S. Currency.


       A search of the cellular telephones revealed the following text messages:

June 2, 2016



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        (423) 646-0505 (James Mullins) to (423) 544-1581 (Lacey WEIR), "You didn't do the
        whole thing up did you do like a hundred twenty bucks what do you have left just be
        honest with me you know we're friends I don't want to cut you off like I did some more
        but I mean I can handle no more losses lately ... "

        WEIR to Mullins, " .. .I had 45 dollars but of course I didn't hang on to it ... "

       Mullins to WEIR, "So what do you have ... please tell me you didn't lose the whole
       j****** 120"

        WEIR to Mullins, "No I sold half of that gram and then I'm waiting on Maggie stilf'

        Mullins to WEIR, "So    if u list the 45 u still got half that g left right?"
       WEIR to Mullins, "Come on you know I had to smoke something out of that. But don't
       worry you will get your money I wouldn't fuck you like that I promise Jamie have some
       faith in me"

         Based on my training and experience, and my knowledge of this investigation, I believe
 that James Mullins attempted to collect a drug debt from Lacey WEIR. I believe that WEIR was
 supposed to sell a gram of crystal methamphetamine for $120.00, but she only had $45.00, was
 waiting on Maggie to pay her, and had used some of it.

 June 3, 2016


        (423) 544-1581 (Lacey WEIR) to Mullins, "Can you please get ahold of Mike he has

        been waiting on you and he always has your money"


        WEIR to Mullins, "I got 50 more dollars"


        Mullins to WEIR, "We need find a way make this other thing happen he spends like 29 to

        25 g ever 3 daays"


        WEIR to Mullins, "You should come by here and smoke with me"


        Mullins to WEIR, "U got a tool??"


        WEIR to Mullins, "Yea"



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       Based on my training and experience, and my knowledge of this investigation, I believe

that Lacey WEIR contacted James Mullins to advise him that Michael Misner ("Mike") had drug

proceeds to pay to Mullins. I believe that Mullins told WEIR that he knew of someone that spent

between $25,000.00 and $29,000.00 every three (3) days and they needed to find a way to get

involved with him. I believe that WEIR invited Mullins to come to her place and smoke

methamphetamine.


       On November 17,2016, CS-32 was interviewed by law enforcement. During the

interview CS-32 provided information regarding his knowledge of the drug trade in Northeast,

TN and Southwest, VA. CS-32 stated that Lacy WEIR was dating John Ratcliff. CS-32 stated

that WEIR advised him that Ratcliff had a crystal methamphetamine connection in California.

CS-32 stated that WEIR would drive to California and bring back about four (4) ounces of

methamphetamine. CS-32 advised that in September of2016, "Dee Dee" (Ratcliffs sister,

Crystal Pharis) had to go to California and get WEIR. CS-32 stated that on the return trip, WEIR

and "Dee Dee" brought back "ice" methamphetamine.


       On April12, 2017, CS-33 was interviewed by law enforcement. During the interview

CS-33 advised that "Cali girf' came to Bristol each week with two (2) kilograms of

methamphetamine, which cost $14,000.00 per kilo. CS-33 was shown a picture of Lacy WEIR

and identified WEIR as the person he referred to as "Cali girl".


       On January 26, 2017, CS-17 was interviewed in Johnson City, TN. CS-17 stated that Joe

Sholtz was a major methamphetamine importer into Northeast Tennessee and Southwest

Virginia. CS-17 advised that at the time of the interview Lacey WEIR was obtaining her

methamphetamine from Sholtz.



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                     On February 3, 2017, David Estep, Jr. (subsequently indicted in the Eastern District of

            Tennessee in a related conspiracy) was interviewed by law enforcement following his arrest for

            possession of methamphetamine. Estep stated that he met John Ratcliff through Ratcliffs sister,

            Crystal Pharis. Estep advised that Ratcliff had been purchasing a lot of weight in

            methamphetamine from Lacy WEIR. Estep advised that WEIR was having methamphetamine

            shipped to her from an unknown location in California.


                     On July 12, 2017, Anthony HARLESS was interviewed by law enforcement regarding

            his knowledge of drug trafficking in Northeast Tennessee and Southwest Virginia.. HARLESS

            stated that he had known Lacy WEIR for approximately three (3) years. HARLESS advised that

            WEIR was from California. HARLESS stated that WEIR introduced him to her uncle, Shawn

            FARRIS, who was bringing in a few pounds of methamphetamine at a time from California.

            HARLESS advised that he had purchased three (3) ounces of methamphetamine from FARRIS,

            through WEIR. WEIR also vouched for HARLESS so that he could go to FARRIS directly and

            obtain methamphetamine.


                     On October 30, 2017, CS-:3 was interviewed by law enforcement regarding her

            knowledge of methamphetamine trafficking in Northeast Tennessee and Southwest Virginia.

            CS-3 stated that Shawn FARRIS was the methamphetamine source of supply who was bringing

            in all the methamphetamine to the area. CS-3 named another source of methamphetamine

            named "Sean" who lived on Windsor Avenue, Bristol, TN. CS-3 advised that she had obtained

            methamphetamine from "Sean", who was somehow related to Lacy WEIR. CS-3 advised that

            WEIR had connections to both FARRIS and "Sean". CS-3 stated that WEIR was the reason

            FARRIS and "Sean" came to the area from California. (Based on your affiant's knowledge of



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this investigation, your affiant believes that "Sean" is Sean MAIDLOW who lived near Windsor

 Ave. in Bristol, TN.)


        On February 2, 2018, CS-7 was interviewed pursuant to a proffer agreement entered into

 with the U.S. Attorney's Office in Greeneville, TN. CS-7 stated that he was introduced to Lacey

 WEIR around the time of the search of his residence in June 2016. CS-7 advised that when he

 first met WEIR she gave him a couple "8 balls" (1/8 ounce each) of methamphetamine to sell.

 CS-7 advised that WEIR was more of a contact for bringing people together for the act of

 distributing methamphetamine. CS-7 further advised that WEIR knows all the "Cali"

 (California) boys.


        CS-7 advised that in September or October 2016, WEIR introduced him to "Sean" who

 lived on Windsor Avenue in Bristol, TN. CS-7 stated that WEIR was supposedly selling

 methamphetamine for "Sean". CS-7 stated that "Sean"was getting his methamphetamine

 shipped to him from the United States Postal Service. CS-7 stated that he had observed a box

 that contained twenty (20) pounds or more of methamphetamine. CS-7 stated that "Sean"

 fronted one ( 1) pound of methamphetamine to him. CS-7 stated that over the next few months,

 CS-7 received a total of six (6) pounds of methamphetamine from "Sean". CS-7 stated that he

 paid "Sean" $8,500- $9,500 per pound. (Based on your affiant's knowledge of this

 investigation, your affiant believes that "Sean" is Sean Maidlow)


        CS-7 advised that later, WEIR introduced him to "J.R." Ratcliff. CS-7 stated that Ratcliff

 told him that he could do better on the price that "Sean" had been doing. CS-7 stated that

 Ratclifftold him that he could sell him one (1) pound of methamphetamine for $8,000.00. CS-7




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 advised that he obtained methamphetamine from Ratcliff five (5) times and received Y:z to one (1)

 pound each time.


        CS-7 stated that WEIR advised him that Ratcliff and "Sean" were obtaining

 methamphetamine from the same source of supply in California. CS-7 believed that the

 California source sent one ofhis buddy's to the area, who lived on the Virginia side of BristoL

 CS-7 advised that the buddy looked like he was sick and may have had cancer. CS-7 advised

 that WEIR had introduced several people to this "buddy" for the purpose of selling

 methamphetamine. Based on my knowledge of this investigation, I believe this "buddy" was

 Shawn FARRIS.


        According to the records ofNCIC, Lacey WEIR was arrested in 2009 for Possession of a

 Controlled Substance for Sale and Possession of a Firearm by a Convicted Person. In 2012,

 WEIR was convicted of Possession of a Controlled Substance. In 2013, WEIR was convicted of

 Possession of a Controlled Substance. In 2015, WEIR was convicted of Possession of a

 Controlled Substance.


                            Andrea Nichole STICKEL, aka "Nikki''


        On August 22, 2016, Bill Taylor (subsequently indicted in the Eastern District of

 Tennessee in a related conspiracy) was interviewed following his arrest for possession of

 methamphetamine and a gun. Taylor stated that "Nikki" STICKEL lived on Georgia Avenue and

 at the time was selling large amounts of methamphetamine. Taylor stated that STICKEL was

 dating "Jamie" JOHNSON who was also selling methamphetamine. Taylor stated that a possible

 source of supply for STICKEL was Joe Tranum (deceased).




                                                45

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       On February 3, 2017, David Estep, Jr. (subsequently indicted in the Eastern District of

Tennessee in a related conspiracy) was interviewed pursuant to his arrest for possession of

methamphetamine. Estep stated that John Ratcliff was obtaining large amounts of

methamphetamine from Lacy WEIR. Estep stated that WEIR was having the methamphetamine

shipped to her from an unknown source in California. Estep advised that "Nikki'' STICKEL was

a methamphetamine customer of Ratcliff.


       According to the records ofVerizon Wireless, telephone number (276) 274-7314 was

resold to TracFone Wireless. According to the records ofTracFone Wireless, there was no name

associated with the account, however, the date of birth of 4/30/1976 and an email address of

nikkistickel@gmail.com was used to procure the account. According to the records ofNCIC,

Andrea Nichole STICKEL has a date of birth of 4/30/1976.


       On June 29, 2017, a search warrant was applied for and obtained in the Western District

of Virginia for text message content stored in the accounts of telephone number (276) 591-7287

(Shawn FARRIS). In response to the execution of this search warrant on Verizon Wireless,

agents received text messages stored in those accounts from June 20 to June 29, 2017. The

following is an excerpt from the search warrant results:

June 20,2017

       Shawn Farris to (276) 274-7314 ("Nikki" STICKEL), "Nicky I'm home call me"

       Based on my training and experience, and my knowledge of this investigation, I believe

that Shawn Farris contacted "Nikki" STICKEL and instructed her to call him.

June 21, 2017

       Shawn Farris to (276) 274-7314 ("Nikki'' STICKEL), "Come around to back door

       please"

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       Based on my training and experience, and my knowledge of this investigation, I believe

that Shawn Farris contacted "Nikki" STICKEL and instructed her to come to the back door at his

house, possibly to pick up methamphetamine.

       On August 16, 2017, James Nicholas "Nick" HOWINGTON was interviewed in

Abingdon, VA. HOWINGTON stated that Shawn LNU (subsequently identified as Shawn

FARRIS) was his supplier of methamphetamine and heroin. HOWINGTON stated that Shawn

LNU was from California, but was staying in a brick house located near Virginia High School in

Bristol, VA. HOWINGTON stated that "Nikki" STICKEL was his girlfriend and was also

supplied methamphetamine by Shawn LNU. HOWINGTON stated that he and STICKEL kept

their drug dealing separate.


       HOWINGTON stated that he had been with STICKEL at the residence of Shawn LNU

when she delivered drug proceeds to Shawn LNU. HOWINGTON stated that he had observed

three (3) packages of methamphetamine, either pounds or kilograms, at the residence of Shawn

LNU.


       HOWINGTON stated that Shawn LNU was currently driving a charcoal colored Dodge

Challenger that was registered in the name of "Nikki" STICKEL.


       A search of HOWINGTON's cellular telephone revealed telephone number (276) 274-

7314 saved under the name "Nikki". The following text messages were contained on the phone:


January 21, 2017


       HOWINGTON to (276) 274-7314 ("Nikki" STICKEL), "Honey I love you somuch I'll

       throw a game and come back ok love u soo much"



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        Based on my training and experience, and my knowledge of this investigation, I believe

 that Nick HOWINGTON advised "Nikki'' STICKEL that he was going to sell 1/8 ounce of

 methamphetamine ("throw a game") and come back home.


 January 22, 2017

        (276) 274-7314 ("Nikki'' STICKEL) to HOWINGTON, "Hey honey. I'm going to finish
        off the rest of that so u may want to check back make sure clock still working! Lor'

        STICKEL to HOWINGTON, "So far so good'

       · HOWINGTON to STICKEL, "Don't unroll I get home please"

        Based on my training and experience, and my knowledge of this investigation, I believe

 that "Nikki'' STICKEL advised "Nick'' HOWINGTON that she was going to use the remaining

 methamphetamine, and requested that he check on her later to make sure her heart was still

 pumping ("clock still working").



        On October 30, 2017, CS-3 was interviewed by law enforcement. CS-3 stated that

 "Nikki'' STICKEL was a methamphetamine distributor. CS-3 stated that she heard that

 STICKEL got packages in the mail worth approximately $500,000.00. CS-3 advised that John

 Ratcliffwas dealing with STICKEL.


        On November 21,2017, CS-10 was interviewed by law enforcement regarding her

 knowledge of drug trafficking in Northeast, TN and Southwest, VA. CS-1 0 stated that "Jamie"

 JOHNSON was a methamphetamine distributor. CS-10 stated that JOHNSON obtained his

 methamphetamine from "Nikki'' STICKEL, which CS-1 0 had personally observed. CS-1 0

 advised that she had purchased methamphetamine from JOHNSON on a couple of occasions, "8

 ball" (1/8 ounce) quantities at a time. CS-10 stated that JOHNSON sold methamphetamine to

 Powell Earhart (subsequently indicted in the Eastern District of Tennessee in a related

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 conspiracy) to pay for rent. CS-10 stated that Earhart spent $400.00- $500.00 a day on

 methamphetamine.


        CS-10 stated that Christopher SMILEY ran around with JOHNSON. CS-10 stated that

 SMILEY also obtained methamphetamine from STICKEL, which he then distributed. CS-1 0

 stated that SMILEY obtained heroin from "Nic/C' (HOWINGTON) that he distributed.


        On December 1, 2017, Stephen GRAHAM was interviewed by law enforcement.

 GRAHAM advised that "Nikki'' STICKEL had been his main source of supply for

 methamphetamine for the past two (2) years. GRAHAM advised that he started off by obtaining

 one (1) "8 ball" (118 ounce) of methamphetamine from STICKEL once a week for $200.00.

 Eventually GRAHAM started to purchase Y2 ounce quantities of methamphetamine from

 STICKEL, which continued to prior to his most recent arrest.

        GRAHAM advised that he had seen a lot of methamphetamine during his dealing in the

 area. GRAHAM advised that he had seen approximately fifteen (15) ounces of

 methamphetamine at STICKEL's residence located on Georgia Avenue in Bristol, TN.

 GRAHAM advised that STICKEL lived at the Georgia Avenue residence with "Nic/C'

 HOWINGTON.

        GRAHAM advised that STICKEL had a California source of supple for

 methamphetamine that lived in the area, but had moved back to California.


        On January 19,2018, Christopher SMILEY was interviewed by law enforcement.

 SMILEY advised that "Nikki" was a source of supply of methamphetamine for "Jamie"

 JOHNSON. Based on this investigation your affiant believes that Smiley was referring to

 Andrea Nichole "Nikki" STICKEL.



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        On February 22,2018, officers with the Bristol, TN Police Department conducted a

 traffic stop on a vehicle that was being driven by Andrea Nichole "Nikki'' STICKEL. During the

 usual course of the traffic stop a police K -9 conducted a free air sniff around the vehicle. The

 police K -9 alerted positively to the presence of narcotics being inside the vehicle.


        Officers searched the vehicle and did not locate any illegal narcotics. However, officers

 found several items and circumstances that appeared odd. Officers located surveillance cameras,

 a server (computer), binoculars, police scanner, radar detector and three (3) cell phones. Officers

 also noted that there were several compartments inside the car that appeared to have been

 tampered with and they were loose.


        On March 16, 2018, Darlene BARRETT was interviewed in Abingdon, VA following the

 execution of a search warrant at her residence. BARRETT stated that Shawn FARRIS was her

 source of supply for methamphetamine:-, BARRETT stated that Brad WILLIAMS also obtained

 methamphetamine from FARRIS. BARRETT stated that WILLIAMS had received six (6)

 pounds of methamphetamine from FARRIS. BARRETT stated that when WILLIAMS went to

 jail, he owed FARRIS $28,000.00. BARRETT advised that her son Trey Barrett, along with

 Gary Childress, had stolen the drug proceeds from WILLIAMS' safe. BARRETT stated that

 FARRIS advised her that if he did not receive his money he would kill her son. BARRETT

 stated that she felt obligated to protect her son and pay the money back. BARRETT stated that

 she paid some of the money to FARRIS by mailing it to him. BARRETT stated that the last

 $7,500.00, FARRIS directed her to meet "Nikki" STICKEL at the IHop restaurant at Exit 7 and

 give the money to her to send. BARRETT advised that she met STICKEL and before she could

 give her the money, an unknown male pulled up on a motorcycle and robbed the money from



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 her. BARRETT advised that she felt the robbery was a set up by STICKEL and the unknown

 male.


         On May 15,2018, a search warrant was applied for and obtained in the Western District

 of Virginia for text message content stored in the accounts of telephone number (276) 274-7314

 (Andrea Nichole STICKEL). In response to the execution of this search warrant on Verizon

 Wireless, agents received text messages stored in those account from May 3, 2018 to May 15,

 2018. The following is an excerpt from the search warrant results:


 May 4, 2018


         STICKEL to (423) 637-2872, "!wish u would've told me not to come ifyour not going to

         tell me where to go. Thanks."


         (423) 637-2872 to STICKEL, "915 South Chillhowee Dr. Knox TN 37914"


         (423) 637-2872 to STICKEL, "1625.00for 4"


         Based on my training and experience, and my knowledge of this investigation, I believe

 that "Nikki'' STICKEL made a trip to Knoxville, TN to obtain four (4) ounces of

 methamphetamine for $1,625.00.


 May 7,2018


         (276) 791-6721 (Shawn FARRIS) to STICKEL, "I need a address Nikki''


         STICKEL to FARRIS, "The one CV I sent you"


         STICKEL to FARRIS, "Need your emaif'




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        FARRIS to STICKEL, "Daddyshotspotl@gmail.com"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Shawn FARRIS contacted "Nikki" STICKEL to obtain an address to which he could send

 methamphetamine.


        On July 11, 2018, Andrea Nichole STICKEL was arrested in Sullivan County, TN

 following a vehicle pursuit. STICKEL was arrested in possession of approximately 56 grams of

 crystal methamphetamine, marijuana, drug paraphernalia, two (2) cellular telephones and over

 $6,000.00 U.S. Currency.


        According to the records ofNCIC, Andrea Nichole STICKEL was arrested by the Drug

 Task Force in Johnson City, TN and charged with Violation of Parole in 2004.


                          James Nicholas HOWINGTON, aka "Nick"


        On January 29, 2017, a traffic stop was conducted in Bristol, TN on a gray 2005 GMC

 pickup truck, operated by James Nicholas "Nick" HOWINGTON. HOWINGTON was found to

 have an outstanding arrest warrant from Johnson City and was subsequently placed under arrest.

 While searching HOWINGTON incident to arrest, a sum of United States currency was found,

 divided into two (2) stacks. The officer also noted a faint odor of marijuana coming from the

 vehicle.

        Prior to searching HOWINGTON, and while waiting on confirmation of the warrant, a

 BTPD K -9 officer was called to the scene. The K -9 conducted a free air sniff around the 2005

 GMC and the K-9 officer advised that the K-9 alerted to the affirmative that narcotics were in the

 vehicle.



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        Officers then conducted a search of the vehicle. A black bag was found inside the

 vehicle that contained several syringes, unused plastic bags, digital scales, spoon with residue, a

 bag containing a substance consistent with methamphetamine, two (2) bags with a substance

 consistent with heroin, one and a half (1 ~) pills identified as Subutex (Buprenorphine) and one

 (1) unidentified white pill.

        The crystalline substance was analyzed by the Tennessee Bureau of Investigation

 (Knoxville) and was found to be 14.03 grams of methamphetamine. The suspected Subutex was

 analyzed by the Tennessee Bureau of Investigation (Knoxville) and found to be Buprenorphine.

 The suspected heroin was analyzed by the Tennessee Bureau of Investigation (Knoxville) and

 found to be 2.50 grams ofFuranyl fentanyl.

        Following the January 29, 2017 arrest of HOWINGTON, a search warrant was applied

 for and obtained to analyze the content of HOWINGTON's cellular telephone (423-612-6898).

 The following text messages are an excerpt from that analysis:

 January 28, 2017


         (423) 946-8963 (Greg KESTNER) to HOWINGTON, "Hey can you show me how to cut

         the stuffwith MSN the guy I got the bullets from I was paying him with some stuff''


        HOWINGTON to KESTNER, "Yea I can you canjust come over here in just a little bit"


        HOWINGTON to KESTNER, "Prob around 430 5 that cool"


        KESTNER to HOWINGTON, "Ya"


        Based on my training and experience and knowledge of this investigation, I believe that

 Greg KESTNER contacted "Nic/C' HOWINGTON and asked HOWINGTON how to "cut"

 (mixing methamphetamine with a substance that has the same physical characteristics as

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 methamphetamine) methamphetamine with MSM, "Hey can you show me how to cut the stuff

 with MSN the guy I got the bullets from I was paying him with some stuff''. I believe that

 HOWINGTON agreed to show KESTNER how to cut methamphetamine and invited him over.

 Your affiant is aware that MSM is a horse vitamin and a popular "cut" for methamphetamine.


        On April 17, 2017, a Confidential Source (CS) working with the 2nd Judicial Drug Task

 Force (DTF) agreed to make a controlled purchase of methamphetamine and heroin from James

 Nicholas "Nic/C' HOWINGTON.


        The CS advised agents that he/she had been on contact with HOWINGTON via

 Facebook. The CS advised that HOWINGTON asked how much money he/she had and he/she

 advised him that they had $350.00 for methamphetamine and $100.00 for heroin.

 HOWINGTON advised the CS that he was good and directed the CS to come to his house on

 Georgia A venue in Bristol, TN.


        The CS met with agents at a pre-arranged location. The CS was searched and no illegal

 contraband was found. The CS was given $450.00 of pre-recorded United States currency and

 was equipped with audio and video recording devices. The CS was then driven to Georgia

 Avenue by an agent acting in an undercover capacity.


        The CS and UC parked in an alley behind the residence and after a short time the CS

 went to HOWINGTON's back door and made contact with him. HOWINGTON advised the CS

 that he would be out in a few minutes. A few minutes later, HOWINGTON exited the residence

 and came to the UC vehicle and met with the CS. The CS gave HOWINGTON the $450.00 and

 in return received two (2) clear plastic bags, one containing what appeared to be

 methamphetamine and one heroin.


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        The UC and CS then drove back to a staging location. The drugs were turned over to law

 enforcement for safekeeping. The CS was again searched for contraband and none was found.

 The drugs were submitted to the Tennessee Bureau of Investigation for analysis. On August I7,

 20I7 agents received the results of the analysis. Item I was found to be 6.93 grams of

 methamphetamine and item 2 was found to have no controlled substance.


        On April20, 20I7, a Confidential Source (CS) working with the 2nd DTF agreed to make

 a controlled purchase of methamphetamine and heroin from "Nic/C' HOWINGTON. The CS

 advised that he/she had conta¥ted HOWINGTON via Facebook and arranged to purchase

 $350.00 (118 ounce) of methamphetamine and $200.00 (I gram) ofheroin.

        The CS met with agents and was searched and no illegal substances or money was found.

 The CS was given $550.00 of pre-recorded United States currency for the deal and was outfitted

 with audio and video recording devices. HOWINGTON had directed the CS to come to his

 residence located at 90I Georgia Ave., Bristol, TN. A UC drove the CS to Georgia Avenue.

 While in route, HOWINGTON contacted the CS via cellular telephone and advised the CS to

 meet him at 70I Florida Avenue, Bristol, TN (parking lot of the First Presbyterian Church).


        A short time later HOWINGTON arrived riding a motorcycle and the transaction took

 place. The CS gave HOWINGTON the $550.00 and in return received a bag containing what

 appeared to be methamphetamine and a bag containing what appeared to heroin. The CS and

 HOWINGTON engaged in a conversation wherein HOWINGTON advised the CS that a new

 shipment of methamphetamine was coming in from California. HOWINGTON told the CS that

 he would be sure to give the CS a big shard the next time.




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           Once the deal and conversation were completed, the UC and CS left the parking lot and

 traveled back to a staging location. The drugs were turned over to law enforcement for

 safekeeping and sent to the Tennessee Bureau of Investigation for analysis. On August 17, 2017,

 the results of the analysis were received. Item 1 was found to 7.45 grams of methamphetamine

 and item 2 was found to contain no controlled substances.


           On May 4, 2017, a Confidential Source (CS) working with the 2nd DTF agreed to make a

 controlled purchase of methamphetamine and heroin from Nick HOWINGTON. The CS

 advised that he/she arranged to make the purchase at HOWINGTON's residence located at 901

 Georgia Avenue, Bristol, TN, via cellular telephone.


           The CS and agents met at a staging location., The CS was searched and no illegal

 substances or money were found. The CS was given $550.00 of pre-recorded United States

 currency and was outfitted with an audio and video recording device. A UC drove the CS to 901

 Georgia Avenue and after waiting and a phone call from HOWINGTON, he came out of the

 residence and met the CS. The CS gave HOWINGTON the $550.00 and in return received a bag

 containing what appeared to be methamphetamine and a bag containing what appeared to be

 heroin.


           Once the transaction was completed the CS and UC traveled back to a staging location.

 The drugs were turned over to agents for safekeeping and analysis. The drugs were sent to the

 Tennessee Bureau oflnvestigation for analysis. Item 1 was found to be 7.31 grams of

 methamphetamine and item 2 was found to contain no controlled substance.


           On May 18, 2017, a search warrant was applied for and obtained in the Eastern District of

 Tennessee for text message content stored in the accounts of telephone number (423) 612-6898


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 (James Nicholas HOWINGTON). In response to the execution of this search warrant on Verizon

 Wireless, agents received text messages stored in those accounts from May 5 to May 18, 2017.

 The following is an excerpt from the search warrant results:

 May 7, 2017

         (423) 797-0103 ("Jamey Juice") to HOWINGTON, "Hey bro Ithinkijustfound

        something in room you might want"

         HOWINGTON to Jamey Juice, "Whats up"

         Jamey Juice to HOWINGTON, "IDK what it is but it has a line through it dude must

        have dropped it when he was here today"

         HOWINGTON to Jamey Juice, "What numbers on it"

         Jamey Juice to HOWINGTON, "I cant read it its thin white and round I will try and

        look it up"

         Jamey Juice to HOWINGTON, "271"

       . Jamey Juice to HOWINGTON, "My/and 27 maybe"

         Jamey Juice to HOWINGTON, "Diazepam"

         Jamey Juice to HOWINGTON, "Whatever that is"

        Based on my training and experience, and my knowledge of this investigation, I believe

 that "Jamey Juice" contacted "Nick" HOWINGTON and advised HOWINGTON that he had

 found a Diazepam pill and that he would bring it to him later.

 May 12,2017

        CS to HOWINGTON, "Yo can I get a cutie of the blizzard and a g of the naughty brown

        girl"

        HOWINGTON to CS, "Yea"



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        CS to HOWINGTON, "Can you help me out on that"

        HOWINGTON to CS, "What u mean"

        CS to HOWINGTON, "With what I usually get"

        HOWINGTON to CS, "Yea"

        CS to HOWINGTON, "Then me u be square"

        HOWINGTON to CS, "Yea"

        CS to HOWINGTON, "Cool Itoldu !would do wat I can do brother ole girlfuckedme

        left me in a bind but least me and u square I call when I'm near"

        Based on my training and experience, and knowledge of this investigation I believe that

the CS asked "Nic/C' HOWINGTON if he could provide him with one (1) ounce of

methamphetamine and one (1) gram of heroin, ( "Yo can I get a cutie ofthe blizzard and a g of

 the naughty brown girl"). I believe that HOWINGTON replied that he could, and the CS

advised HOWINGTON that he would call him when he was close to him.

        On May 12, 2017, a Confidential Source (CS), working with the 2nd DTF agreed to make

a controlled purchase of Y4 ounce of methamphetamine and one (1) gram of heroin from James

Nicholas "Nic/C' HOWINGTON. The deal was set up with HOWINGTON utilizing the text

 messaging service of the CS' phone and HOWINGTON's phone.

        The CS met with agents and was given $350.00 for the purchase of methamphetamine

 and $200.00 for the purchase of the heroin. An undercover officer then drove the CS to

 HOWINGTON's residence, located at 901 Georgia Avenue, Bristol, TN:

        Upon arrival the CS made contact with HOWINGTON via cellular telephone and

 HOWINGTON advised the CS to come to the back porch. The CS then met HOWINGTON on

 the porch and the transaction took place with the CS giving HOWINGTON $550.00 and in



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 return receiving one (1) bag containing a rock like substance consistent with methamphetamine

 and one (1) bag containing a brown powder like substance consistent with heroin.

        Once the transaction was completed, the UC and CS traveled back to a staging location.

 The drugs were turned over to agents for safekeeping and analysis.

        On May.17, 2017, both drug items were sent to the Tennessee Bureau oflnvestigation

 Crime lab for analysis. On September 22, 2017, agents received the results ofthe analysis. Item

 1 was found to be 7.21 grams of methamphetamine. Item 2 was found to be 1.26 grams of a

 substance containing no controlled substances.

 May 16,2017

        CS to (423) 612-6898 (Nick HOWINGTON), "Yo I'm here"

        CS to HOWINGTON, "There in 2 sev"

        CS to HOWINGTON, "Sec"

        CS to HOWINGTON, "U want me to come to porch"

 Approximately 30 Minutes later the following texts were exchanged between the CS and

 HOWINGTON:

        CS to HOWINGTON, "Yo WTF that shit uncalledfor I ain't taking this shit"

        HOWINGTON to CS, "Your fucking crazy that is all good shit not touched"

        CS to HOWINGTON, "That shit dissolve so fucking quick u might not but that shit cut to

        hell and bac.k"

        HOWINGTON to CS, "No its not it just came in like two hours ago and its not either"

        CS to HOWINGTON, "I guess the next three weeks are going to.suckfor everybody

        then"

        HOWINGTON to CS, "I think that's the best that's come in"



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        CS to HOWINGTON, "Man I know my shit I been in this get a lot longer then u ... and

        that shit is more stepped on then before and my girl gave me a peace and if I'm

        complaining she is going to raise hell"

        HOWINGTON to "CS, "I doubt it you had in your mind before you even showed up

        there was something going on and your just playing ion it don 't fuck with me I don 't have

        time for this shit either you want or you don't"

        CS to HOWINGTON, "No its hit or miss w u and I been fucking w this shit back when

        was real shit ... but when she get off I show u exactly wat I'm talking bout"

        Based on my training and experience, and my knowledge of this investigation, I believe

that the CS utilized the text messaging service of his cellular telephone to contact James

Nicholas "Nick" HOWINGTON via his cellular telephone. I believe that at the beginning of the

conversation CS purchased methamphetamine from HOWINGTON. I believe that later in the

conversation, CS complained to HOWINGTON that the quality of the methamphetamine was

not good, ("That shit dissolve so fucking quick u might not but that shit cut to hell and back").

        On August 16,2017, James Nicholas "Nick" HOWINGTON was interviewed in

Abingdon, VA. HOWINGTON stated that he was addicted to drugs and used whatever was

available to get a buzz. HOWINGTON advised that he preferred pills, but lately had been using

heroin to chase that buzz. HOWINGTON stated that he sold methamphetamine, but did not like

to use it.

        HOWINGTON stated that his source of supply for methamphetamine and heroin was

Shawn LNU who was from California. HOWINGTON stated that Shawn had moved to Bristol

approximately one and a half (1 Yl) years ago. HOWINGTON stated that Shawn lived in a brick

house near Virginia High School (HOWINGTON provided direction and a description of the



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residence located at 600 Garden Lane Bristol, VA). HOWINGTON stated that Shawn had a

Hispanic girlfriend named Sophia LNU who came with him from California. (Based on

HOWINGTON's description and your affiant's knowledge of this investigation, it is believed

that HOWINGTON was referring to Shawn FARRIS and Alba Sophia Perez McMurray.)

       HOWINGTON stated that Shawn drove a new charcoal colored Dodge Challenger that

was registered to "Nikki'' Stickel. HOWINGTON stated that Shawn put $8,000 or $10,000 down

on the vehicle and planned to pay it off in two (2) months.

       HOWINGTON stated that he was introduced to Shawn by John Ratcliff for the purpose

of obtaining methamphetamine. HOWINGTON stated that he obtained twelve (12) ounces of

methamphetamine from Shawn on two (2) separate occasions. On both occasions, Shawn

provided heroin to HOWINGTON, Y2 and 1Y2 ounces respectively. HOWINGTON told officers

that he sold the methamphetamine and kept the heroin for his personal use. HOWINGTON

stated that he may have sold a little bit of the heroin to help people out, but mainly just sold the

methamphetamine.

       HOWINGTON stated that Shawn received packages of methamphetamine through the

United States Postal Service. HOWINGTON was present at Shawn's residence on one (1)

occasion when a package arrived from Shawn to Sophia. HOWINGTON advised that Shawn

was in Rancho Cucamonga, California at the time and sent the package to his own address in

Virginia. HOWINGTON unpackaged the methamphetamine at Sophia's direction.

HOWINGTON described the methamphetamine as being in three (3) heat sealed bags, either

pounds or kilograms. HOWINGTON stated that Shawn received the same amount of

methamphetamine every time. HOWINGTON stated that he did not receive any




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methamphetamine at this time because he was there with "Nikki" STICKLE to leave drug

proceeds for Shawn.

       HOWINGTON advised that he paid Shawn $500.00 per ounce of methamphetamine and

resold Y2 ounce quantities for $550.00. HOWINGTON advised that his customers included Matt

Able, Stephen GRAHAM and A.J. Edwards.

       On November 21, 2017, CS-1 0 was interviewed by law enforcement regarding her

knowledge of drug trafficking in Northeast, TN and Southwest, VA. CS-1 0 stated that

Christopher SMILEY was an associate of"Jamie" JOHNSON. CS-10 stated that SMILEY sold

methamphetamine that he obtained from "Nikki" STICKEL. CS-1 0 stated that SMILEY sold

heroin that he obtained from "Nic/(' HOWINGTON.


       On December 4, 2017, Stephen GRAHAM was interviewed by law enforcement

regarding his knowledge of drug trafficking Northeast, TN and Southwest, VA. GRAHAM

stated that two (2) years ago he started selling crystal methamphetamine that he obtained from

"Nikki'' STICKEL. GRAHAM stated that STICKEL and "NicTr' HOWINGTON lived together

and STICKEL had a source of methamphetamine from California. GRAHAM advised that

HOWINGTON had been driving the California source's gold BMW and that STICKEL and

HOWINGTON put the California source's property in storage for him. It is believed, by agents,

that the California source referred to by GRAHAM was Shawn FARRIS.


       On January 19, 2018, Christopher SMILEY was interviewed in Bristol, VA. SMILEY

stated that "Nic/(' HOWINGTON was a source of supply of methamphetamine for "Jamie"

JOHNSON. SMILEY stated that HOWINGTON was a source of supply for heroin to Matt Abel

and "Seven". SMILEY stated that Abel sold the heroin to SMILEY because SMILEY was



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unable to buy heroin directly from HOWINGTON. SMILEY stated that he obtained heroin in

this manner ten (1 0) to fifteen (15) times.

        On March 6, 2018, Joshua CHAPMAN was interviewed in Sullivan County, TN.

CHAPMAN stated that he had used "Nic/C' HOWINGTON and his girlfriend, ''Nikki''

(STICKEL), as a "plug" (source for drugs). CHAPMAN further advised that HOWINGTON

sometimes met a black male at the Speedway Inn to possibly deal dope.

        According to the records ofNCIC, James Nicholas HOWINGTON was arrested in 2011

for Possession of Drugs and Unlawful Drug Paraphernalia. In 2017, HOWINGTON was

arrested for Possession of Methamphetamine, Possession of Heroin with the Intent for Resale,

Maintaining a Dwelling Where Drugs are Sold and Simple Possession.




                                 James Robert JOHNSON, aka "Jamie"


        On March 29,2016, CS-26 was interviewed by law enforcement regarding his knowledge

 of drug trafficking in Northeast Tennessee and Southwest Virginia. CS-26 stated that Suzan

 Greer obtained prescriptions for Suboxone from Doctor Brown's Office and "Jamie" JOHNSON

paid for the appointments. CS-26 stated that JOHNSON received a portion of the Suboxone in

 exchange for paying for the doctor's appointments.


        CS-26 stated that one (1) week prior to this interview, he went to a residence of a white

male, whom he knew only as "Buddy", and JOHNSON was there. CS-26 stated that JOHNSON

 had approximately three (3) ounces of clear methamphetamine in his possession. CS-26 advised

that he used some of the methamphetamine.




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       CS-26 stated that since he had known JOHNSON he had purchased approximately

twenty (20) grams of methamphetamine from JOHNSON for $100.00 per gram.


       On June 2, 2016, a traffic stop was conducted on a vehicle operated by Lawrence Powell

Earhart in Bristol, TN. Also present in the vehicle were Larry Addair and Audriana Belcher.

Earhart was eventually arrested for possession of methamphetamine (and subsequently indicted

in the Eastern District of Tennessee in a related conspiracy). Pursuant to a search warrant,

Earhart's cellular telephone was searched. Saved in the contacts list under "Jamie Johnson" was

telephone number (423) 612-3245. Earhart's phone contained the following text messages with

"Jamie Johnson":

February 20, 2016


       Earhart to JOHNSON, "You around man. How much on a large order ... You know the

       size I'm thinking ... I Zeke wants to know"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Powell Earhart inquired of a price to purchase a large amount of methamphetamine ("large

order") from "Jamie" JOHNSON.


 March 2, 2016


       Earhart to JOHNSON, " ... but should you be doing good little later this evening let me

       know, holding a spot for a friend and wonder how long to hold it. Thanks man."


       JOHNSON to Earhart, "Yeah I'm good. Call me."


       Earhart to JOHNSON, "Will do in few checking farm house now ... game and if any points

       I could use them lor'

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        Based on my training and experience, and my knowledge of this investigation, I believe

. that Powell Earhart ordered 1/8 ounce of methamphetamine ("game") and any needles (''points")

that "Jamie" JOHNSON had (for intravenous use       ofmethamp~etamine).



March 4, 2016


        Earhart to JOHNSON," ... also got somebody game, so keep that in mind ifyou would ...

        no big hurry as there weekend does not start till tonight. Thanks man."


        JOHNSON to Earhart, "Your good. Bout an hour"


        Earhart to JOHNSON, "K ... thanks man"


        JOHNSON to Earhart, "Quick as I can"


        Based on my training and experience, and my knowledge of this investigation, I believe

that Powell Earhart ordered 1/8 ounce of methamphetamine ("game"), to which "Jamie"

 JOHNSON replied he could meet in an hour.


March 7, 2016


        Earhart to JOHNSON, "Got a friend asking. Was wondering ifyou are about this

        evening''


        Earhart to JOHNSON, "/could possibly meet somewhere in a few"


        Earhart to JOHNSON, "Any orange tips around'


        JOHNSON to Earhart, "Sorry man. I've been cooking supper. 701 Pennsylvania Ave.

        where I'll be. More than welcome to drop by."



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       Earhart to JOHNSON, "Yeah man think I'll take you up on it. Phones blowing up"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Powell Earhart inquired of"Jamie" JOHNSON if he had methamphetamine for sale

("wondering ifyou are about this evening'') as well as needles ("orange tips"). I believe that

JOHNSON replied in the affirmative and told Earhart to drop by the residence of "Nikki'' Stickel

at 701 Pennsylvania Ave., Bristol, TN.


March 9, 2016


       Earhart to JOHNSON, "What's up man, got a friend coming later, wondering ifyou

       might be out and about tonight ... just let me know"


       JOHNSON to Earhart, "Sure will. I'll bring the trailer with this evening"


       Earhart to JOHNSON, "Good deal, be great if we could talk some points of our

       conversation on Big Orange football the other night... oh those vols lof'


       JOHNSON to Earhart, "Anything for vols fan!"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Powell Earhart inquired of"Jamie" JOHNSON if he had methamphetamine for sale ("be out

and about tonight"). I believe that JOHNSON replied in the affirmative. I believe that Earhart

then ordered more needles for which to use the methamphetamine ("talk some points on Big

Orange footbalf').


March 18, 2016




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       Earhart to JOHNSON, "Ifyou are out and about and doing good I hope you might swing

       by, and I'd like to get a couple of those orange tip flower bulbs so I might plant a few in

       the coming days ... spring is in the air."


       JOHNSON to Earhart, "Indeed it is. I'll see what I can do"


       Earhart to JOHNSON, "No huge deal on the bulb flowers, I'll get done another time         if
       not good this time around, but still game on for me brother"


       JOHNSON to Earhart, "10-4"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Powell Earhart inquired if"Jamie" JOHNSON had methamphetamine for sale ("out and

about and doing good'') and requested additional needles to use the methamphetamine ("orange

tip flower bulbs").


March 28,2016


       Earhart to JOHNSON, " ... Give me a ring when you get up bro, like to get a game going

       at some point. Maybe sit and shoot the shit awhile. Talk tomorrow."


       JOHNSON to Earhart, "I'll come by and chat tomorrow. I bid you goodnight until then"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Powell Earhart ordered 1/8 ounce of methamphetamine ("game") from "Jamie" JOHNSON.


Aprilll, 2016


       Earhart to JOHNSON, "Hey man, having a good day? So we had a blast on the court

       last night, I have the fees for last night by the way, also would like to reserve space

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        tonight,   if available. Give a holler and let me knokw what's the deal ... I can roll your

        way if need be, coming your way anyway"


        JOHNSON to Earhart, "Call me when you can"


        Based on my training and experience, and my knowledge of this investigation, I believe

that Powell Earhart told "Jamie" JOHNSON that he had money to pay to JOHNSON for the

 methamphetamine from the previous night ("/have the fees for last night"), and asked if he

 could obtain additional methamphetamine tonight ("reserve space tonight").


 May 5,2016


        Earhart to JOHNSON, "Going to stop at bank ifyou have any tickets for that game"


        JOHNSON to Earhart, "10-4"


        Earhart to JOHNSON, "Almost home see you there bro"


        JOHNSON to Earhart, "On my way"


        Based on my training and experience, and my knowledge of this investigation, I believe

that Powell Earhart ordered 1/8 ounce of methamphetamine ("game") from "Jamie" JOHNSON,

who replied that he had it (" 10-4").


May28, 2016


        Earhart to JOHNSON, "You around man"


        JOHNSON to Earhart, "Yeah"


        Earhart to JOHNSON, "Doing good'


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       JOHNSON to Earhart, "Yeah. Come by ifyou want"


       Earhart to JOHNSON, "Ok, see you soon"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Powell Earhart asked "Jamie" JOHNSON if he had any methamphetamine ("doing good"),

and JOHNSON replied that he did and for Earhart to come get it.


       On August 22, 2016, Bill Taylor (subsequently indicted in the Eastern District of

Tennessee in a related conspiracy) was interviewed following his arrest for possession of

methamphetamine and a gun. Taylor stated that "Nikki" STICKEL lived on Georgia Avenue and

at the time was selling large amounts of methamphetamine. Taylor stated that STICKEL was

dating "Jamie" JOHNSON who was also selling methamphetamine. Taylor stated that a possible

source of supply for STICKEL was Joe Tranum (deceased).


       On March 23, 2017, CS-27 was interviewed by law enforcement. CS-27 advised that ten

(10) years ago he was a distributor of crack cocaine. CS-27 advised that for the past two (2)

years he has been selling methamphetamine. CS-27 advised that he started out being supplied

methamphetamine by "Jamie" JOHNSON in the area of Hickory Tree (Bristol, TN). CS-27

advised that JOHNSON was supplied methamphetamine a female who stayed in the tree street

area (Bristol, TN), maybe Spruce or Pine Street. CS-27 advised that the house may have

belonged to "J.R." (John Ratcliff) and that "Dee Dee" (Crystal Pharis) used to stay at this house.

CS-27 stated that he had purchased methamphetamine from this house, usually Y4 to one (1)

ounce at a time. (Your affiant believes that the female referred to as JOHNSON's source of

supply was Andrea Nichole "Nikki" STICKEL, whose residence at the time was 701




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Pennsylvania Ave., Bristol, TN, across the street from the family residence of John Ratcliff and

Crystal Pharis.)


       On September 28, 2017, a traffic stop was conducted in Bristol, TN on a vehicle operated

by Teryn FELTY. The officer issued FELTY a citation for a tag light being out and gave her

things back to her and completed the stop. The officer then asked FELTY if there was anything

illegal inside the vehicle and FELTY advised, no. The officer then asked FELTY for consent to

search the vehicle. The officer noted that FELTY became nervous as if she was concealing

something. The officer then explained to FELTY that he had observed her leaving a high

narcotics area and asked her what she was concealing in the vehicle. At this time FELTY

presented the officer with a bag that contained what FELTY stated was twelve (12) grams of

methamphetamine. The officer asked FELTY to step out of the vehicle and at this time she

presented the officer with an additional bag of methamphetamine that she removed from her bra

area. FELTY voluntarily stated that she had just purchased the methamphetamine from "Jamie"

JOHNSON at the white house on Earhart Rd.


       On November 21, 2017, CS-10 was interviewed by law enforcement regarding her

knowledge of drug trafficking in Northeast Tennessee and Southwest Virginia. CS-1 0 stated that

"Jamie" JOHNSON was a methamphetamine distributor. CS-10 further explained that

JOHNSON obtained his methamphetamine from "Nikki'' STICKEL and CS-10 had personally

observed JOHNSON obtain methamphetamine from STICKEL. CS-1 0 advised that she had

bought methamphetamine from JOHNSON a couple of times, "8 ball" (1/8 ounce) amounts. CS-

10 also advised that JOHNSON sold methamphetamine to Powell Earhart to pay for rent. CS-1 0

advised that Earhart spent $400.00 to $500.00 a day on methamphetamine.



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        On January 19,2018, Christopher SMILEY was interviewed in Bristol, VA. SMILEY

 stated that "Jamie" JOHNSON lived in a small house on the property of Powell Earhart.

 SMILEY stated that JOHNSON had supplied methamphetamine to him on several occasions

 since August 2017. SMILEY advised that JOHNSON sold methamphetamine for $600.00 to

 $700.00 per ounce and he had bought from JOHNSON on approximately twenty (20) occasions.


        On February 3, 2018, while on routine patrol Officer Chesney Roark of the Bristol, TN

 Police Department observed a gold Mazda sedan with Tennessee registration 4G8-1G9,

 registered to James R. JOHNSON, at the residence located at 901 Georgia Avenue, Bristol, TN.

 Officer Roark was familiar with the residents of this address, Andrea Nichole "Nikki'' STICKEL

 and James Nicholas "Nick'' HOWINGTON, as drug distributors.

        According to the records ofNCIC, James Robert JOHNSON had no prior drug felonies.



                                 Stephen Anthony GRAHAM


        On May 18, 2017, a search warrant was applied for and obtained in the Eastern District of

Tennessee for text message content stored in the accounts of telephone number (423) 612-6898

(James Nicholas HOWINGTON). In response to the execution ofthis search warrant on Verizon

Wireless, agents received text messages stored in those accounts from May 5 to May 18, 2017.

The following is an excerpt from the search warrant results:

May 11,2017


        (276) 285-7818 (Stephen GRAHAM) to HOWINGTON, "I haven't been doin anything"


        GRAHAM to HOWINGTON, "I think I can help"


        GRAHAM to HOWINGTON, "Roach said he got 15s for 20"

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       GRAHAM to HOWINGTON, "Yea how many u want"


       GRAHAM to HOWINGTON, "He said give him a jus a few"


       GRAHAM to HOWINGTON, "U can come on an get me it won't be long"


       GRAHAM to HOWINGTON, "He drop those here do u want them or no so I can tell

       him to come back and get em"


       GRAHAM to HOWINGTON, "I'm at Eastern Little League field on Virginia side"


       GRAHAM to HOWINGTON, "Do u want me to keep these for u or give them back to

       Roach"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Stephen GRAHAM contacted "Nick" HOWINGTON and agreed to obtain 15 mg dosage

units ofRoxicet (oxycodone) for $20.00 each from "Roach". I believe that only one side of the

conversation was captured by V erizon Wireless. I have been advised by V erizon Wireless that

sometimes, due to the type of phone used, only one side of a conversation is captured and stored

by their database.


       On August 16, 2017, James Nicholas "Nick'' HOWINGTON was interviewed in

Abingdon, VA. HOWINGTON stated that he sold methamphetamine and heroin supplied by

Shawn LNU (subsequently identified as Shawn FARRIS). HOWINGTON stated that his

methamphetamine customers included Stephen GRAHAM and others. HOWINGTON stated

that GRAHAM purchased V4 ounces of methamphetamine at a time from HOWINGTON.


       On December 1, 2017, Stephen GRAHAM was interviewed by law enforcement at the

Sullivan County Sheriffs Office. GRAHAM stated that he had been selling "ice" (crystal

                                               72

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methamphetamine) for approximately two (2) years. GRAHAM stated that he obtained his

methamphetamine through "Nikki" STICKEL. GRAHAM advised that in the beginning he

obtained approximately one (1) "8 ball" (1/8 ounce) of methamphetamine per week for $200.00.

GRAHAM advised that this continued for about one (1) year before he began to get more weight

from STICKEL. GRAHAM advised that eventually he started getting        ~   ounces of

methamphetamine at a time from STICKEL. GRAHAM stated that this went on regularly for a

couple of months prior to his most recent arrest when he and STICKEL had a falling out.

GRAHAM advised that they had a falling out over $400.00 to $500;00 that he owed to

STICKEL. GRAHAM further advised that STICKEL had some unknown motorcycle guys that

were threatening him over the money.


       According to the records ofNCIC, Stephen GRAHAM was convicted of Manufacturing,

Sale, Possession of a Schedule I or II Controlled Substance. In 2011, GRAHAM was convicted

of Conspiracy to Distribute Marijuana in the Eastern District of Tennessee. In 2013,

GRAHAM's supervised release was revoked. In 2016, GRAHAM was convicted of Violation of

Probation. In 2017, GRAHAM was charged with Possession of Methamphetamine.


                                   Christopher Lee SMILEY


       On June 4, 2017, EMS was called to the residence of Lawrence Powell Earhart in Bluff

City, TN due to a drug overdose. When the police arrived, Christopher SMILEY and a female

were detained in a vehicle in the driveway. Pursuant to a search of the vehicle, drug

paraphernalia and a cellular telephone were seized. SMILEY claimed that the cellular telephone

was his. Contained within the phone were the following text messages:


May 5, 2017


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       (423) 723-4169 (Terry DALTON) to SMILEY, "Hey did u calf'


       SMILEY to DALTON, "Seeibg what's going on"


       DALTON to SMILEY, "Not much just trying to come up with 2 stacks"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Christopher SMILEY contacted Terry DALTON to obtain drugs. I believe that DALTON

advised SMILEY that he was trying to collect $2,000.00 ("2 stacks").


May29,2017


       (276) 254-2285 ("Cornbrecf') to SMILEY, "What's shakin baby"


       SMILEY to Combred, "All good round here"


       Combred to SMILEY, "I'm in Abingdon & need a half'


       SMILEY to Combred, "How much cash do you have"


       Combred to SMILEY, "I got 6 totaf'


       Based on my training and experience, and my knowledge of this investigation, I believe

that "Cornbrecf' contacted Christopher SMILEY in and attempt to purchase   ~   ounce of

methamphetamine for $600.00.


May 31,2017


       SMILEY to (423) 612-3245 ("Jamie" JOHNSON), "In down at pit row"


       JOHNSON to SMILEY, "0/C'



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          JOHNSON to SMILEY, "What's up"


          SMILEY to JOHNSON, "I'm takibgnoffnow"


          JOHNSON to SMILEY, "You're right beside my house"


          (423) 557-3697 (Teryn FELTY) to SMILEY, "Anything good?"


          SMILEY to FELTY, "We got some fire dope and I've got a half oz of dank bud I need to

          self'


          FELTY to SMILEY, "I'm with Josh Chapman and that dude Josh that was with me at

          Sarah's. Is that okay? They my ride lof'


          SMILEY to FELTY, "I can't have all of em come here but well be leaving here in a min

          we 've gotta get some sells done today"


          FELTY to SMILEY, "Okay well I need to grab something.from you"


          Based on my training and experience, and my knowledge of this investigation, I believe

 that Christopher SMILEY met with Jamie JOHNSON to obtain methamphetamine. I believe that

 Teryn FELTY contacted SMILEY to obtain methamphetamine, and SMILEY advised her that he

 had methamphetamine (''fire dope") and marijuana ("dank bucf').


 June 2, 2017


 (276) 494-8393 (Matt Able) to SMILEY, "Hey bro this is Matt I was trying to locate half an

 onion. Any idea what u might do produce wise? I'd call but my phone fell in some water and I

. can only text til I get it fvcecf'




                                                    75

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       Based on my training and experience, and my knowledge of this investigation, I believe

that Matt Able contacted Christopher SMILEY in an attempt to purchase Y2 ounce of

methamphetamine ("half an onion").


June 4, 2017


       SMILEY to Terry DALTON, "They found a broke needle, scales and 800 mg ibuprofen

       in my vehicle"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Christopher SMILEY advised Terry DALTON that the police found drug paraphernalia and

800 mg Ibuprofen as a result of a search conducted at the residence of Powell Earhardt.


       On November 21, 2017, CS-10 was interviewed by law enforcement regarding her

knowledge of drug trafficking in Northeast Tennessee and Southwest Virginia. CS-1 0 advised

law enforcement that Christopher SMILEY was associated with "Jamie" JOHNSON. CS-10

advised that SMILEY obtained methamphetamine from "Nikki'' STICKEL that he then

distributed. SMILEY also obtained heroin from "Nick'' (HOWINGTON) that he distributed.


       On January 18,2018, Christopher SMILEY was interviewed by law enforcement.

SMILEY was advised of his Miranda Rights, advised he understood them and signed a waiver of

the same. SMILEY advised that his drug of choice to use was opioids, but had used many

different drugs. Most recently, SMILEY began using marijuana and heroin two (2) years ago

and returned to the area of Southwest Virginia in February 2017.


       SMILEY stated that prior to August 2017, SMILEY obtained one (1) ounce of

methamphetamine at a time from Powell Earhart for $800.00 to $1000.00 each ounce. SMILEY


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 stated that he had purchased one (1) ounce of methamphetamine from Earhart on approximately

ten (10) occasions. SMILEY stated that since August 2017, he obtained methamphetamine from

"Jamie" JOHNSON who lived in a house on Earhart's property. SMILEY stated that he

 obtained one (1) ounce of methamphetamine for $600.00 to $700.00 on approximately twenty

 (20) occasions from JOHNSON.

        SMILEY stated that he had obtained heroin from Matt Abel, who had received it from

"Nic!C' HOWINGTON. SMILEY advised that he was not able to go directly to HOWINGTON

to purchase the heroin.. SMILEY obtained heroin in this manner ten to fifteen (10-15) times.

        SMILEY advised that he sold methamphetamine in smaller amounts, but only made

 $100.00 for every ounce of methamphetamine that he sold.

        SMILEY stated that in October 2017, he was introduced to "Fonda" by Skyler

 (SEBASTIAN). SMILEY stated that "Fonda" supplied methamphetamine, heroin and cocaine

 to SMILEY. SMILEY stated that "Fonda" only charged SMILEY $100.00 per ounce of

 methamphetamine. SMILEY advised that he had obtained approximately fifty (50) to sixty (60)

 ounces of methamphetamine from "Fonda" since October 2017.

        SMILEY advised that he purchased heroin from "Fonda" for $200.00 per gram and was

 able to resell the heroin for $400.00 per gram. SMILEY stated that he had obtained

 approximately ten (10) grams of heroin per week from "Fonda" for three (3) to four (4) months.

        "Fonda" was supplied heroin by an individual in Kingsport, Tennessee. "Fonda" took

 SMILEY to meet this heroin source last month (December 2017), and since then, SMILEY has

 obtained twenty (20) to thirty (30) grams ofheroin directly from him, paying $150.00 per gram.

        SMILEY stated that he sold heroin to John Farner, aka "Johnny Ratchet" who lived near

the lake (subsequently indicted in the Eastern District of Tennessee in a related conspiracy).



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SMILEY listed several other heroin customers of his, including Barry Hall (aka "Mohaw/C', also

indicted in Tennessee) and several people in Richlands, VA.


       According to the records ofNCIC, Christopher Lee SMILEY was arrested in 2017 for

Distribution of a Schedule I or II Controlled Substance, Distribution of a Schedule III Controlled

Substance, and Possession of a Firearm while in Possession of a Controlled Substance.


                                    Joshua Todd Chapman


       On September 25, 2016, officers with the Bristol, TN Police Department (BTPD)

encountered Joshua CHAPMAN as the operator of a vehicle at a call for service at 202 Big

Valley Drive Bristol, TN. The call was for a welfare check for a child in the residence. Upon

arrival, officers noted a multi-colored Mazda SUV in the driveway.


       The occupant of the residence advised she did not recognize the vehicle nor know the

occupants, Joshua CHAPMAN and Ricky Bender. The owner of the residence requested that

officers ask them to leave. A K-9 officer with BTPD arrived on scene to assist. Bender was

asked to step from the vehicle and gave consent for his person to be searched and no illegal items

were located. CHAPMAN was asked to step from the vehicle and when he did an orange bottle

with a glass pipe used to smoke methamphetamine fell to the ground. CHAPMAN was searched

without incident and no further items were found on his person.


       The K-9 conducted a free air sniff around the vehicle and the K-9 alerted to the presence

of narcotics in the vehicle. A revolver style handgun was found on the passenger side of the

vehicle. A red bag that had been located on CHAPMAN'S lap was searched and inside were two

(2) bags containing what appeared to be methamphetamine. Also, found was what appeared to

be fifteen (15) Xanax pills. Ammunition for a .38 caliber gun was found along with Suboxone

                                                78

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and unidentified pills. CHAPMAN'S identification was also found in the bag. CHAPMAN was

arrested at the scene.


        On September 27, 2016, CS-34 was interviewed in Bristol, TN. CS-34 stated that during

September 2017, Joshua CHAPMAN was supplied methamphetamine by Larry Addair

(deceased). CS-34 advised that CHAPMAN received ounce quantities from Addair.


        On April19, 2017, CS-35 was interviewed pursuant to a proffer agreement entered into

with the U.S. Attorney's Office in Greeneville, TN. CS-35 stated that Brandon Thorpe had

stolen his vehicle and had taken the vehicle to Knoxville, Tennessee. CS-35 stated that when

Thorpe came back he took the vehicle to the residence of Paul Borror in Bristol, TN. At the time

Thorpe stole the vehicle, Joshua CHAPMAN was with him and CHAPMAN had a handgun on

him. CS-35 stated that he had smoked methamphetamine with CHAPMAN at his apartment.

CS-35 stated that CHAPMAN had provided methamphetamine to him for free.


        On November 30,2016, Brian Danner was interviewed by law enforcement following his

arrest for possession of methamphetamine. Danner stated that he used to sell 'l'2 ounce of

methamphetamine to Joshua CHAPMAN twice (2) a week in Y4 ounce increments. Danner

stated that recently the roles had reversed and he had been selling methamphetamine for

CHAPMAN. Danner advised that he CHAPMAN had been making trips to Morristown, TN and

picking up an unknown quantity of methamphetamine, possibly $10,000.00 worth at a time.

Danner stated that he bought four (4) ounces of methamphetamine from CHAPMAN in

November 2016 for $3,500.00. Danner advised that Travis LNU also sells methamphetamine for

CHAPMAN.




                                               79

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       On February 15, 2017, Timothy Holt was interviewed pursuant to his arrest for

conspiracy to distribute methamphetamine in the Eastern District of Tennessee. Holt stated that

recently, Josh CHAPMAN had stepped up from what he was doing and was distributing

methamphetamine.


       On June 14, 2017, Amy Mann was arrested in possession of methamphetamine and

firearms. A search of her cellular telephone revealed the following text messages with telephone

number (423) 534-9539, saved under "Josh Chapman":


June 10,2017


       Mann to CHAPMAN, "Need to speak to u asap call me"


       Mann to CHAPMAN, "I on way to Thorpe          if want to ride"

       CHAPMAN to Mann, "Oh shit"


       CHAPMAN to Mann, "Hate to b him"


       Mann to CHAPMAN, "Yea u better not say a fucking word I swear to God'


       Based on my training and experience, and my knowledge of this investigation, I believe

that Amy Mann advised Joshua CHAPMAN that she was going to meet up with Brandon Thorpe

(previously indicted in the Eastern District of Tennessee in a related drug conspiracy).


June 11, 2017


       Mann to CHAPMAN, "I need u asap"


       CHAPMAN to Mann, "Whats up. I was sleep"



                                                80

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       Mann to CHAPMAN, "Hey I want to buy your Springfield and anyuck on the other two"


       CHAPMAN to Mann, "Let me get up"


       CHAPMAN to Mann, "Who this, Amy or Terry"


       Mann to CHAPMAN, "Amy"


       CHAPMAN to Mann, "Hey whats up rna. Everything o/C'


       CHAPMAN to Mann, "Imma getting ready walk out door. Imma           ca~l   u if u have a min"


       Mann to CHAPMAN, "Yeajus come on to my house"


       Mann to CHAPMAN, "Cause Terry has my stuff but my man dude coming so I needed to

       see ya"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Amy Mann told Joshua CHAPMAN to come by her residence to see her. I believe that

Mann advised CHAPMAN that Terry DALTON had her methamphetamine ("stuff'), her main

supplier (Shawn FARRIS) was on his way, and she needed money from CHAPMAN to give to

FARRIS.


       On January 24, 2018, CS-14 was interviewed pursuant to a proffer agreement entered

into with the U.S. Attorney's Office in the Eastern District of Tennessee. CS-14 stated that

Joshua CHAPMAN had given him user amounts of methamphetamine.


       On March 6, 2018, Joshua CHAPMAN was interviewed by law enforcement. After

being advised his Miranda rights, CHAPMAN provided information regarding his knowledge of

methamphetamine trafficking in Northeast Tennessee and Southwest Virginia.

                                               81

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       CHAPMAN stated that he began selling methamphetamine approximately two (2) years

ago to support his family. CHAPMAN stated that at first he was selling methamphetamine for

Tim Green and was selling two (2) to three (3) ounces every day or two, which covered a period

ofthree (3) to four (4) months.


       CHAPMAN stated that following Green's arrest, CHAPMAN began making trips to

Georgia with Scott Stone and Miles Key. CHAPMAN stated that they would meet with a black

female named Saleemah. CHAPMAN advised that Saleemah would also come to Bristol to meet

with them. CHAPMAN stated that between the months of October and December 2017, he

obtained Y2 to one (1) kilogram of methamphetamine from Saleemah every other day for $200.00

per ounce. CHAPMAN stated that he, Stone and Keys split the methamphetamine three (3)

ways. CHAPMAN stated that Stone also obtained heroin from Saleemah on a couple of

occasiOns.


       CHAPMAN advised that while he was dealing with Saleemah, he was introduced to

another source of methamphetamine out ofNorth Carolina by Travis Davis. CHAPMAN stated

that the source in North Carolina was two (2) to three (3) "Mexicans". CHAPMAN stated that

he met the "Mexicans" thirty to forty-five minutes down Interstate 77 from Interstate 81 just

inside the state ofNorth Carolina at a truck stop. CHAPMAN stated that between October and

November 2017, he obtained ten (10) to twenty (20) ounces ofmethamphetamine from the

"Mexicans". CHAPMAN further stated that other people in Northeast, TN who were also

dealing with the "Mexicans" were Teryn FELTY and Cody Blevins.


       CHAPMAN stated that "Nic/C' HOWINGTON and "Nikki'' (STICKEL) were two (2)

people that he had used as a "plug" (source of methamphetamine) from time to time. He further



                                               82

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                        I
stated that HOWINGTON went to Todd MULLINS a lot, and that "Nikki" has been in the dope

game a long time.


        CHAPMAN advised that he has obtained methamphetamine from Amy Mann and Gary

MCFARLANE. CHAPMAN stated that he had been to MCFARLANE's house to obtain the

methamphetamine.


        CHAPMAN advised that he has obtained methamphetamine from Todd and Robin

MULLINS in the past and described MULLINS' house as a "Trap House" (house used to store

illegal drugs).


        According to the records ofNCIC, Joshua Todd CHAPMAN was arrested in 2007 and

2008 for Possession of a Controlled Substance. In 2016, CHAPMAN was arrested for

Possession of a Schedule III and IV Controlled Substance for Resale, Possession of

Methamphetamine for Resale, and Possession of a Weapon During a Felony.


                  Saleemah Lashawn ROBERSON, aka "Georgia", aka "Lema"


        On June 29, 2017, a search warrant was applied for and obtained in the Western District

of Virginia for text message content stored in the accounts of telephone number (276) 591-7287

(Shawn FARRIS). In response to the execution ofthis search warrant on Verizon Wireless,

agents received text messages stored in those accounts from June 20 to June 29, 2017. The

following is an excerpt from the search warrant results:

June 26,2017




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      (706)748-8943 (Saleemah ROBERSON) to FARRIS, "Hey this is Saleemah look Levi

      went to jail and I had gave him the majority of it and nobody was trying to pay u brought

      what I had to Ga and Rico robbed me"


      FARRIS to ROBERSON, "Why couldn't you of told me this sooner and why has JR been

      lying saying he didn't no what happens Levi only got busted with a halfdo you no where

      the rest is at"


      ROBERSON to FARRIS, "No Dee was suppose to round it up but then she went to jail

      and JR really hadn 't spoken to me even now I left my phone at truck stop in Alabama"


      FARRIS to ROBERSON, "Do you no were JR mite have it"


      ROBERSON to FARRIS, "Haven 't been in touch with anyone I was terrified 49000 it's

      what Levi had to give me !just got all my google contacts I'm going tosend us number to

      someone who said they know everyone who had money for Levi"


      FARRIS to ROBERSON, "No I didn't think he had it because he would have paid you"


      FARRIS to ROBERSON, "Because JR acted like it was no big deal and never looked for

      it so I accused him ofstilling it from me "


      FARRIS to ROBERSON, "I thank he has it"


      FARRIS to ROBERSON, "But he says he didn't"


      ROBERSON to FARRIS, "I have to get back into my Face book to get the number Rico

      stole my other phone and had been contacting people acting like its me so my mother shut

      my Facebook down"


                                               84

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Later in the same conversation:


      FARRIS to ROBERSON, "It's alright !just don't know whyJR acts like it's nothing"


      FARRIS to ROBERSON, "He hasn't even faced me sence then"


      ROBERSON to FARRIS, "I don't either I damn sure didn't I was terrified and hrs knew

      Dee was suppose to round it up he could have helped"


      ROBERSON to FARRIS, "I was scared to attempt communication with my family JR

       could've helped"


      FARRIS to ROBERSON, "Dee Dee couldn't find anything because I was at her house

      the next morning after Levi got arrested and she was looking all over for it she didn 't no

       it was mine she was trying to help me get a car back"


      ROBERSON to FARRIS, "That's because he had gave it all out the person that hit me

      on Facebook said he knows everyone that owes Levi money"


      ROBERSON to FARRIS, "I'm going to send u a pick of the message shoo you can see

      who it is"


      FARRIS to ROBERSON, "Ok


      FARRIS to ROBERSON, "Do you no Levi first and last name"


      ROBERSON to FARRIS, "I know the last name is Bennett"


      Based on my training and experience and knowledge of this investigation, I believe that

Saleemah ROBERSON contacted Shawn FARRIS to discuss ROBERSON "fronting" Levi



                                               85

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BENNETT methamphetamine that ROBERSON had obtained from FARRIS. I believe that

BENNETT did not hold up his end of the deal and went to jail. I believe that ROBERSON was

scared ofF ARRIS and the repercussions of losing the methamphetamine so ROBERSON left the

area. I believe that the total loss of methamphetamine/money for FARRIS was $49,000.00.


       On July 20, 2017, CS-4 was interviewed pursuant to a proffer agreement entered into

with the U.S. Attorney's Office in Abingdon, VA. CS-4 stated that she was a distributor of

methamphetamine for Shawn FARRIS and others. CS-4 stated that FARRIS used to send the

methamphetamine to the residence of"Georgia", a black female who also sold

methamphetamine for FARRIS. CS-4 stated that "Georgia" sold methamphetamine to Heather

Ashley DAVIS, Terry DALTON and others. CS-4 stated that "Georgia" believed that the

"Feds" were watching her and moved out of town. CS-4 stated that "Georgia" also had

suppliers of methamphetamine out of Georgia. (Your affiant is aware that a nickname for

Saleemah ROBERSON is "Georgia" and she is a black female.)


       On July 26, 2017, John Ratcliff was arrested in Bristol, TN in possession of 1.3

kilograms of crystal methamphetamine and a handgun. Ratcliff cooperated with law

enforcement and gave consent to have his phone searched .. Pursuant to the search of Ratcliff's

phone, the following text messages were retrieved between Ratcliff and Sean MAIDLOW:


July 3, 2017


       Ratcliff to MAID LOW, "/turned that stuff around yesterday I wasn't happy with the

       quality"


       MAIDLOW to Ratcliff, "So what happened, did you get if'



                                               86

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       Ratcliff to MAID LOW, "No I was not happy with the quality of the work at hand it didn't

       seem right so I had dude turn it around'


       MAIDLOW to Ratcliff, "Ok''


       Ratcliff to MAIDLOW, "All that bullshitfor there bullshit wasn't good enough for me

       and I said nope I'll go home first"


       MAID LOW to Ratcliff, "Shit that suck well at least we still have the money to send back''


       Ratcliffto MAIDLOW, "Yea I got $6500 of it right now and then the rest Lema is

       coming with for what I bought and returned'


       Ratcliff to MAIDLOW, "I left it in her house and dude is coming to see her now with it

       and she is gonna meet me in Erwin with the rest as soon as they are done"


       MAID LOW to Ratcliff, "So the 10 I gave you plus the seven he has all ready plus the 3 I

       have that 20 so we r still good'


       Based on my training and experience, and my knowledge of this investigation, I believe

that John Ratcliff had made a trip to Georgia to obtain methamphetamine from Saleemah

ROBERSON ("Lema"). I believe that Ratclifftook $10,000.00 of Sean MAIDLOW's money,

but was not happy with the quality of the methamphetamine, so returned with $6,500.00 and was

awaiting the rest when ROBERSON came up to Erwin, TN. I believe that MAIDLOW

confirmed that they had $20,000.00 between them to purchase more methamphetamine.


       On October 30,2017, CS-3 was interviewed by law enforcement. CS-3 stated that

Saleemah ROBERSON was a black female who brings methamphetamine to the area from

Georgia. CS-3 stated that she has known ROBERSON for a long time going back to her days of

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 selling marijuana. CS-3 stated that ROBERSON stopped selling marijuana and began selling

 methamphetamine because it was more profitable. CS-3 stated that she had obtained a couple of

 pounds of methamphetamine from ROBERSON since February 2017.


        CS-3 stated that a few days after Levi BENNETT last went to jail in Virginia, Shawn

 FARRIS came to her residence claiming that BENNETT owed him $40,000.00 for seven (7)

 pounds of methamphetamine. CS-3 advised that she did not know anything about that. CS-3

 stated that she had never seen BENNETT with seven (7) pounds of methamphetamine and the

 most she had ever seen BENNETT with was two (2) pounds. CS-3 stated that the seven (7)

 pounds of methamphetamine was supposedly "fronted" to ROBERSON who in turn "fronted"

 the methamphetamine to BENNETT for resale.


        On December 29, 2017, the Commerce, Georgia Police Department responded to a

 possible kidnapping/armed robbery call at 621 Ridgeway Rd., Commerce, GA. Scott Stone

 (deceased) had apparently been kidnapped at gunpoint by Miles Key over a drug debt. During

 the course of the investigation, the occupants of the house were interviewed, including Saleemah

 ROBERSON. Pursuant to the investigation, a search warrant was obtained for ROBERSON's

 cellular telephone, bearing telephone number (347) 984-0597. According to the text messages,

 ROBERSON had facilitated drug transactions between Stone and others in the Bristol area.


        On January 30,2018, Saleemah ROBERSON was interviewed again by detectives in

 Commerce, GA. ROBERSON stated that the kidnapping/armed robbery incident that occurred

 on December 29, 2017 was the result of a drug transaction. ROBERSON stated that Miles Key.

had provided $8,000.00 to Scott Stone to purchase 16 ounces of methamphetamine from




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 ROBERSON. ROBERSON stated that Stone never gave the methamphetamine to Key and so

 Key attempted to rob Stone.


        ROBERSON stated that prior to the arrival of Stone that night, ROBERSON attempted to

 appease Key and provided him with four (4) ounces of methamphetamine that she obtained in

 Athens, GA.


        On March 6, 2018, Joshua CHAPMAN was interviewed in Bristol, VA. CHAPMAN

 stated that since a search warrant was executed at the residence of Tim Green (summer 2017,

· subsequently indicted in the Eastern District of Tennessee in a related conspiracy), CHAPMAN,

 Scott Stone and Miles Key made trips to Georgia and obtained methamphetamine from

 Saleemah. CHAPMAN did not know Saleemah's last name, but described her as a black female

 who lived in Georgia.


        CHAPMAN stated that between October and December 2017, they purchased Y2 to one

 (1) kilogram of methamphetamine every other day from Saleemah and split it three (3) ways.

 CHAPMAN stated that they paid $200.00 per ounce. CHAPMAN stated that Stone also

 purchased heroin from Saleemah. CHAPMAN stated that Saleemah also made trips to the

 Bristol area to sell methamphetamine.


        On March 13, 2018, CS-29 was interviewed in Abingdon, VA. CS-29 stated that he was

 a methamphetamine user who shared with others who needed it. CS-29 stated that most of his

 methamphetamine was supplied by Joshua CHAPMAN. CS-29 stated that in December 2017,

 he accompanied Scott Stone and others to Commerce, Georgia, where Stone was attempting to

 purchase five (5) or six (6) ounces of methamphetamine. CS-29 stated that Stone still owed a

 drug debt and was taken at gunpoint.


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       On March 28,2018, a search warrant was applied for and obtained in the Western

District of Virginia for text message content stored in the accounts of telephone number (276)

791-6721 (Shawn FARRIS) .. In response to the execution of this search warrant on Verizon

Wireless, agents received text messages stored in those accounts from March 22 to March 28,

2018. The following is an excerpt from the search warrant results:

March 19, 2018


       FARRIS to (34 7) 984-0597 (Saleemah ROBERSON), "Are you going to send the money

       today. Just want to know if I need to send another because I only send on Monday

        Tuesday and Wednesday"


       ROBERTSON to FARRIS, "Yes I'm sorry !was knocked out I'm going to send out to u

       tomorrow does it need to be sent 2day or just priority"


       FARRIS to ROBERSON, "Do not overnight it just send it priority"


       ROBERTSON to FARRIS, "Ok let u know when it's on it's way"


       FARRIS to ROBERSON, "Ok"


       Based on my training and experience, and my knowledge of this investigation, I believe

that Shawn FARRIS inquired of Saleemah ROBERSON if she was going to send him drug

proceeds that day so he could send her more methamphetamine. I believe that FARRIS advised

ROBERSON that he only sent methamphetamine on Monday, Tuesday and Wednesday. I

believe that ROBERSON advised FARRIS that she would send his drug proceeds the following

day, priority mail.


March 21, 2018

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         ROBERTSON to FARRIS, "On my way to the pussy office"


         FARRIS to ROBERSON, "0/C'


         ROBERTSON to FARRIS, "Lol post office"


         FARRIS to ROBERSON, "Ok thank u"


         Based on my training and experience, and my knowledge of this investigation, I believe

 that Saleemah ROBERSON advised Shawn FARRIS that she was on her way to send him drug

 proceeds.


         On April 6, 2018, a controlled purchase of two (2) ounces of crystal methamphetamine

 was made from Saleemah ROBERSON in Bristol, VA for $1,400.00 by an ATF Undercover

 Agent (UC). During the transaction, ROBERSON told the UC that she had brought eight (8)

 ounces of methamphetamine to Bristol from her home in Commerce, GA for distribution.

 Further conversation took place about the possibility of future sales that ROBERSON would

 make to the UC.


         According to the records ofNCIC, Saleemah Lashawn ROBERSON had no prior drug

 felonies.


                           Donald Zachary SNYDER, aka "Stryker"


         On March 1, 2017, Elizabeth EATON was interviewed by law enforcement. EATON

 stated that her main source of supply for methamphetamine was Skyler SEBASTIAN. EATON

 explained that Ernest Worley delivered methamphetamine for SEBASTIAN. EATON stated that

 SEBASTIAN's source for methamphetamine was Zach LNU (known to DEA as Donald Zachary

 SNYDER) who lived off of Interstate 81 at exit 10. EATON advised that the night she was

                                                91

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 arrested she had just provided $400.00 to Worley and was expecting him to deliver an amount of

 methamphetamine. EATON advised that she always fronted money to Worley. EATON

 advised that she had purchased Y2 to one (1) ounce of methamphetamine from SEBASTIAN,

through Worley at least ten (10) times, for $500.00 per ounce. EATON also stated that she had

 purchased marijuana from SEBASTIAN and Worley usually receiving Y2 to one (1) ounce each

 time. EATON explained that SEBASTIAN had introduced Worley to her and described Worley

 as working for SEBASTIAN.


        On June 14, 2017, Amy Mann was arrested in possession of methamphetamine and

 firearms. A search of her cellular telephone revealed the following text messages with telephone

 number (276) 206-0158 saved under "Z":


 June 10,2017


        SNYDER to Mann, "Is Jr still n jail?!? Did they say where"


        Mann to SNYDER, "All hell yeah where can we meet"


        SNYDER to Mann, "Where r u"


        Mann to SNYDER, "I jus pulled in home"


        Mann to SNYDER, "But let me come to u"


(Later that same day)


        Mann to SNYDER, "Yea that what I told ya should been 3 even so owe 5250 and had 4

        on me police have a g no other way like I said I got it covered tho so going to pay u today

        another 3 plus gun and give u rest this afternoon. Cause I personal watching over things


                                                92

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        till it get back in check I sorry thought caught what I laying down u mad about splitting it

        up"


        SNYDER to Mann, "That's straight just making sure we were all on same page didn't

        wanna feel/ike I sold the trailer, 4wheeler, n my tools for half of asking price. But I told

        u I'd work w n I'ma man of my word. Hmu whenever you ready to c me this afternoon.

        B safe n have a good 1"


 (Later that same day)


        Mann to SNYDER, "I have Thorpe and says has the money and says we going to get"


        Mann to SNYDER, "Hey u heardfrom him"


        SNYDER to Mann, "Yesm I'm with him actually /of'


        Mann to SNYDER, "Ok I meet you all or u come get me"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Amy Mann met with Zach SNYDER and obtained a pound of methamphetamine, for which

 she was to pay $10,500.00. I believe that Mann paid $3,000.00 to SNYDER, had an additional

 $4,000.00 on her, and agreed to pay another $3,000.00 and a gun later in the day. I believe that

later in the day, Mann and Brandon Thorpe (previously indicted in the Eastern District of

Tennessee in a related drug conspiracy) planned to meet with SNYDER and his

methamphetamine source of supply (Shawn FARRIS) to pay the rest of the debt and obtain more

 methamphetamine.


        On June 15,2017, Zachary SNYDER was the subject of a traffic stop by law

enforcement. SNYDER was the operator of a motorcycle at the time of the stop. After advising

                                                 93

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 SNYDER of why he was stopped, SNYDER was asked if he had any weapons or any other items

the officer should be concerned with. SNYDER advised that he had a small amount of

marijuana. At this time, SNYDER removed a backpack from his back and opened it and showed

the officer a small bag of marijuana. A further search ofthe backpack revealed three (3) small

bags that contained marijuana and a large Ziploc style bag that contained approximately two (2)

ounces of marijuana. A PVC pipe containing approximately twelve (12) grams of

methamphetamine and a pouch containing additional methamphetamine was found.


        SNYDER was advised of his Miranda Rights and after being advised of his rights he

 advised that he had a handful of people to whom he sold drugs.


        On July 20, 2017, CS-4 was interviewed in Abingdon, VA. CS-4 stated that Zach

 SNYDER, aka "Stryker", was a methamphetamine distributor for Shawn FARRIS. CS-4 stated

that SNYDER also served as a debt collector and enforcer for FARRIS. CS-4 stated that

 SNYDER's cellular telephone number was saved in her phone under "Z''.


        On July 26, 2017, John Ratcliff was arrested in Bristol, TN in possession of 1.3

kilograms of crystal methamphetamine and a handgun. Ratcliff cooperated with law

enforcement and gave consent to have his phone searched. Pursuant to the search of Ratcliff s

phone, telephone number (276) 206-0158 was found to be saved under "SNYDER". The

following text messages were contained on Ratcliffs phone with "SNYDER":


July 1, 2017


        Ratcliff to SNYDER, "You gonna be able to make it today with me bro?"




                                                94

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        SNYDER to Ratcliff, "Nah g I wish I could but gt a Vmax last night n tags r no good n

        Harley isn't ready for that longa haul quite yet, my bad homie typed u a text n never hit

        send B4 daylight"


        Ratcliff to SNYDER, "Ok man well I'm going anyway dude I got to make this happen for

        us"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that John Ratcliff contacted Zachary SNYDER to discuss a motorcycle trip they were supposed

to take to Georgia to obtain methamphetamine.


 July 18, 2017


        Ratcliff to SNYDER, "Yo next time you come around Bristol my way hit me up I need to

        holler at u"


        Ratcliff to SNYDER, "Got something u might be interested in"


        SNYDER to Ratcliff, "Ok wat u got homie"


        Ratcliff to SNYDER, "Ruger 9mm p89"


        Ratcliff to SNYDER, "It's a nice piece"


        SNYDER to Ratcliff, "Rite on I have one there good pieces n I'll take depending on what

        u looking to get out it"


        Based on my training and experience, and my knowledge of this investigation, I believe

that John Ratcliff contacted Zachary SNYDER to discuss the trade of a Ruger 9mm p89

handgun.

                                                  95

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 July 19, 2017


        Ratcliff to SNYDER, "U common to see me today?"


        SNYDER to Ratcliff, "Omw"


        Ratcliffto SNYDER, "0/C'


        Based on my training and experience, and my knowledge of this investigation, I believe

 that John Ratcliff inquired of Zachary SNYDER if he was coming to obtain additional

 methamphetamine from Ratcliff.


 July 23, 2017


        Ratcliff to SNYDER, "Are u good still or no?"


        SNYDER to Ratcliff, "No I needfrfr u gt?"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that John Ratcliff contacted Zachary SNYDER to determine if he needed additional

 methamphetamine. I believe that SNYDER advised Ratcliff that he needed methamphetamine.


 July 26, 2017


        Ratcliff to SNYDER, "U need to come see me today bro"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that John Ratcliff advised Zachary SNYDER to come see him to obtain additional

 methamphetamine and/or pay back drug proceeds.




                                               96

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        On August 9, 2017, a search warrant was applied for and obtained in the Western District

 of Virginia for text message content stored in the accounts of telephone numbers (276) 206-0158

 (Donald Zachary SNYDER) and (276) 274-6648 (Darlene BARRETT). In response to the

 execution of this search warrant on Verizon Wireless, agents received text messages stored in

 those accounts from July 25 to August 1, 2017. The following is an excerpt from the search

 warrant results:

 July 23,2017

        (276) 791-6125 to SNYDER, "Hey need two zips"

        Based on my training and experience, and knowledge of this investigation I believe that

 the user oftelephone number (276) 791-6125 ordered two (2) ounces of methamphetamine ("2

 zips") from Zachary SNYDER.

 July 24, 2017

        (276) 780-1244 to Zachary SNYDER, "What time tomorrow, I'm out"

        (276) 791-6125 to SNYDER, "What's up bro we got worR'

        (276) 791-6125 to SNYDER, "Hey I got that peace, and I still need'

        Based on my training and experience, and knowledge of this investigation I believe that

 the user oftelephone number (276) 780-1244 advised Zachary SNYDER that he was out of

 methamphetamine. I believe that the user of telephone number (276) 791-6125 advised

 SNYDER that he had methamphetamine ("work"). I believe that later in the day, the user of

 telephone number (276) 791-6125 advised SNYDER that he had obtained a handgun ("I got that

 peace") and needed additional methamphetamine.

 July 26, 2017

        (423) 217-9714 (John Ratcliff) to Zachary SNYDER, "U need to come see me today"



                                                97

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 Approximately eight (8) minutes later the following text was sent:

        (423) 366-7544 (Sean MAID LOW) to SNYDER, "Hey I'm good"

        Based on my training and experience, and knowledge of this investigation I believe that

 John Ratcliff and Sean MAID LOW each contacted Zachary SNYDER and told SNYDER that

 they had a supply of methamphetamine. Your affiant is aware, through interviews of co-

 conspirators and others that MAID LOW was a source of supply of methamphetamine for

 Ratcliff and SNYDER.

 July 27, 2017

        (276) 780-1244 to Zachary SNYDER, "So I wanted to do double he said one and then

        another halfbut that you would not have the double so ifyou end up having it call me."

        Based on my training and experience, and knowledge of this investigation I believe that

 the user oftelephorie number (276) 780-1244 advise4 Zachary SNYDER that he wanted double

 his usual order of methamphetamine, possibly two (2) ounces.

 July 30 and 31, 2017

        (276) 791-6125 to SNYDER, "Hey bro what's up need that worK'

        (276) 791-6459 to SNYDER, "Call JR asap ... he needs work ... "

        (276) 780-1244 to SNYDER, "Am I cut of!'

        (276) 780-1244 to SNYDER, "Please answer me and tell me why? I need worK'

        Based on my training and experience, and my knowledge of this investigation, I believe

 that the user of telephone number (276) 791-6125 advised Zachary SNYDER that he needed

 methamphetamine ("need that worK'). I believe that the user of telephone number (276) 791-

 6459 told SNYDER to call John Ratcliff ("JR") to supply him with methamphetamine ("he needs

 worK'). I believe that the user of telephone number (276) 780-1244 asked SNYDER why he had



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 been cut off from the methamphetamine that SNYDER has previously supplied him. I believe

 that the user of telephone number (276) 780-1244 told SNYDER that he needed

 methamphetamine to sell ("/need work").

         On August 4, 2017, Officer Matt Quillen with the Bristol, Virginia Police Department

 (BVPD) was operating stationary radar (speed calculating device) on Interstate 81, northbound.

 The officer noted a white motorcycle enter radar traveling at 118 miles per hour. Quillen pulled

 out from his position and maintained visual contact with the motorcycle. Quillen observed the

 motorcycle exit the Interstate at Exit 5. Quillen activated his emergency equipment (blue lights

 and siren) on Lee Highway near Island Road. The driver looked in the direction of Quillen,

 accelerated and made a left hand turn onto Island Road. The driver refused to stop and turned

 onto Wallace Pike and then onto Goose Creek Road. The motorcycle crashed at the intersection

 of Goose Creek Road and Merrimac Drive. The driver of the motorcycle was identified as

 Donald Zachary SNYDER. Medical personnel were called to the scene and SNYDER was

 transported to Bristol Regional Medical Center.

        Several items were found in the wreckage of the motorcycle and those items included:

 approximately 1Y2 ounces of methamphetamine, Y2 ounce of marijuana, a Ruger Model SR40

 hand gun and other drug related paraphernalia.


        According to the records ofNCIC, Donald Zachary SNYDER was arrested in 2017 for

 Distribution of a Schedule I or II Controlled Substance.


                                   James Skyler SEBASTIAN


        On February 16, 2017, CS-1 was interviewed pursuant to his arrest for Conspiracy to

 Distribute Methamphetamine in the Eastern District of Tennessee. CS-1 stated that on February



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  15, 2017 he arranged for Stephanie Hall and Skyler LNU (believed by your affiant to be Skyler

  SEBASTIAN) to purchase methamphetamine from his California source. CS-1 advised that this

  California source lived near Virginia High School in Bristol, VA. CS-1 advised that the source

  arrived to the purchase location driving a silver Mustang. Your affiant is aware that Shawn

  FARRIS was a methamphetamine source of supply who lived near Virginia High School and

  drove a silver Mustang. CS-1 advised that the deal took place with the purchase of 2 ~ ounces of

  methamphetamine for $2,000.00. The purchase took place at the Shell Station across from the

  Econo Lodge in Bristol, VA.


         On February 6, 2017, Bonnie Melton was arrested at the residence ofRachel Sammons in

  Bristol, TN in possession of methamphetamine, scales and drug paraphernalia. Pursuant to a

  search ofher cellular telephone, it was discovered that telephone number (423) 220-9624 was

  saved in her contacts under "Skyler".


         On March 1, 2017, Elizabeth EATON was interviewed by law enforcement. EATON

  stated that her main suppliers of methamphetamine were Skyler SEBASTIAN and Ernest

  Worley. EATON explained that Worley delivered methamphetamine for SEBASTIAN.

  EATON stated that SEBASTIAN's source of supply for methamphetamine was Zach LNU, aka

  "Stryker" (Donald Zachary SNYDER) who lived off of Interstate 81 at exit 10. EATON advised

  that the night she was arrested she had just provided $400.00 to Worley and was expecting him

  to deliver an amount of methamphetamine. EATON advised that she always "fronted" (gave

  money up front) to Worley. EATON advised that she had purchased~ to one (1) ounce of

  methamphetamine from SEBASTIAN, through Worley at least ten (10) times, for $500.00 per

  ounce. EATON also stated that she had purchased marijuana from SEBASTIAN and Worley,



                                                100

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  usually receiving Yz to one (I) ounce each time. EATON explained that SEBASTIAN had

  introduced Worley to her and described Worley as working for SEBASTIAN.


         On March 6, 2017, a search warrant was applied for and obtained in the Western District

  of Virginia for text message content stored in the accounts of telephone number (276) 469-2980

  (Paul Joseph Whitt). In response to the execution of this search warrant on Verizon Wireless,

  agents received text messages stored in those accounts from February 19 to March 6, 2017. The

  following is an excerpt from the search warrant results:

  February 20, 2017


         Joe Whitt to (423) 220-9624 (Skyler SEBASTIAN),"/ got what you need now"


         SEBASTIAN to Whitt, "Fuck yea man. Im over next to TN High. Can you come here?

         This is a house with zero traffic"


         Whitt to SEBASTIAN, "Where you be bro"


         SEBASTIAN to Whitt, "Im near VA Ave Rn, can we still meet"


         Whitt to SEBASTIAN, "Yeah wanna meet me at Shell on Commonwealth"


         SEBASTIAN to Whitt, "No wheels in on Cypress St"


         Whitt to SEBASTIAN, "Send me address"


         SEBASTIAN to Whitt, "401 Cypress St appt 7''


         SEBASTIAN to Whitt, "Look man some of this isn't my money"


         SEBASTIAN to Whitt, "There jumping down my throat."



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         Whitt to SEBASTIAN, "Cuz I don't see u"


         SEBASTIAN to Whitt, "Coming''


        Based on my training and experience, and my knowledge of this investigation, I believe

  that Joe Whitt advised Skyler SEBASTIAN that Whitt had methamphetamine. I believe that

  SEBASTIAN gave directions to Whitt so that Whitt could deliver the methamphetamine to

  SEBASTIAN. I believe that SEBASTIAN advised Whitt that he had other people's money

  (drug customers') and was anxious to obtain the methamphetamine.


  February 21, 2017


         Joe Whitt to (423) 220-9624 (Skyler SEBASTIAN), "Hey yo"


         SEBASTIAN to Whitt, "Man !fell asleep you doing good?"


         Whitt to SEBASTIAN, "Yes"


         SEBASTIAN to Whitt, "Awesome, Iemme round my cash up. Whole one in a couple

         hours?"


         SEBASTIAN to Whitt, "Save a whole one at least"


         Whitt to SEBASTIAN, "Gotcha covered'


         SEBASTIAN to Whitt, "Im headed that way"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Skyler SEBASTIAN inquired of Joe Whitt if he had methamphetamine ("you doing




                                               102

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  good?"). I believe that Whitt responded that he did, and SEBASTIAN ordered at least one (1)

  ounce of methamphetamine ("whole one at least").


  February 22, 2017


         (423) 220-9624 (Skyler SEBASTIAN) to Joe Whitt, "Ay bro need to see you"


         Whitt to SEBASTIAN, "Hey yo what are you doing I need Roxanne"


         SEBASTIAN to Whitt, "Im trying like hell to find me something for the back ache for

         myself too. Needing to get 4 new tires today. You think I'll get a good price?"


         Whitt to SEBASTIAN, "You fine on that I've got Roxanne coming over"


         SEBASTIAN to Whitt, "On my way dude"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Skyler SEBASTIAN contacted Joe Whitt to obtain methamphetamine. I believe that Whitt

  inquired of SEBASTIAN if he could obtain Roxicet (oxycodone), to which SEBASTIAN replied

  that he was already in the process. I believe that SEBASTIAN proceeded to order four (4)

  ounces of methamphetamine ("4 new tires"), which Whitt agreed to sell to him.


  February 25, 2017


         (423) 220-9624 (Skyler SEBASTIAN) to Joe Whitt, "Hey brother but I need another 2"


         SEBASTIAN to Whitt, "My phone died right as I answered. I'm about halfway to

         getting what I said. I'll say definitely by 9 or 10. Let's hit !Hop or Cracker Barref'


         Whitt to SEBASTIAN, "IC



                                                 103

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          Based on my training and experience, and my knowledge of this investigation, I believe

  that Skyler SEBASTIAN contacted Joe Whitt to obtain two (2) ounces of methamphetamine. I

  believe that Whitt agreed to meet with SEBASTIAN at the IHop or Cracker Barrel, most likely

  at exit 7 (1-81) in Bristol, VA.


  February 28,2017


          (423) 220-9624 (Skyler SEBASTIAN) to Joe Whitt, "Same thing bud just Iemme know

          the plan."


          Based on my training and experience, and my knowledge of this investigation, I believe

  that Skyler SEBASTIAN contacted Joe Whitt to obtain the same amount of methamphetamine.


  March 1, 2017


          Joe Whitt to (423) 220-9624 (Skyler SEBASTIAN), "Checking in on my ppf'


          SEBASTIAN to Whitt, "That's what's up man. I appreciate that man. Hey man imma

          meet your ollady here in a min. You want me to give her that 5 I owe ya?"


          Whitt to SEBASTIAN, "Yeah but I should be with her"


          SEBASTIAN to Whitt, "Oh ok cool. I'm headed to the Pinnacle rn."


          Based on my training and experience, and my knowledge of this investigation, I believe

  that Skyler SEBASTIAN advised Joe Whitt that he was meeting with Whitt's girlfriend

  (believed to be Rachel Sammons at the time) to pay back $5,000.00 in drug proceeds.


          (In January 2018, both Joe Whitt and Rachel Sammons were indicted in a related

  conspiracy to distribute methamphetamine in the Eastern District of Tennessee.)

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         On March 28, 2017, a search warrant was applied for and obtained in the Western

  District of Virginia for text message content stored in the accounts of telephone number (423)

  723-4169 (Terry DALTON). In response to the execution ofthis search warrant on Verizon

  Wireless, agents received text messages stored in those accounts from March 12 to March 28,

  2017. The following is an excerpt from the search warrant results:


  March 17,2017


         DALTON to (423) 220-9624 (Skyler SEBASTIAN), "It's Terry"


         DALTON to SEBASTIAN, "Hey bro what's up with that quarter"


         SEBASTIAN to DALTON, "Hey I can do 250 on ifyou take some bud with it"


         DALTON to SEBASTIAN, "Hey bro I want that 4 sure r u up"


         Based on my training and experience, and my knowledge of this investigation, I believe

 that Terry DALTON contacted Skyler SEBASTIAN and ordered Y4 ounce of methamphetamine

  ("quarter") for $250.00.


  March 20, 2017


         DALTON to (423) 220-9624 (Skyler SEBASTIAN), "Hey bro u back from seeing the

         kids"


         SEBASTIAN to DALTON, "Not yet"


         DALTON to SEBASTIAN, "K didn't know I needed almost 3 zipps"




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        Based on my training and experience, and my knowledge of this investigation, I believe

  that Terry DALTON contacted Skyler SEBASTIAN to obtain three (3) ounces of

  methamphetamine ("3 zipps").


  March 21, 2017


        DALTON to (423) 220-9624 (Skyler SEBASTIAN), "U back non"


        SEBASTIAN to DALTON, "I ain't left yet brother. I got some though"


        DALTON to SEBASTIAN, "When can I get some"


        SEBASTIAN to DALTON, "When ever but!'


        DALTON to SEBASTIAN," ... I'll b by 2 hollar at ya shortly I'm making a few plays n

        then I'll b by I ended up getting a half about 12 or 1 this morning n then u text me ab the

        time I was getting home I told Summer that it figured I payed a lil more just 2 get

        something so I could make some n if I would ve waited I could've gotten it from u 4

        cheaper"


        SEBASTIAN to DALTON, "Lol that's how it goes ain't it lol just gimme a shout"


        Based on my training and experience, and my knowledge of this investigation, I believe

  that Terry DALTON contacted Skyler SEBASTIAN to obtain methamphetamine. I believe that

  DALTON told SEBASTIAN that he had previously purchased methamphetamine from another

  person to make some money.


  March 22,2017




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         Terry DALTON to (423) 220-9624 (Skyler SEBASTIAN), "Hey bro would u b interested

         in a 38 like mine"


         DALTON to SEBASTIAN, "Got someone trying 2 trade me one idk if u would b or not"


         SEBASTIAN to DALTON, "Yea !would'


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Terry DALTON contacted Skyler SEBASTIAN to ascertain if SEBASTIAN would like a

  .38 caliber pistol in trade for methamphetamine.


         On March 28, 2017, a Confidential Source (CS) working with the Washington County,

  Virginia Sheriff's Office (WCSO) and Virginia State Police (VSP) contacted Detective Noah

  Hom and advised that he could purchase methamphetamine from Amy Mann (aka Amy

  McFarlane). The CS advised that Mann had contacted him and advised that she had plenty of

  methamphetamine. A deal was set up for the CS to purchase 3.5 grams of methamphetamine

  from Mann for $200.00. SA Billy Keene acted in an undercover capacity and agreed to drive the

  CS. Before the deal could take place Mann contacted the CS and advised that she would not be

  able to come, but stated that she was sending "Skyler" to· deliver the methamphetamine. The CS

  identified James Skyler SEBASTIAN from a Facebook photo. It was decided that the CS and

  Keene would meet SEBASTIAN at the Dollar Tree located at Exit 7 in Bristol, Virginia. The CS

  and Keene arrived at the Dollar Tree and SEBASTIAN arrived a short time later. The CS exited

  the UC vehicle and got into the vehicle driven by SEBASTIAN. The deal took place with the

  CS giving SEBASTIAN the $200.00 and in return receiving the methamphetamine from

  SEBASTIAN. Once the deal was complete the CS exited the vehicle, got back into the UC

  vehicle and the CS and Keene traveled to a staging location. Once at the staging location


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  Detective Noah Hom took possession of the methamphetamine for safekeeping. During a

  debrief with the CS he advised that during the deal SEBASTIAN had shown him a black back

  pack that was full of marijuana in one pocket and methamphetamine in another pocket.


         On June 1, 2017, CS-3 was interviewed by law enforcement. CS-3 stated that she had

  obtained methamphetamine from Skyler SEBASTIAN for a two (2) month period. CS-3 also

  advised that SEBASTIAN and Larry Levi BENNETT were friends and business partners in the

  distribution of methamphetamine. CS-3 advised that Shawn FARRIS was a source of

  methamphetamine for SEBASTIAN and BENNETT. CS-3 further advised that SEBASTIAN

  had a second source for methamphetamine named "Georgia" who lived on State Street in

  Bristol. CS-3 also told law enforcement that her role in helping SEBASTIAN and BENNETT

  was she would meet with Shawn FARRIS near his house (600 Garden Lane Bristol, VA) and

  pick up ounce quantities of methamphetamine. CS-3 would then provide the methamphetamine

  to BENNETT and SEBASTIAN. Once the methamphetamine was sold, CS-3 took the payment

  for the methamphetamine back to FARRIS.


         On June 1, 2017, a Confidential Source (CS) working with the Washington County,

  Virginia Sheriff's office met with SEBASTIAN at his residence located at 21071 Black Smith

  Trail. The CS was advised by SEBASTIAN that he had just sold his last bit of

  methamphetamine, but he would have more later in the day.


         On June 2, 2017, members ofthe United States Marshal's Service and the Washington

  County, Virginia Sheriff's Office served a search warrant at 21071 Black Smith Trail (residence

  of Skyler SEBASTIAN). The search warrant was for the person of Kevin Carter, a person

  wanted by the USMS and WCSO. During the service of the search warrant, Carter was located.



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  Officers observed in plain view, items associated with the distribution of methamphetamine and

  could smell what was identified as the odor of marijuana. The house was cleared and secured by

  the WCSO and the WCSO obtained an additional search warrant to search the residence for

  illegal narcot~cs. The search warrant was granted. During the service of the search warrant

  several narcotics and narcotics related items were located including a large quantity of

  methamphetamine and marijuana.


         On June 14, 2017, Amy Mann was arrested in possession of methamphetamine and a

  handgun. A search of her cellular telephone revealed the following text messages with telephone

  number (276) 285-4376, saved under "Skyler":


  April19, 2017


         Mann to SEBASTIAN, "Ok these people jus to slow can I send Terry by to get half ofa

         game for me it for Bill and have to get it packages for him"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Amy Mann contacted Skyler SEBASTIAN and inquired if she could send Terry DALTON

  over to pick up Y2 of 1/8 ounce of methamphetamine ("half ofa game") from SEBASTIAN.


  April21, 2017


         Mann to SEBASTIAN, "Hey u up??"


         SEBASTIAN to Mann, "Yea and I need a favor please"


         Mann to SEBASTIAN, "Sure what is it"


         SEBASTIAN to Mann, "Need to use your credit card to pay a bill. I'll give you cash"


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         Mann to SEBASTIAN, "Ok sure and I might need a big one from u again love ya /of'


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Skyler SEBASTIAN inquired of Amy Mann if she would pay a bill for him. I believe that

  Mann agreed to and ordered one (1) ounce of methamphetamine ("a big one") from

  SEBASTIAN.


  April 22, 2017


         Mann to SEBASTIAN, "Need to bring ya money and get some more ... "


         SEBASTIAN to Mann, "!just woke up come on over when your ready"


  (Later same day)


         Mann to SEBASTIAN, "Hey have someone who needs a quarter so do u have that and

         how much??"


         SEBASTIAN to Mann, "I'm out right now"


         Mann to SEBASTIAN, "Ok u be good in a few cause also have someone need wholes"


         SEBASTIAN to Mann, "I hope so"


         Mann to SEBASTIAN, "How much quarter"


         SEBASTIAN to Mann, "280"


         Mann to SEBASTIAN, "Ok be on my way ... "


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Amy Mann contacted Skyler SEBASTIAN to deliver drug proceeds and obtain additional

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  methamphetamine. I believe that later in the day, Mann ordered Y4 ounce of methamphetamine

  from SEBASTIAN for $280.00, and advised SEBASTIAN that once he had more, she had a

  customer who wanted ounces of methamphetamine ("someone need wholes").


  April 23, 2017


         Mann to SEBASTIAN, "Hey Hun need to come by for couple of things but one is need

         another quarter ... "


         SEBASTIAN to Mann, "I'll be just a couple hours gotta take a lil trip"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Amy Mann ordered another Y4 ounce of methamphetamine from Skyler SEBASTIAN, who

  advised her that he had to go pick up.


  April26, 2017


         Mann to SEBASTIAN, "Hey is it okfor me to come by and see u"


         SEBASTIAN to Mann, "Yea of course, I'm really busy though so well have to be sort of

        ' quick'' ·


         Mann to SEBASTIAN, "All well I will wait like 30 before I come I need o pay and get

         some and wanted to talk a min"


         SEBASTIAN to Mann, "Ok your good now"


  (Later that same day)


         Mann to SEBASTIAN, "What did u say owe for 5"



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         Mann to SEBASTIAN, "I thought u said 220 but need to know before sell this one"


         SEBASTIAN to Mann, "Yea sure"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Amy Mann arranged to meet with Skyler SEBASTIAN to pay him drug proceeds and obtain

  additional methamphetamine. I believe that Mann and SEBASTIAN agreed that she owed

  $220.00 for five (5) grams of methamphetamine.


  April27, 2017


         SEBASTIAN to Mann, "Amy I really need your help"


         Mann to SEBASTIAN, "What ya neetf'


         SEBASTIAN to Mann, "!just woke up and my shits gone"


         Mann to SEBASTIAN, "Like your stuff money stuff in house"


         SEBASTIAN to Mann, "Everything"


         Mann to SEBASTIAN, "Hey I think it not Amber behind it was Mikey maybe"


        Mann to SEBASTIAN, "This is her right?"


         Mann to SEBASTIAN, "She friends w Thorpe and Tonni??"


         SEBASTIAN to Mann, "Yea"


         Mann to SEBASTIAN, "She friends w Heather Ashley so I hitting her up now"




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         Mann to Brandon Thorpe, "Amber Rose stole about 8, 000 from Skyler today so    if u can
         help locate her before she spends all his money he will make sure u taken care of'


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Skyler SEBASTIAN contacted Amy Mann to advise her that he had been robbed of

  $8,000.00 in drug proceeds. I believe that Mann contacted several drug associates, including

  Heather Ashley DAVIS and Brandon Thorpe (subsequently indicted in the Eastern District of

  Tennessee in a related conspiracy) to try and fmd the money.


  April29, 2017


         Mann to SEBASTIAN, "Hey Hun u home"


         SEBASTIAN to Mann, "Yes mam"


         Mann to SEBASTIAN, "I coming to see u shortly. Ring u more money and get and give

         ya good news"


         SEBASTIAN to Mann, "Ok then u ok''


         Mann to SEBASTIAN, "Please tell me u have pain?"


         SEBASTIAN to Mann, "I do"


         Mann to SEBASTIAN, "Soon as Terry brings my money I coming out there to see ya and

         have some good news for u"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Amy Mann contacted Skyler SEBASTIAN to pay him drug proceeds and obtain additional




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  methamphetamine ("Ring u more money and get"). I believe that SEBASTIAN advised Mann

  that he had pain pills for her.


  April 30, 2017


          Mann to SEBASTIAN, "Hey have someone needing a lot could use it to"


          SEBASTIAN to Mann, "I'm going to get right now"


          Mann to SEBASTIAN, "Call me before get I can add a lot ofmoney to it"


          Mann to SEBASTIAN, "Or can ride back over w me I not dealing in that large without

          someone w"


          Mann to SEBASTIAN, "It ok where those burgers are half or quarter pound I will have

          him come her to [IX them so I should be ok''


          Based on my training and experience, and my knowledge of this investigation, I believe

  that Amy Mann contacted Skyler SEBASTIAN to advise him that she had a customer who

  wanted a large amount of methamphetamine ("someone needing a lot"). I believe that

  SEBASTIAN advised Mann that he was going to pick methamphetamine up from his source, and

  Mann offered to provide a lot of additional money. I believe that Mann advised SEBASTIAN

  that her customer was   ordering~   or V4 pound of methamphetamine ("burgers are half or quarter

  pounrf').


  May 1,2017


          Mann to SEBASTIAN, "I coming to u first so not taking two vehicles to drop off how

          many 30's u want going to have him meet me"


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         Mann to Todd MULLINS, "Could u please find me and Sky some pain"


         MULLINS to Mann, "Yes"


         Mann to SEBASTIAN, "Hey bro Eric just showed up looking for u so what u want me to

         tell him to do he said he had some $$$$for u let me know what to do bro"


         SEBASTIAN to Mann, "Get the money and give a halfo"


         (276) 285-1884 (Jim) to Mann, "Did u ever do any good'


         Mann to Jim, "Yea had whole getting another now"


         Mann to Jim, "Still at Skyer 's"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Amy Mann inquired of Skyler SEBASTIAN how many 30 mg oxycodone pills ("30's") he

  wanted. I believe that Mann then contacted Todd MULLINS to ask if he could obtain the pills. I

  believe that Mann then collected drug proceeds from "Eric" and provided him with   ~   ounce of

  methamphetamine at the direction of SEBASTIAN. I believe that "Jim" inquired of Mann if she

  ever obtained methamphetamine, and she replied that she had already sold one (1) ounce and was

  picking up another at SEBASTIAN's.


         On June 15,2017, Amy Mann was interviewed by law enforcement after having been

  advised of her Miranda Rights. During the interview Mann advised that she had known Skyler

  SEBASTIAN since December 2016. Mann advised that when she first met him, he sold one (1)

  ounce of methamphetamine every couple of days. She further advised that in February or March

  SEBASTIAN began selling one (1) pound of methamphetamine per day. She advised that

  SEBASTIAN had never sold her methamphetamine, but she had introduced Bill Taylor, Timothy

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  Barry (Timothy Barry Hall, aka "Mohaw!C') and Brandon Malone to SEBASTIAN so he could

  sell crystal methamphetamine to them.


         On July 20, 2017, CS-4 was interviewed pursuant to a proffer agreement entered into

  with the U.S. Attorney's Office in Abingdon, VA. CS-4 stated that Zach SNYDER (Donald

  Zachary SNYDER) was a debt collector and enforcer for Shawn FARRIS. CS-4 advised that

  Skyler SEBASTIAN was supplied methamphetamine by SNYDER. CS-4 further told law

  enforcement that SEBASTIAN obtained one (1) pound of methamphetamine from Craig Estep in

  April2017.


         According to the records ofNCIC, James Skyler SEBASTIAN was convicted of

  Possession for Resale of a Schedule I or II Controlled Substance and Possession of a Firearm

  while in Possession of Drugs in 2018.


                                      Larry Levi BENNETT


         On December 8, 2016, a Confidential Source (CS) working with the Washington County,

  Virginia Sheriffs Office (WCSO) was utilized to conduct a controlled purchase of

  methamphetamine from Levi BENNETT.

         The CS met with officers from the WCSO at a pre-determined staging area. The CS

  advised officers that he/she could purchase two (2) "8 balls" (1/8 ounce each) of

  methamphetamine from Levi BENNETT. The CS advised that the deal would take place at the

  home of Michelle Boardwine (known to officers as 145 S. Monte Vista Drive Glade Spring,

  VA). The CS and CS' vehicle were searched and no illegal items or substances were found in

  either place. The CS was given $400.00 of pre-recorded United States currency for the

  transaction and an audio recorder was placed on the person of the CS.


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         The CS was followed to the above address by officers and was observed going into the

  home. Once inside the deal with BENNETT took place. The CS gave BENNETT the $400.00

  and in return received two (2) small Ziploc style bags each containing a crystal substance.

  BENNETT explained to the CS that the weight of the methamphetamine would be a little short,

  but he would make it up on the next purchase. The CS left the residence and was followed by

  officers back to a staging location. The crystal methamphetamine was turned over to officers for

  safekeeping and lab analysis. The CS and vehicle were searched and no illegal substances or

  items were found in either place.


         On January 12, 2017, CS-11 was interviewed by law enforcement. CS-11 stated that

  Levi BENNETT was a methamphetamine distributor and sold approximately a few ounces per

  week. CS-11 stated that BENNETT's cellular telephone number was (276) 782-2761.


         On January 18, 2017, CS-12 was interviewed by law enforcement. CS-12 stated that just

  prior to his arrest, Brandon WHITT supplied her and Levi BENNETT with methamphetamine.

  CS-12 advised that she and BENNETT traveled together and met WHITT. CS-12 stated that

  each of them bought an "8 ball" (1/8 ounce). CS-12 paid $200.00 for her methamphetamine, but

  was unsure how.much BENNETT paid.


         On February 2, 2017, a traffic stop was conducted in Kingsport, TN on a vehicle in which

  David ESTEP, Jr. and Levi BENNETT were passengers. While the vehicle was coming to a

  stop, ESTEP threw a bag of crystal methamphetamine from the passenger window. Seized from

  the passenger side floor board was additional crystal methamphetamine. Also seized from the

  vehicle were scales, plastic baggies and drug paraphernalia. ESTEP was arrested for possession

  with intent to distribute crystal methamphetamine.



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          On February 3, 20I7, David Estep, Jr. (subsequently indicted in the Eastern District of

  Tennessee in a related conspiracy) was interviewed by law enforcement. Estep stated that at one

  time he purchased methamphetamine from Bill Taylor. Estep stated that on one (I) occasion, he

  and "Levi" met Taylor at the Walmart parking lot at exit 7. Estep stated that he purchased 2'h

  ounces and "Levi" purchased I 'h ounces of methamphetamine from Taylor.


          On February 24, 20I7, the Washington County, Virginia Sheriff's Office (WCSO)

  arrested Levi BENNETT for an outstanding warrant from Smyth County, Virginia. During a

  search of the vehicle in which BENNETT was a passenger, a multi-colored grinder was found.

  Inside the grinder, a crystal residue was found that was field tested utilizing a field test kit that

  has been proven accurate and reliable to law enforcement. The substance tested positive for

  methamphetamine. BENNETT admitted ownership of the methamphetamine.


          On April4, 20I7, CS-I2 was arrested by the Smyth County, Virginia Sheriff's Office in

  Chilhowie, VA in possession of approximately sixteen (I6) grams of methamphetamine.

  Following her arrest, CS-12 provided information to law enforcement regarding her knowledge

  of drug trafficking in Northeast, TN and Southwest, VA. CS-I2 stated that Levi BENNETT was

  a methamphetamine distributor. CS-12 advised that BENNETT was distributing up to Y4 pound

  of methamphetamine at a time for the "Farm" (property owned by Lawrence Powell Earhart) in

  Bristol, TN. CS-I2 showed the arresting Deputy a picture of BENNETT holding a piece of

  crystal methamphetamine that appeared to be six (6) inches long and two (2)       inche~   wide.


          On May I7, 20 I7, CS-13 was interviewed by law enforcement following his arrest for

  possession with intent to distribute methamphetamine. CS-13 advised that he was a

  methamphetamine user, who supplied his habit by selling methamphetamine. CS-13 advised that



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 the seven (7) grams of methamphetamine that he had in his possession at the time of his arrest

 belonged to "Dee Dee" (Crystal Pharis - subsequently indicted in the Eastern District of

 Tennessee in a related conspiracy). CS-13 advised that "Dee Dee" was dating "Levi"

 (BENNETT). CS-13 advised that he had known "Dee Dee" and "Levi" for a few weeks and

 since meeting them, he had obtained methamphetamine from them several times. CS-13 advised

 that he had sold approximately three (3) ounces of methamphetamine for "Dee Dee" and "Levi"

 during the time he had known them.

        CS-13 further advised that at some point in the last couple of days, leading to this arrest,

 he received a text message from "Dee Dee" and "Levi" advising that they had sixteen (16)

 ounces of methamphetamine.


        On June 9, 2017, a search warrant was applied for and obtained in the Eastern District of

 Tennessee for text message content stored in the accounts of telephone number (423) 278-4353

 (Karen Lark). In response to the execution of this search warrant on Verizon Wireless, agents

 received text messages stored in those accounts from May 21 to June 9, 2017. The following is

 an excerpt from the search warrant results:

 May 21,2017


        Karen Lark to (423) 480-1254 ("DeeDee and Levi"), "Hey r u coming by? Or do I need

        2 walk that way?"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Karen Lark contacted Crystal Pharis and Levi BENNETT in an attempt to obtain

 methamphetamine. (In July 2017, John Ratcliffwas arrested in possession ofmethamphetamine




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 and a gun. Pursuant to a search of his cellular telephone, it was found that telephone number

 (423) 480-1254 was saved under "DeeDee and Levi''.)


 May24,2017


        Karen Lark to (423) 480-1254 ("DeeDee and Levi"), "Hey I've only got this phone for

        now was Goddamn arrested yesterday and left my phone n chics car til 2moro need u 2

        call and let me know when ur bringin that 2 me and he said 4 now he just needs the cash"


        Lark to "DeeDee and Levi", "Have u checked w    .r

        Lark to "DeeDee and Levi'', "Working on shit now? Can u all please come on and get

        me outta here asap"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Karen Lark contacted Crystal Pharis and Levi BENNETT to obtain methamphetamine and

 cash for an unknown person. I believe that Lark inquired of Pharis and BENNETT if they had

 checked with Jason Clements ("J'') regarding his methamphetamine needs.


        On June 1, 2017, CS-3 was interviewed by law enforcement. CS-3 identified Shawn

 FARRIS from a photo that was shown to her. CS-3 advised that FARRIS came to her house the

 day that Levi BENNETT was arrested. CS-3 advised that FARRIS beat up BENNETT with a

 Mag flashlight. CS-3 advised that FARRIS was mad because BENNETT owed FARRIS

 $28,000.00 for seven (7) pounds of methamphetamine. CS-3 advised that FARRIS was also

 upset over a stolen car that had been purchased by John Ratcliff, and given to her. CS-3 advised

 that the vehicle was supposed to be used to pay some of the $28,000.00 debt.




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        CS-3 further advised that she had obtained three (3) to four (4) ounces of

 methamphetamine from FARRIS a couple of times. CS-3 advised that FARRIS fronted the

 methamphetamine to her and she would have to pay him back $700.00 per ounce once it was

 sold. CS-3 advised that she was the go between and did not make anything off of the sales. She

 did not know where FARRIS lived, other that somewhere near Walgreen's.


        CS-3 stated that she obtained one (1) to two (2) ounces of methamphetamine from

 FARRIS every day since she got out of jail earlier this year. CS-3 stated again that she was

 given the methamphetamine by FARRIS and would have to pay him after it was sold. CS-3 had

 to pay him back $700.00 per ounce. CS-3 stated that she gave all of the methamphetamine she

 obtained from FARRIS to Levi BENNETT. CS-3 stated that BENNETT sold the

 methamphetamine, but CS-3 kept a small amount for her personal use.


        CS-3 stated that she had heard from BENNETT's friends that FARRIS had fronted him

 seven (7) pounds of methamphetamine and that is why BENNETT owed FARRIS $28,000.00.


        On June 15, 2017, Amy Mann was interviewed by law enforcement after having been

 advised of her Miranda Rights. Mann stated that she had known Levi BENNETT for about a

 month. She advised that BENNETT had never sold her methamphetamine, but they had used

 methamphetamine together. She advised that "Dee Dee" (Crystal Pharis) was BENNETT's

 girlfriend and she helped BENNETT obtain crystal methamphetamine.


        On June 29 2017, a search warrant was applied for and obtained in the Western District

 of Virginia for text message content stored in the accounts of telephone number (276) 591-7287

 (Shawn FARRIS). In response to the execution ofthis search warrant on Verizon Wireless,




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 agents received text messages stored in those accounts from June 20 to June 29, 2017. The

 following is an excerpt from the search warrant results:

 June 26,2017


        (706) 748-8943 (Saleemah ROBERSON) to (276) 591-7287 (Shawn FARRIS), "Hey this

        is Saleemah look Levi went to jail and I had gave him the majority of it and nobody was

        trying to pay u brought what I had to Ga and Rico robbed me "


        FARRIS to ROBERSON, "Why couldn't you of told me this sooner and why has JR been

        lying saying he didn't no what happens Levi only got busted with a halfdo you no where

        the rest is at"


        ROBERSON to FARRIS, "No Dee was suppose to round it up but then she went to jail

        and JR really hadn't spoken to me even now I left my phone at truck stop in Alabama"


        FARRIS to ROBERSON, "Do you no were JR mite have it"


        ROBERSON to FARRIS, "Haven't been in touch with anyone I was terrified 49000 it's

        what Levi had to give me !just got all my google contacts I'm going tosend us number to

        someone who said they know everyone who had money for Levi"


        FARRIS to ROBERSON, "No I didn't think he had it because he would have paid you"


        FARRIS to ROBERSON, "Because JR acted like it was no big deal and never looked for

        it so I accused him ofstilling it from me "


        FARRIS to ROBERSON, "!thank he has it"


        FARRIS to ROBERSON, "But he says he didn't"


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       ROBERSON to FARRIS, "J have to get back into my Face book to get the number Rico

       stole my other phone and had been contacting people acting like its me so my mother shut

       my Facebook down"


 Later in the same conversation:


       FARRIS to ROBERSON, "It's alright !just don't know whyJR acts like it's nothing"


       FARRIS to ROBERSON, "He hasn't even faced me sence then"


       ROBERSON to FARRIS, "J don't either I damn sure didn't I was terrified and hrs knew

       Dee was suppose to round it up he .could have helped"


       ROBERSON to FARRIS, "J was scared to attempt communication with my family JR

       could've helped"


       FARRIS to ROBERSON, "Dee Dee couldn't find anything because I was at her house

       the next morning after Levi got arrested and she was looking all over for it she didn 't no

       it was mine she was trying to help me get a car back"


       ROBERSON to FARRIS, "That's because he had gave it all out the person that hit me

       on Facebook said he knows everyone that owes Levi money"


       ROBERSON to FARRIS, "I'm going to send u a pick of the message shoo you can see

       who itis"


       FARRIS to ROBERSON, "Ok


       FARRIS to ROBERSON, "Do you no Levi first and last name"




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        ROBERSON to FARRIS, "I know the last name is Bennett"


        Based on my training and experience and knowledge of this investigation, I believe that

 Saleemah ROBERSON utilized the text messaging service of her cellular telephone to contact

 Shawn FARRIS via the text messaging service of his cellular telephone. I believe the

 conversation centered on ROBERSON "fronting" Levi BENNETT methamphetamine that

 ROBERSON had obtained from FARRIS. I believe that BENNETT did not hold up his end if

 the deal and went to jail. I believe that ROBERSON was scared of FARRIS and the

 repercussions of losing the methamphetamine so ROBERSON left the area. I believe that the

 total loss ofmethamphetamine/money for FARRIS was $49,000.00.


        On July 26, 2017, John Ratcliff was interviewed pursuant to his arrest for possession of

 1.3 kilograms of crystal methamphetamine and a gun. Ratcliff stated that when Levi BENNETT

 was arrested, the methamphetamine that he had in his possession came from Shawn FARRIS.


        On October 30, 2017, CS-3 was again interviewed by law enforcement. CS-3 stated that

 Shawn FARRIS was the person who was currently bringing all the methamphetamine to the area.

 CS-3 advised that Larry Addair used to work for FARRIS before his murder. CS-3 stated that

 she had known FARRIS for approximately one (1) year. CS-3 stated that she obtained

 methamphetamine from FARRIS, about one (1) ounce per week for the last six ( 6) months,

 approximately twenty four (24) ounces total. CS-3 advised that she really didn't sell the

 methamphetamine, that Levi BENNETT did most of the selling.


        CS-3 advised that a few days after Levi BENNETT last went to jail in Virginia, FARRIS

 came to her residence claiming that BENNETT owed him $40,000.00 for seven (7) pounds of

 methamphetamine. CS-3 advised that she did not know anything about that, she had never seen


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 BENNETT with seven (7) pounds of methamphetamine, the most she had ever seen BENNETT

 with was two (2) pounds. CS-3 advised that the seven (7) pounds of methamphetamine was

 supposedly "fronted" to ROBERSON who fronted the methamphetamine to BENNETT for

 resale.


           On January 19,2018, Christopher SMILEY was interviewed by law enforcement.

 SMILEY stated that he had obtained methamphetamine from "Levi". Based on your affiant's

 knowledge of this investigation, your affiant believes that "Levi" is Levi BENNETT.


           On January 24, 2018, CS-14 was interviewed pursuant to a proffer agreement entered

 into with the U.S. Attorney's Office in the Eastern District of Tennessee. CS-14 stated that Levi

 BENNETT and "Dee Dee" (known to agents as Crystal Pharis) stayed at his residence. CS-14

 stated that he had purchased methamphetamine from BENNETT and Pharis. CS-14 believed

 that BENNETT and Pharis were getting methamphetamine from "J.R." (known to agents as John

 Ratcliff).


           According to the records ofNCIC, Larry Levi BENNETT was convicted of

 Manufacturing Methamphetamine in 2013. In 2016, BENNETT was convicted of Violation of

 Probation. In 2017, BENNETT was charged with Possession of a Schedule I or II Controlled

 Substance.


                                      Terry Melvin DALTON


           On March 23, 2017, a controlled purchase of one (1) ounce of methamphetamine and

 heroin was made from Terry DALTON in Abingdon, VA for $1,150.00.




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        On March 28, 2017, a search warrant was applied for and obtained in the Western

 District of Virginia for text message content stored in the accounts of telephone number (423)

 723-4169 (Terry DALTON). In response to the execution of this search warrant on Verizon

 Wireless, agents received text messages stored in those accounts from March 12 to March 28,

 2017. The following is an excerpt from the search warrant results:


 March 12,2017


        (276) 591-0170 to (423)723-4169 (Terry DALTON), "Give me a call please it's

        important I have some money for you"


        (276) 591-0170 to DALTON, "Need some stuff ifyou can even do that for me       if not that I
        don't have any money for you ... lof'


        (276) 591-0170 to DALTON, "Plz lmkwhat's up need to know when you plan on doing

        anything or ifyou're even going to be ... I need a halfgame. Just lmk what's up"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that the user oftelephone number (276) 591-0170 advised Terry DALTON on his cellular

 telephone that he or she had drug proceeds to pay to DALTON and wanted an additional 1/16

 ounce of methamphetamine. I know that drug distributors use the terms "8 half', "ballgame" or

 "game" to refer to 1/8 ounce of a substance, usually methamphetamine or cocaine. Therefore,

 "half a game" would be a reference to 1/16 ounce.


 March 13, 2017


        (423) 797-0657 to (423) 723-4169 (Terry DALTON), "!need 2 wholes"


        DALTON to (423) 797-0657, "Jdk if they got it GA. Just left making a trip"

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        (276) 447-0492 to DALTON, "Hey it's Denver, can you do haifa game buddy?"


        DALTON to (276) 447-0492, "Yeah"


        DALTON to (276) 447-0492, "I'm n Blountville so it'll take me a min"


        (276) 447-0492 to DALTON, "That's cool. Can you take me to pick up the money?"


        DALTON to (276) 447-0492, "I'm here"


        (423) 797-0657 to DALTON, "I have a ride I can use I'm supposed to collect money

        mostly yours I also have people wanting ifyou have anything I could use the help make

        us both a little"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that the user of telephone number (423) 797-0657 ordered two (2) ounces of methamphetamine

 ("2 wholes") from Terry DALTON on his cellular telephone. I believe that DALTON advised

 the user of telephone number (423) 797-0657 that he did not know if his supplier had the amount

 of methamphetamine requested and that his supplier had just left making a trip to pick up more

 methamphetamine. I believe that DALTON agreed to sell1/16 ounce of methamphetamine

 ("half a game") to the user of telephone number (276) 447-0492. I believe that the user of (423)

 797-0657 advised DALTON that he or she needed to collect drug proceeds that belonged to

 DALTON, and inquired if DALTON had additional methamphetamine so he/she could sell the

 methamphetamine to make money.


 March 27,2017


        (423) 408-8785 to (423) 723-4169 (Terry DALTON), "I need a halfg"



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        (423) 408-8785 to DALTON, "You good'


        (423) 408-8785 to DALTON, "I know somebody lookingfor Tek to"


        DALTON to (423) 408-8785, "I am but it's my wife's b day so I'm not doing anything

        until later"


        (423) 963-4716 to DALTON, "You at home baby"


        DALTON to (423) 963-4716, "K I'll b by there no I'm at exit 7''


        (423) 963-4716 to DALTON, "Ok baby Ifiguredyou were home with the wife"


        DALTON to (423) 963-4716, "No I had 2 pick up"


        (423) 963-4716 to DALTON, "Ok baby well I'm about to need more"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that the user of telephone number (423) 408-8785 contacted Terry DALTON and inquired about

 obtaining Y2 gram of methamphetamine and a Subutex ("Tek'') from DALTON. I believe that

 DALTON told the user oftelephone number (423) 408-8785 that he could make the sale, but it

 would be later. I believe the user of telephone number (423) 963-4716 advised DALTON that

 he/she was about out of methamphetamine and needed more.


        On April 26, 2017, Terry DALTON sold approximately three (3) ounces of crystal

 methamphetamine for $2,250.00 to three (3) undercover (UC) police officers at 21071

 Blacksmith Trail Bristol, Virginia (residence of Skyler SEBASTIAN). The following text

 messages were exchanged between DALTON and the UC Agents leading up to the transaction:


 April24, 2017

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        Terry DALTON to UCA, "Hey bro u al needing we just got right ... .Imk asap I can bring
        it 2 u"

        UCA to DALTON, "What's number for 5?"

 April25, 2017

        DALTON to UCA, "3750"

        DALTON to UCA, "Gettingb down there isn't it"

        UCA to DALTON, "Sounds good''

 April 26, 2017

        DALTON to UCA, "When u want that bro"

        UCA to DALTON, "Hey man just call me when you can talk''

        UCA to DALTON, "Hey are you wantin to get together on the 3 or what?"

        DALTON to UCA "I'm on the way to get it now can u meet me"

        Based on my training and experience, and my knowledge of this investigation, I believe

 that Terry DALTON and the UC Agent discussed the purchase of five (5) ounces of

 methamphetamine for $3,750.00. I believe that DALTON agreed to sell three (3) ounces of

 methamphetamine to the UC.


        On June 1, 2017, CS-3 was interviewed in Bristol, VA. CS-3 stated that she purchased

 methamphetamine from Shawn FARRIS, Sean MAIDLOW aka "Cali", Terry DALTON,

 Heather Ashley DAVIS, Gary MCFARLANE, Skyler SEBASTIAN and others.


        On July 20, 2017, CS-4 was interviewed pursuant to a proffer agreement entered into

 with the U.S. Attorney's Office in Abingdon, VA. CS-4 stated that "Georgia" was a black

 female who sold methamphetamine for Shawn FARRIS. CS-4 stated that Heather Ashley

 DAVIS, Terry DALTON and others sold methamphetamine for "Georgia".

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        On August 18, 2017, CS-4 was interviewed again pursuant to a proffer agreement entered

 into with the U.S. Attorney's Office in Abingdon, VA. CS-4 stated that Terry DALTON was

 one of the largest methamphetamine distributors in the area. CS-4 stated that the

 methamphetamine sold by DALTON was supplied by Shawn FARRIS.


        On January 19,2018, Christopher SMILEY was interviewed in Bristol, VA. SMILEY

 stated that he was a user of various drugs since 2000. SMILEY stated that he left this area to get

 away from drugs, but returned in February 2017. SMILEY stated that he hung out at the

 residence of Sarah Donahue where he used methamphetamine and met many drug suppliers

 including Terry DALTON, Skyler (SEBASTIAN) and others.


        On January 24, 2018, CS-14 was interviewed pursuant to a proffer agreement entered

 into with the U.S. Attorney's Office in Greeneville, TN. CS-14 stated that he had obtained

 methamphetamine from Terry DALTON.


        On April 7, 2018, CS-28 was interviewed following her arrest in Saltville, VA in

 possession of~ ounce of methamphetamine. CS-28 stated that the previous day, she had

 purchased one (1) ounce of methamphetamine from Terry DALTON in Bristol, VA for $975.00.

 CS-28 stated that she observed at least three (3) ounces of methamphetamine in DALTON's

 possession at the time.


        According to the records ofNCIC, Terry Melvin DALTON was arrested in 2009 for

 Possession of a Schedule Ill Narcotic. In 2017, DALTON was charged with Possession of

 Methamphetamine for Resale and Possession of a Firearm by a Convicted Felon. In 2018,

 DALTON was charged with Possession/Deliver/Sell/Manufacture of Methamphetamine,




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 Maintaining a Dwelling for Controlled Substance and Possession of Unlawful Drug

 Paraphernalia.


                     Heather Ashley DAVIS, aka Heather Ashley HALL


        On December 28,2016, Paul Joseph Whitt was interviewed by law enforcement at the

 Bristol, Virginia Jail. Whitt was advised of his Miranda rights and waived them and advised he

 would speak to law enforcement. Whitt stated that Ashley DAVIS was a major

 methamphetamine distributor in Northeast, Tennessee. Whitt advised that he grew up with

 DAVIS on Meadowview Road in Bristol, TN. Whitt advised that he could make purchases of

 methamphetamine from DAVIS. Whitt advised that DAVIS was supplied methamphetamine by

 a male from Atlanta, Georgia who was extremely flamboyant about his drug transactions. Whitt

 believed that source of supply to DAVIS sold "fed dope" and was protected by the "feds".


        On January 24, 2017, Brandon Runyon was interviewed in Sullivan County, TN.

 Runyon stated that he was a narcotics and gun runner for the Vice Lord street gang in Atlanta,

 Georgia and was a user of heroin. Runyon stated that the reason he was a runner was because he

 owed them money for heroin that he stole. Runyon advised that he had delivered

 methamphetamine, heroin and guns for the gang for approximately two (2) years. Runyon

 advised that the gang would pay him with methamphetamine and heroin. Runyon advised that

 he did not like methamphetamine and would sell the methamphetamine to several people in

 Northeast Tennessee that included Heather DAVIS.


        On February 12, 2017, ATF CS 10272 was interviewed by law enforcement. The CS

 stated that he/she had seen Heather DAVIS give $1,000.00 to Adam Fulbright, who then got a




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 bag of methamphetamine from Gary Miller for her. (Fulbright and Miller were subsequently

 indicted in the Eastern District of Tennessee in a related conspiracy.)


        On February 15, 2017, Timothy Holt was interviewed pursuant to his arrest for

 conspiracy to distribute methamphetamine in the Eastern District of Tennessee. Holt stated that

 at the time of the interview Joe Whitt was dating Heather Ashley DAVIS. Holt stated that

 DAVIS was Whitt's new "plug" (source for drugs). Holt advised that DAVIS was getting her

 methamphetamine from a girl named "Georgia". Holt stated that DAVIS had obtained

 methamphetamine from Jerry Smith and also from Holt a few times.


        On March 8, 2017, CS-2 was interviewed by law enforcement. CS-2 stated that Ashley

 DAVIS was a distributor of methamphetamine for "MamaLisa" (Lisa Weems). CS-2 stated that

 he used to be a bodyguard for DAVIS. CS-2 stated that DAVIS was also supplied

 methamphetamine by "Tennessee" or "Hillbilly".


        On March 23, 2017, CS-27 was interviewed by law enforcement. CS-27 advised that he

 had observed Jacob Armstrong in possession of one piece of crystal methamphetamine that

 weighed 122 grams and $20,000.00. CS-27 stated that Bob Reynolds and Ashley DAVIS robbed

 Armstrong.


        On March 24, 2017, officers from the Bristol, TN Police Department responded to the

 area of Blue Ridge Drive in reference to a domestic disturbance involving a black sedan that was

 leaving the area. Upon their arrival to the area, officers located a black Audi car and conducted a

 traffic stop on the car for making an improper turn.


        Heather Ashley DAVIS was found to be the driver of the vehicle and Brandon Eskridge

 was a passenger in the vehicle. DAVIS advised the officer's that she did not have a driver's

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 license and a check through the Tennessee DMV revealed that DAVIS' license was revoked.

 While speaking to DAVIS and Eskridge officers observed a set of digital scales in plain view

 sitting in the console area under the radio. Another officer observed a syringe cap sitting next to

 the scales. At that time DAVIS and Eskridge where detained and a search of the vehicle was

 conducted. Officers were able to locate a makeup bag in the driver's side floor board. Inside the

 makeup bag a larger plastic bag containing another bag with a large amount of crystal like

 substance consistent with methamphetamine, multiple pills consistent with Oxycodone,

 Clonazepam, Buprenorphine and other drugs. The methamphetamine had an approximate

 weight of thirty three (33) grams. Also, a small amount of green plant material consistent with

 marijuana was found. Additionally, found inside the makeup bag was $716.00 and several

 syringes.


        DAVIS was advised of her Miranda Rights and she advised that she did not know to

 whom the drugs belonged. DAVIS advised that she was unsure how much money she had, but

 thought it was between $500.00 and $600.00. The amount was actually $716 and was in

 increments of 20's, 10's, S's and 1's. DAVIS advised that she had gotten the money by doing

 people's tax returns and being paid under the table.


        Based on the circumstances, DAVIS was arrested by the BTPD on the same date.


        On June 1, 2017, CS-3 was interviewed in Bristol, VA. CS-3 stated that she purchased

 methamphetamine from Shawn FARRIS, Sean MAIDLOW aka "Cali", Terry DALTON,

 Heather Ashley DAVIS, Gary MCFARLANE, Skyler SEBASTIAN and others.


        On July 20, 2017, CS-4 was interviewed pursuant to a proffer agreement entered into

 with the U.S. Attorney's Office in Abingdon, VA. CS-4 stated that "Georgia" was a black


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  female who sold methamphetamine for Shawn FARRIS. CS-4 stated that Heather Ashley

  DAVIS, Terry DALTON and others sold methamphetamine for "Georgia".


         On August 24, 2017, the BTPD was notified by the Tennessee Bureau of Investigation

  that the crystal substance had been tested and was found to be 31.25 grams of methamphetamine


         Following her arrest, a search warrant was obtained for the contents of DAVIS' phone

  (760-320-0035). The following is an excerptoftext messages from the phone:


  March 22, 2017


         DAVIS to (423) 797-0657, "G want hand us shit because we owe her money"


         DAVIS to (423) 797-0657, "I need to make some money"


         DAVIS. to (423) 797-0657, "So I need to bring her money to shit"


         (423) 797-0657 to DAVIS, "Ok. Well come to me"


         (423) 797-0657 to DAVIS, "Then I can talk to you. I have a cheaper and equal option"


         (423) 797-0657 to DAVIS, "You are.fuckedup dude"


         (423) 797-0657 to DAVIS, "I have shit already"


         Based on my training and experience, and knowledge of this investigation, I believe that

  Heather Ashley DAVIS contacted the user of telephone number (423) 797-0657 via the text

  messaging service of their cellular telephones. I believe that DAVIS advised the user of

  telephone number (423) 797-0657 that she could not obtain methamphetamine from "Georgia"

  because she owed her money, ("G want hand us shit because we owe her money"). I believe



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 that the user of telephone number (423) 797-0657 told DAVIS that they could provide her with

 methamphetamine.


 March 23, 2017


        Telephone Number (423) 765-3797 to DAVIS, "Im at Sarahs for a minute.. holler at me"


        (423) 765-3797 to DAVIS, "I got tons hitting me up ...just cant get product ... that's the

        way it goes though lol .. .just wanted to check on you and make sure you are ok .. .I put my

        back out and hour ago ... maybe have to go to VA I have my PC with me     ifyou get time to
        go over grpahics ... be carefUl love ya. "


        DAVIS to (423) 765-3797, "I have plenty"


        DAVIS to. (423) 765-3797, "Or I can get it"


        (423) 765-3797 to DAVIS, "Kk ... same prices? 3 5 & 9"


        DAVIS to (423) 765-3797, "Yes one problem c.o.d. until I get caught up"


        (423) 765-3797 to DAVIS, "I will have to see who will give me money ... we know how

        that goes ... I know I owe_200 ... I will have that either tomorrow or Monday. When my

        money goes in "


        DAVIS to (423) 765-3797, "I'm 4000 in the red"


        Based on my training and experience, and knowledge of this investigation, I believe the

 user oftelephone number (423) 765-3797 contacted Heather Ashley DAVIS via the text

 messaging service of their cellular telephones. I believe that the user of telephone number (423)

 765-3797 told DAVIS that she had a lot of people who were looking for methamphetamine and

                                                     135

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 she could not find any. I believe that DAVIS advised the user oftelephone number (423) 765-

 3797 that she had methamphetamine, but she would have to have the money at the time of the

 sale. I believe that DAVIS told the user oftelephone number (423) 765-3797 that she owed her

 source of supply for methamphetamine $4,000.00 ("I'm 4000 in the red").


        On Aprill2, 2017, CS-33 was interviewed by law enforcement. CS-33 stated that he had

 seen Ashley DAVIS with pickup loads of methamphetamine in totes that had to be lifted with a

 pallet jack. CS-33 stated that he had seen this at a garage near Wallace School.


        On October 30, 2017, CS-3 was interviewed by law enforcement. CS-3 advised that

 "Georgia" was a white female who lived near Bristol Motor Speedway who brings

 methamphetamine into the area. CS-3 advised that Heather Ashley DAVIS was a distributor of

 methamphetamine for "Georgia".


        On January 24, 2018, CS-14 was interviewed pursuant to a proffer agreement entered

 into with the U.S. Attorney's Office in Greeneville, lN. CS-14 stated that he had known

 Heather Ashley DAVIS, aka HALL, since high school. CS-14 stated that DAVIS had a

 connection for methamphetamine, possibly an ounce or more from a source in Virginia. CS-14

 advised that DAVIS used and sold methamphetamine, and CS-14 had obtained

 methamphetamine directly from her.


        On January 22, 2018, Rachael Sammons was interviewed pursuant to her arrest for

 conspiracy to distribute methamphetamine in the Eastern District of Tennessee. Sammons stated

 that she had known Heather Ashley DAVIS since high school, and didn't really want to talk

 about her. Sammons stated that knew that DAVIS sold methamphetamine and they had dealt




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 with each other over the years. Sammons stated that C.J. Mitchell obtained his

 methamphetamine from DAVIS. (Mitchell was indicted in the same conspiracy as Sammons.)


        According to the records ofNCIC, Heather Ashley DAVIS was charged with Possession

 of a Schedule Ill and IV Controlled Substance. In 2010, DAVIS was convicted of Possession

 with Intent to Manufacture Schedule I or II Controlled Substance. In 2011 and again in 2012,

 DAVIS was charged with Promotion of Methamphetamine and Conspiracy to Promote

 Methamphetamine Manufacturing, with at least one (1) conviction. In 2014, DAVIS was

 convicted ofViolation of Probation. In 2016, DAVIS was arrested for Possession of

 Methamphetamine for Resale.


                       Brianna Nicole WOODBY, aka Brianna NICKLES


         On January 22, 2017, officers with the Bristol, Tennessee Police Department (BTPD)

 encountered Brianna Nicole WOODBY. Officers had observed the vehicle, a black Nissan

 Pathfinder, parked at the Speedway Inn, a known location were illegal narcotics are bought and

 sold in the Bristol, TN area. Upon approaching the vehicle, Brianna WOODBY was found in the

 driver's seat of the vehicle.


         While conducting police checks regarding WOODBY, a K-9 from the BTPD conducted a

 free air sniff around WOODBY's vehicle. The K -9 alerted to the presence of narcotics around

 the front driver's side door. WOODBY was then asked if she knew why the K-9 would alert to

 the presence of narcotics. During this time the officer observed what appeared to be a small

 Ziploc style bag between the front passenger seat and the center console of the vehicle. The

 officer asked WOODBY what the bag was and she appeared to look around the area and

 eventually pulled the bag from the area of the console. The officer noted that the bag appeared


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  to contain other smaller bags that contained a crystalline like substance. Upon closer inspection

  the larger bag contained six (6) smaller bags, which all contained a crystalline substance.


         The officer had WOODBY step from her vehicle and asked her if she had anything on

  her person. WOODBY retrieved from her bra area, a large sum of United States currency.

  WOODBY initially stated it was $700.00, but later stated it was $750.00. The money was folded

  into $100.00 increments.


         A search warrant was applied for and obtained for the contents of WOODBY'S cellular

  telephone (405-472-0057). The following is an excerpt from the search warrant results:


  January 22, 2017


         (423) 534-5891 ("Too Short") to WOODBY, "You can go serve everyone else but me"

         Fuck dat looks lk ya got home team covered. Ill find it elsewhr"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that the user of telephone number (423) 534-5891 was upset with WOODBY because she would

  not sell them methamphetamine ("serve").


  January 22,2017


         WOODBY to (276) 202-4834 (D Honaker), "What's up"


         Honaker to WOODBY, "Wainting on cash! Lol can u get any bud"


         WOODBY to Honaker, "Yes"


         Honaker to WOODBY, "What's the tag"




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        WOODBY to Honaker, "250"


        Honaker to WOODBY, Can you do halffor 125"


        WOODBY to Honaker, "Yes"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that the user of telephone number (276) 202-4834 (D Honaker) asked Brianna WOODBY to

 provide him/her with~ ounce of marijuana for $125.00.


        On March 23, 2017, CS-27 was interviewed by law enforcement. CS-27 advised that at

 one point he was selling up to sixteen (16) ounces of methamphetamine per day. CS-27 advised

 that the majority of his methamphetamine was going to Heath Perry, Erica LNU, Jacob

 Armstrong and Brianna NICKLES aka WOODBY. CS-27 advised that he and WOODBY were

 dating at the time.


        On July 26, 2017, John Ratcliff was interviewed pmsuant to his arrest for possession of

 1.3 kilograms of crystal methamphetamine and a gun. Ratcliff stated that Brianna WOODBY

 sold methamphetamine for Shawn FARRIS who lived on Garden Lane in Bristol, VA. Ratcliff

 advised that WOODBY was afraid ofFARRIS and could not get away from him. Ratcliff stated

 that WOODBY had been to California with FARRIS to obtain methamphetamine.


        On August 16, 2017, James Nicholas "Nick:' HOWINGTON was interviewed in

 Abingdon, VA. HOWINGTON stated that "Bri" (Brianna WOODBY) was a heavy set white

 female who was a distributor of methamphetamine for Shawn LNU (Shawn FARRIS).

 HOWINGTON stated that WOODBY was sleeping with an older white male who lived with

 FARRIS.


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        On September 25, 2017, a search warrant was applied for and obtained in the Western

 District of Virginia for text message content stored in the accounts of telephone number (276)

 791-6721 (ShaWn. FARRIS). In response to the execution of this search warrant on Verizon

 Wireless, agents received text messages stored in those accounts from September 9 to September

 13, 2017. The following is an excerpt from the search warrant results:

 September 13, 2017


        (423) 612-8257 (Brianna WOODBY) to (276) 791-6721 (Shawn FARRIS), "/fya'll

        really thought I was telling don't you think ya 'll would done be in prison!!! That's

        fucked up as loyal iv been to you guys. I have been to California with ya 'll I know the

        roads and the house I've been too.    If I was telling ya 'll would been in jail.   Don't ever

        say that about me I'm not that kind ofperson and its fucked up Sofia would ever say that

        to me"


        Based on my training and experience, and knowledge of this investigation, I believe that

 Brianna WOODBY contacted Shawn FARRIS via the text messaging service of their cellular

 telephones. I believe that WOODBY was mad because FARRIS and Sofia Perez had accused

 her of talking to the police about them and their illegal narcotics distribution. I believe that

 WOODBY told FARRIS that she had been to California with him and knew where the source of

 supply was and if she wanted them to go to jail, they would already be there.


        On September 27, 2017, CS-31 was interviewed pursuant to a proffer agreement entered

 into with the U.S. Attorney's Office in Greeneville, TN. CS-31 stated that Brianna WOODBY

 introduced him to "Shawn" who was from California. CS-31 stated that "Shawn" had bought a

 house located on the Virginia side of Bristol. CS-31 stated that "Shawn" left for days at a time



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  and drove to California to pick up methamphetamine. On one (1) occasion, CS-31 observed

  vacuum sealed bags at "Shawn's" residence that contained methamphetamine. Based on your

  affiant's knowledge and experience in this investigation, your affiant believes that when

  referring to "Shawn", CS-31 was referring to Shawn FARRIS.


            On January 24,2018, CS-14 was interviewed pursuant to a proffer agreement entered

  into with the U.S. Attorney's Office in Greeneville, lN. CS-14 stated that he had obtained

  methamphetamine from "Bri" (known to agents as Brianna WOODBY).


            On March 16,2018, Darlene BARRETT was interviewed by law enforcement.

  BARRETT stated that Shawn FARRIS was her source of supply for methamphetamine.

  BARRETT stated that at one point in early 2017, FARRIS lived in Bristol, VA, but had moved

  back to California. BARRETT advised that she had been to FARRIS' house and had met "Bri"

  NICKLES (Brianna WOODBY) while she was there. BARRETT advised that after FARRIS left

  Bristol, NICKLES contacted her and told her that if she needed anything (methamphetamine) she

  could contact NICKLES.


            According to the records ofNCIC, Brianna Nicole WOODBY was charged with

  Manufacture of Methamphetamine and Maintaining a Dwelling Where Drugs are Sold in 2017.


                                   Donald Shane HAWTHORNE


            On June 1, 2017, CS-3 was interviewed by law enforcement. CS-3 provided information

  on numerous methamphetamine distributors in Southwest Virginia and Northeast Tennessee.

  CS-3 stated that the following drug dealers carried guns: Terry DALTON, (Timothy) Barry Hall,

  Ashley DAVIS, Gary MCFARLANE, Amy McFarlane (Mann), Shane HAWTHORNE, and

  others.

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         On June 14,2017, Amy Mann was arrested in possession of methamphetamine and

  firearms. A search of her cellular telephone revealed the following text messages with telephone

  number (276) 494-1235, saved under "Shane Halthorne":


  May 26,2017


         HAWTHORNE to Mann, "Ok thank you Amy really mean it you be careful and if u need

         me u call''


         Mann to HAWTHORNE, "I might in little bit need to flip some but also got other shit

         going on I will catch up w u soon as u leave there and u welcome and thanks"


  (Later in the day)


         Mann to HAWTHORNE, "Did we make any off that last night??"


         HAWTHORNE to Mann, "Yea I still got over half of it and that stuff he wantecf'


         Mann to HAWTHORNE, "Ok I coming to get ya wait there"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Amy Mann advised Shane HAWTHORNE that she may need him to sell methamphetamine

  for her ("flip some"). I believe that HAWTHORNE advised Mann that he still had over half of

  the methamphetamine from the night before.


  May 28,2017


         HAWTHORNE to Mann, "I need a damn car I'm so pissed Levi promised me he would

         have me a car there and he lied and I'm stuck without a ride and beingfucked on making

         my money"

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       Mann to HAWTHORNE, " ... but I can let u use mine for a bit cause I think I found

       someone to run my stuff so I can make money"


       HAWTHORNE to Mann, "I got 3 os gone no car to go do it"


       Mann to HAWTHORNE, "Btw why didn't Deedee and Levi pay the money for Terry??

       Or why didn't u bring them there space??"


       HAWTHORNE to Mann, "What"


       Mann to HAWTHORNE, "So Sky never got any money on the halfwhich we used 9 of to

       bond out Terry then I told him since we had some of it u was getting that spac for him he

       said he never got it"


       HAWTHORNE to Mann, "I haven't got mine yet Amy Terry got some and I haven't got

       to get mine from dude yet"


       Mann to HAWTHORNE, "No I mean the stuff u went and got the other night for him u

       said u had it"


       HAWTHORNE to Mann, "I'm taking care of him today first before any"


       HAWTHORNE to Mann, " ... what we sold to get Terry out was what Sky gave me to sell

       and only had to give him 400. Ok bond was 320 the spake was 220 so how did I go

       wrong here I am giving him spake of mine cause wasn't giving him shitty spake but I

       could have I am sorry I wasn't there yesterday but I'm not trying to go back to jail and I

       didn 't think it was safe in town at all I'm sorry"




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           Based on my training and experience, and my knowledge of this investigation, I believe

  that Shane HAWTHORNE advised Amy Mann that without the car promised him by Levi

  BENNETT, he couldn't sell methamphetamine. I believe that HAWTHORNE told Mann that he

  could sell three (3) ounces of methamphetamine ifhe had a ride. I believe that Mann told

  HAWTHORNE that she used $900.00 of money owed to Skyler SEBASTIAN from the sale of

  Yz pound of methamphetamine to pay a bond for Terry DALTON, but Crystal CS-3 ("Dee Dee")

  and BENNET should have paid it. I believe that Mann asked HAWTHORNE why he didn't

  deliver "spackle" ("spac", "spake"- a synthetic drug) to SEBASTIAN as payment for the bond

  money.


  May31, 2017


           HAWTHORNE to Mann, "Hey I'm bringing heat to you but I really would like to buy it

           or rent it to keep using it please too much fock shit people pulling and really would feel

           better having it on me please"


           Based on my training and experience, and my knowledge of this investigation, I believe

  that Shane HAWTHORNE advised Amy Mann that he was bringing her gun ("heat") back to

  her, but asked that she let him use it since it was getting common for people to pull guns during

  drug deals.


  June 1, 2017


           Mann to HAWTHORNE, "Hey have some money someone owes u also where u want to

           meet??"


           HAWTHORNE to Mann, "That who owes me"


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         Mann to HAWTHORNE, "/got Jon's"


         HAWTHORNE to Mann, "Give it to Terry"


         Mann to HAWTHORNE, "Ok towards the 500"


         HAWTHORNE to Mann, "Yea"


         Mann to HAWTHORNE, "Jon wants to know if I can get him some has cash"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Amy Mann advised Shane HAWTHORNE that she had drug proceeds from "Jon" to pay to

  him. I believe that HAWTHORNE advised Mann to give the money to Terry DALTON. I

  believe that Mann asked HAWTHORNE if he had any additional methamphetamine to sell to

  "Jon" since he had cash.


         On July 19, 2017, CS-15 was interviewed in Abingdon, VA pursuant to a proffer

  agreement entered into with the U.S. Attorney's Office. CS-15 stated that he had purchased

  "gravel" (synthetic drug) from Shane HAWTHORNE and others at his house. CS-15 stated that

  he paid HAWTHORNE $180.00 per gram of"gravel".


         On August 18, 2017, CS-4 was interviewed pursuant to a proffer agreement entered into

  with the U.S. Attorney's Office in Abingdon, VA. CS-4 stated that Kevin Carter was a

  distributor of methamphetamine and "spack" (synthetic drug) for "J' in Elizabethton. CS-4

  stated that when Carter owed too much money to "J', Shane HAWTHORNE took his place and

  introduced Terry DALTON and Brandon Thorpe to "J'.




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         On March 6, 2018, Joshua CHAPMAN was interviewed in Bristol, VA. CHAPMAN

  stated that Shane HAWTHORNE and Travis Davis were making trips to Georgia to obtain

 methamphetamine, possibly from Saleemah (ROBERSON).


         On March 13, 2018, CS-29 was interviewed in Abingdon, VA. CS-29 stated that he was

 a methamphetamine user who shared with others who needed it. CS-29 stated that most of his

  methamphetamine was supplied by Joshua CHAPMAN. CS-29 stated that he was recently

  arrested in possession of methamphetamine and a handgun after leaving the residence of Kesha

 Necessary. CS-29 stated that Shane HAWTHORNE was present at the residence and was

  supposed to have five (5) or six (6) ounces of methamphetamine.


         According to the records ofNCIC, Donald Shane HAWTHORNE was arrested for

  Possession of Drugs and Unlawful Drug Paraphernalia in 2015.


                                    Gary Lee MCFARLANE


         In August 2016, 2nd DTF Special Agent Jason Roark was contacted by Michael Hawks'

  probation officer regarding a related drug conspiracy. During the conversation the probation

  officer advised that Hawks provided drug trafficking information. Hawks advised that Tinika

  PICKEL had been arrested the previous night in Bristol, TN for possession of crystal

  methamphetamine (approximately 1/8 ounce plus a small amount of marijuana). Hawks stated

  that PICKEL had purchased the methamphetamine from Gary MCFARLANE on Grable Road

  near Exit 7 (Bristol, VA).


         On December 6, 2016, CS-16 was interviewed by law enforcement. CS-16 stated that

  Gary MCFARLANE was a big player in the methamphetamine game. CS-16 stated that

  recently, MCFARLANE had developed a serious drug problem (using his own product) and he

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  was unable to get back on top. CS-16 stated that MCFARLANE had been dealing a lot with

  Corey Gibson from Bristol, TN. CS-16 stated that MCFARLANE had been buying ounces at a

  time from Gibson, but had messed up money and owed Gibson for one (1) ounce of

  methamphetamine.


         On January 26, 2017, CS-17 was interviewed by law enforcement. CS-17 stated that

  Gary MCFARLANE traded "gravel" (Alpha PVP) with David Estep, Jr. for methamphetamine.


         In February 2017, Brandon Malone was arrested in Sullivan County, TN on drug related

  charges. Pursuant to a search of his cellular telephone, telephone number (423) 723-4938 was

  found to be saved under "Gary Bristof'.


         On March 8, 2017, a Confidential Source (CS) working with the Washington County,

  Virginia Sheriff's Office (WCSO) and Virginia State Police (VSP) contacted Gary -

  MCFARLANE. MCFARLANE advised the CS that he could sell the CS one (1) ounce of

  methamphetamine for $500.00. MCFARLANE gave the CS directions to where he was located.

  SA Billy Keene (VSP) acted in an undercover capacity and was the driver for the CS. The CS

  and Keene went to the area to find MCFARLANE, but were unable to locate him. The CS made

  contact with MCFARLANE and it was arranged for them to meet at Sam's Club parking lot. A

  short time later the meeting took place. The CS exited the UC vehicle and got into the vehicle

  with MCFARLANE and another male whom MCFARLANE introduced as Dave.

  MCFARLANE advised the CS that he did not have the full ounce of methamphetamine, but he

  did have two (2) grams that he could sell the CS for $180.00. The CS completed the deal with

  MCFARLANE and MCFARLANE advised the CS that he would have a lot more later and

  would be able to sell the CS one quarter (1/4) ounce of methamphetamine. The CS exited his



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  vehicle and got back into the UC vehicle. The CS and Keene traveled back to a staging location

  and the methamphetamine was turned over to Detective Noah Horn (WCSO) for safekeeping.

  The methamphetamine was field tested and was positive for methamphetamine.


         On March 8, 2017, CS-2 was interviewed by law enforcement. CS-2 stated that Gary

  MCFARLANE was a distributor of methamphetamine. CS-2 stated that MCFARLANE's right

  hand man was Doug Ferguson. CS-2 advised that he had sold Y2 ounces of methamphetamine to

  Ferguson as well as trading methamphetamine for "Roxi's" (oxycodone) with Ferguson.


         On March 9, 2017, Elizabeth EATON was interviewed by law enforcement. EATON

  stated that she was a methamphetamine distributor who sold methamphetamine to support her

  own methamphetamine use. EATON stated that one of her main sources of supply for

  methamphetamine was Gary MCFARLANE. EATON stated that MCFARLANE's source of

  supply for methamphetamine was his sister, Amy McFarlane aka Amy Mann.


         On March 14,2017, a CS working with the WCSO and VSP agreed to make a purchase

  oflf4 ounce ofmethamphetamine from Gary MCFARLANE for $300.00. The CS traveled to

  MCFARLANE'S residence, with SA Billy Keene (acting in an undercover role), located at 170

  Grable Drive Bristol, Virginia. Upon arrival the CS went into the residence and met with

  MCFARLANE. MCFARLANE advised the CS that the methamphetamine was not there yet,

  but he had sent Lydia and Dana to pick it up. While inside the residence waiting for the

  methamphetamine to arrive, MCFARLANE became agitated and the CS left the residence to

  wait off site for the methamphetamine to arrive.

         While waiting for a call from MCFARLANE, the CS was contacted via Facebook

  messenger by Jason Moles. Moles advised the CS that he was on his way to MCFARLANE's



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 with the methamphetamine instead of Lydia and Dana. SA Keene drove the CS back to

 MCFARLANE's residence on Grable Drive and the CS went into the residence. The deal took

 place with Moles weighing out Y4 ounce of methamphetamine and giving it to MCFARLANE.

 The CS placed the $300.00 on the bed and MCFARLANE placed the methamphetamine on the

 bed and picked up the money. The CS retrieved the methamphetamine and left the residence and

 got back into the UC vehicle. Keene and the CS met with Detective Noah Hom at a staging

 location. Detective Hom took possession of the methamphetamine for safekeeping.


        On June 1, 2017, CS-3 was interviewed in Bristol, VA. CS-3 stated that she purchased

 methamphetamine from Shawn FARRIS, Sean MAIDLOW aka "Cali", Terry DALTON,

 Heather Ashley DAVIS, Gary MCFARLANE, Skyler SEBASTIAN and others.


        On July 19, 2017, CS-15 was interviewed in Abingdon, VA pursuant to a proffer

 agreement entered into with the U.S. Attorney's Office. CS-15 stated that he had been at the

 residence of Gary MCFARLANE on many occasions when MCFARLANE and others sold

 methamphetamine. CS-15 stated that the most methamphetamine he had observed in

 MCFARLANE's possession was one (1) ounce.


        On October 30, 2017, CS-3 was interviewed by law enforcement. CS-3 advised that she

 had obtained a couple of grams of methamphetamine from Gary MCFARLANE for her personal

 use.


        On March 6, 2018, Joshua CHAPMAN was interviewed in Sullivan County, TN.

 CHAPMAN stated that when he was out of methamphetamine he would get it from Amy Mann

 and Gary MCFARLANE. CHAPMAN stated that MCFARLANE and Mann lived close to each




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 other in Bristol, VA at Exit 7. CHAPMAN stated that he had picked up methamphetamine from

 MCFARLANE's house.


        According to the records ofNCIC, Gary Lee MCFARLANE was charged with

 Possession With Intent to Distribute Schedule I or II Controlled Substance.


                  Elizabeth Pauline EATON, aka Elizabeth CUNNINGHAM


        On March 3, 2017, Elizabeth EATON was interviewed in Bristol, VA. EATON stated

 that the night she was arrested in Bristol for having a pipe containing methamphetamine she had

 two (2) "8 balls" (1/8 ounce each) hidden inside her person. EATON advised that she disposed

 of the methamphetamine when she arrived at the jail via the shower.


        EATON stated that she had been to the "Ranch" several times (known residence of John

 Lapis in Bristol, VA) and Lapis had been to her house. EATON advised that Lapis was one of

 her sources of supply for methamphetamine. EATON advised that Lapis "fronted" her ounces of

 methamphetamine. Once the methamphetamine was sold she paid Lapis $400.00 per ounce.

 EATON stated that she was able to finder a cheaper source of supply. EATON stated that

 Brandon Thorpe offered her ounces of methamphetamine for $300.00 each.


        On March 9, 2017, Elizabeth EATON was interviewed again by law enforcement.

 EATON stated that she was a methamphetamine distributor who sold methamphetamine to

 support her own methamphetamine use. EATON stated that her main source of supply for

 methamphetamine was Gary MCFARLANE. EATON stated that MCFARLANE's source of

 methamphetamine for methamphetamine was his sister, Amy McFarlane aka Amy Mann.




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         On June 15, 2017, a search warrant was executed at 9518 Reedy Creek Rd., Bristol, VA,

  the residence of Elizabeth EATON. Seized pursuant to the search warrant were approximately

  17 grams of crystal methamphetamine, digital scales, numerous small Ziploc baggies, and two

  (2) cellular telephones. EATON was charged with possession with intent to distribute

  methamphetamine.


         On July 20, 2017, CS-4 was interviewed pursuant to a proffer agreement entered into

  with the U.S. Attorney's Office in Abingdon, VA. CS-4 stated that when methamphetamine was

  transported into the Bristol area, it was divided up at several different locations, including the

  residence of Elizabeth EATON.


         On March 1, 2018, Elizabeth EATON was interviewed again by law enforcement.

  EATON stated that she started buying and selling methamphetamine because she and her family

  were having financial trouble. EATON advised that she had bought and sold methamphetamine

  with Doug Ferguson who lived in the Benhams area of Washington County, Virginia. EATON

  advised that she had known Ferguson for many years. EATON advised that the amounts she

  bought and sold to/from Ferguson never exceeded an "8 ball" (1/8 ounce) per deal.


         EATON stated that her main source of supply for methamphetamine was Skyler

  SEBASTIAN. EATON explained that Ernest Worley delivered methamphetamine for

  SEBASTIAN. EATON stated that SEBASTIAN's source of supply for methamphetamine was

  Zach LNU (known to DEA as Donald Zachary Snyder) who lived off oflnterstate 81 at Exit 10.

  EATON advised that the night she was arrested she had just provided $400.00 to Worley and

  was expecting him to deliver an amount of methamphetamine. EATON advised that she always

  "fronted" money to Worley. EATON advised that she had purchased Y2 to one (1) ounce of



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  methamphetamine from SEBASTIAN, through Worley at least ten (10) times, for $500.00 per

  ounce. EATON also stated that she had purchased marijuana from SEBASTIAN and Worley,

  usually receiving Yz to one (1) ounce each time. EATON explained that SEBASTIAN had

  introduced Worley to her and described Worley as working for SEBASTIAN.


         According to the records ofNCIC, Elizabeth Pauline EATON was convicted of

  Obtaining Prescriptions by Fraud in 2010. In 2012 and 2014, EATON was convicted of

  Violation of Probation. In 2017, EATON was charged with Possession of Schedule I or II

  Controlled Substance.


                                   Matthew Todd MULLINS


         On February 22, 2017, Matthew Todd MULLINS was interviewed in Bristol, VA.

  MULLINS stated that Joe and Brandon WHITT were brothers and large scale methamphetamine

  dealers. MULLINS stated that he had recently observed Joe WHITT in possession of three (3)

  kilograms of methamphetamine. MULLINS stated that WHITT supplied methamphetamine to

  Gary MCFARLANE and Skyler SEBASTIAN. MULLINS stated that he had purchased

  methamphetamine from WHITT on several occasions, for other people.


         On March 8, 2017, CS-2 was interviewed by law enforcement. CS-2 stated that had sold

  quarter (1/4) ounce quantities of methamphetamine to Todd MULLINS.


         On March 22, 2017, a Confidential Source (CS) working with the Washington County,

  Virginia Sheriff's Office and the Virginia State Police advised that Todd MULLINS and Robin

  Strickler were selling methamphetamine and gravel. The CS advised that he/she could possibly

  make a controlled purchase of methamphetamine from Strickler. The CS, in the presence of law

  enforcement called Strickler via Facebook messenger. The CS asked Strickler if she had any

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 methamphetamine for sale and Strickler advised the CS that she was done at home at the time.

 Strickler advised the CS that he/she could go to her house and wait for her to get home or she

 told the CS that Todd (MULLINS) was there and he could sell the CS methamphetamine as well.

        The CS traveled to the MULLINS/Strickler residence located at 158 Saul Drive Bristol,

 Virginia. SA Billy Keene (VSP) drove the CS and acted in an undercover role. Upon arrival to

 the residence the CS went inside and met with Todd MULLINS. He advised the CS that

 Strickler had not arrived home, but he made the deal with the CS. MULLINS sold the CS one

 (1) gram of methamphetamine for $80.00. Once the transaction was complete the CS exited the

 residence and the CS and Keene traveled to a staging location. The methamphetamine was

 turned over to Detective Noah Hom for safekeeping.

        On April 7, 2017, A Confidential Source (CS) working with Washington County,

 Virginia Sheriff's Office (WCSO) and Virginia State Police (VSP) contacted Detective Noah

 Hom and advised that he/she could make a purchase of methamphetamine from Todd

 MULLINS. SA Billy Keene was enlisted to act in an undercover capacity. The CI and Keene

 went to MULLINS' residence. The CS went into the residence and met with MULLINS.

 MULINS advised the CS that he had very little to sell, but did have a bag with a small amount,

 between ~-114. MULLINS advised that he would sell the methamphetamine for $50.00 and the

 transaction took place. Once the deal was done the CS left MULLINS and the CS and Keene

 traveled back to a staging location. Detective Hom took possession of the methamphetamine for

 safekeeping.


        On June 14, 2017, Amy Mann was arrested in possession of methamphetamine and a

 handgun. A search of her cellular telephone revealed the following text messages:


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         Mann to Brandon WHITT, "Todd jus called said he jus got eyes said hates to say

         anything but did u have a bag that weighed 5. 7 cause thinks got bags switched and

         wanted to let u know but didn 't know how to tell ya since hooked him up but so I will send

         uhis number"

         Based on my training and experience, and my knowledge of this investigation, I believe

 that Amy Mann advised Brandon WHITT that Todd MULLINS just obtained his scales ("eyes")

  and weighed the methamphetamine supplied by WHITT. I believe that Mann told WHITT that

 the two (2) bags of methamphetamine may have gotten switched and MULLINS was supposed

  to get the one that weighed 5.7 grams.


  Apri126, 2017


         (276) 469-1215 (Todd MULLINS) to Mann, "What do u want for halfgame"


         Mann to MULLINS, "Hun I got some time on there for total of 6 seeing where other 4

         went"


         (276) 285-7320 ("Cody Todd's Son") to Mann, "Do you have anything? Work killed me

         and needed a little to help tomorrows work day pass easy"


         Mann to Cody, "Your dad should have had some for u and him ... "


         Mann to Cody," ... he left here told me going to get rid of the last bit ... tell him j come by

         in jus a bit to get that money"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Todd MULLINS inquired of Amy Mann how much money she wanted for 1/16 ounce of

  me~amphetamine     ("half game"). I believe that MULLINS' son Cody asked Mann for

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 methamphetamine, and she advised him that MULLINS should have had some for both of them

 and she would be by soon to pick up the drug proceeds from MULLINS.


 April27, 2017


        Mann to (276) 469-1215 (Todd MULLINS), "Hey have they got there yet??"


        MULLINS to Mann, "They gave me a check I'm gonna get money for you. I'm so sorry

        it happened this way. But you know I got you. Give me a big bit"


        Mann to MULLINS, "Ok hun everyone jus wanting to know when I be good''


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Amy Mann inquired of Todd MULLINS if he had collected drug proceeds yet. I believe that

  MULLINS advised Mann that he had gotten a check, and he was going to get her the money. I

 believe that MULLINS asked Mann to set aside a "big bit" of methamphetamine for him.


 April 28, 2017


        Mann to (276) 469-1215 (Todd MULLINS), "I coming your way Hun got stuff and need

        to flip some"


        MULLINS to Mann, "I'm on parkway just got cash u want to meet"


         Based on my training and experience, and my knowledge of this investigation, I believe

 that Amy Mann advised Todd MULLINS that she had methamphetamine and needed to sell

 some. I believe that MULLINS told Mann that he just got some more drug proceeds and wanted

 to meet with her.


  May 1, 2017

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         Mann to (276) 469-1215 (Todd MULLINS), "Could u please find me and Sky some pain"


         MULLINS to Mann, "Yes"


         Mann to MULLINS, "We both out would love uforever"


         Based on my training and experience, and my knowledge of this investigation, I believe

 that Amy Mann inquired of Todd MULLINS if he could obtain pain medication for herself and

  Skyler SEBASTIAN ("Sky"). I believe that MULLINS told Mann that he would get her some.


         On July 19, 2017, CS-15 was interviewed pursuant to a proffer agreement entered into

  with the U.S. Attorney's Office in Abingdon, VA. CS-15 stated that Todd MULLINS and others

  sold methamphetamine from his residence in Bristol, VA.


         On July 20, 2017, CS-4 was interviewed pursuant to a proffer agreement entered into

  with the U.S. Attorney's Office in Abingdon, VA. CS-4 stated that when methamphetamine was

 transported into the Bristol area, it was divided up at several different locations, including the

  residence of Todd MULLINS and Robin Strickler.


         On March 6, 2018, Joshua CHAPMAN was interviewed by law enforcement.

  CHAPMAN stated that he had obtained methamphetamine from Todd and Robin MULLINS.

  CHAPMAN described the MULLINS house as being a "Trap House" (house were illegal

 narcotics are sold).


         According to the records ofNCIC, Matthew Todd MULLINS was convicted of

  Possession of a Schedule IV Controlled Substance.




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                                       Anthony Jerome HARLESS


         On February 13, 2013, Anthony HARLESS was arrested in Washington County, VA in

  possession of methamphetamine and items used in the manufacturing process of

  methamphetamine. HARLESS was eventually convicted of manufacturing methamphetamine

  and received a three (3) year sentence in Washington County, VA.


         On November 23,2015, Wendell Huskins was interviewed in Washington County, TN

  regarding his involvement in the distribution of methamphetamine between Atlanta, GA and

  Northeast Tennessee with Richard Alan Davis and Carrie Taylor. Huskins recognized a

  photograph of Anthony HARLESS and stated that HARLESS purchased methamphetamine from

  and sold methamphetamine to him.


         On January 8, 2016, Richard Alan Davis was interviewed pursuant to a proffer agreement

  entered into with the U.S. Attorney's Office in Greeneville, TN. Davis stated that he met

  Anthony HARLESS in Atlanta, GA when HARLESS accompanied Carrie Taylor on a trip to

  pick up methamphetamine.


         On March 25, 2016, Carrie Taylor was interviewed pursuant to a proffer agreement

  entered into with the U.S. Attorney's Office in Abingdon, VA. Taylor stated that she was a

  distributor of methamphetamine for Richard Alan Davis. Taylor stated that Anthony HARLESS

  sold methamphetamine for her in Abingdon, VA. Taylor stated that HARLESS sold "8 balls"

  (1/8 ounce) of methamphetamine at a time.


         On July 12, 2017, Anthony HARLESS was interviewed pursuant to his arrest for

  possession of methamphetamine, Xanax, digital scales and additional drug paraphernalia.

  HARLESS stated that he had known Lacy WEIR for approximately three (3) years. HARLESS

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  stated that WEIR was originally from California. HARLESS stated that WEIR was pregnant

  with John Ratcliffs baby. HARLESS stated that WEIR introduced him to "Shawn" who was

  WEIR's uncle and also from California. HARLESS stated that WEIR told HARLESS that

  "Shawn" had methamphetamine imported from California, a few pounds at a time at least once a

  week.


          HARLESS stated that he had received three (3) ounces of methamphetamine from WEIR

  that was provided by "Shawn". HARLESS stated that WEIR vouched for HARLESS with

  "Shawn", and "Shawn" began fronting methamphetamine to HARLESS for distribution.

  HARLESS stated that it began with four (4) ounces of methamphetamine, which HARLESS sold

  in a week. HARLESS stated that he paid "Shawn" back $650.00 per ounce of

  methamphetamine. (Based on my knowledge of this investigation, and HARLESS' description

  of events, I believe that when referring to "Shawn", HARLESS was talking about Shawn

  FARRIS.)


          On July 26, 20 17, John Ratcliff was interviewed by law enforcement regarding his

  knowledge of drug trafficking in Northeast, TN and Southwest, VA. Ratcliff stated that Anthony

  HARLESS was a "punk" who was trying to sell heroin in the area.


          On August 18, 2017, CS-4 was interviewed pursuant to a proffer agreement entered into

  with the U.S. Attorney's Office in Abingdon, VA CS-4 stated that Anthony HARLESS was a

  methamphetamine distributor who was currently dating Tonni Mitchell.


          According to the records ofNCIC, Anthony Jerome HARLESS was arrested for

  Possession with Intent to Distribute a Schedule I or II drug in 2016 (VA). In 2017 HARLESS




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 was convicted of two (2) counts of Possession of a Schedule I or II controlled substance in

 Bristol, VA.


             Kimberly Ann DRAKE aka "Momma Kim", "Mama Kim", "Ms. Kim"


         On March 23, 2015, CS-38 was interviewed in Sullivan County, TN. CS-38 stated that

  she and others sold "gravel" (Alpha PVP - synthetic drug) for Kim DRAKE in Bristol.


         On March 23, 2015, CS-39 was interviewed in Sullivan County, TN. CS-39 stated that

  she had purchased "gravel" (Alpha PVP) from Kim DRAKE. CS-39 stated that DRAKE lived

 on 24th St. in Bristol, TN.


         On AprillO, 2015, CS-40 was interviewed following her arrest in Johnson City, TN. CS-

  40 stated that Kim DRAKE was a distributor of "gravel" (Alpha PVP) who lived on 24th St. in

 Bristol, TN. CS-40 stated that DRAKE ordered packages of"gravel" and had them sent to her

 house, as well as a residence in Glade Spring, VA.


         On April13, 2015, CS-41 was interviewed in Washington County, TN. CS-41 stated that

 Kim DRAKE was a "dope" dealer in Bristol, TN.


         On July 30, 2015, CS-42 was interviewed in Sullivan County, TN. CS-42 stated that

  Jerry Smith (previously indicted in the Eastern District of Tennessee in a related drug

  conspiracy) sold "gravel" for Kim DRAKE.


         On February 17, 2016, CS-43 was interviewed in Washington County, TN. CS-43 stated

  that Kim DRAKE, aka "Momma Kim", was ordering packages of Alpha PVP from China and

  distributing it. CS-43 stated that DRAKE lived off of Anderson St. in Bristol, TN.




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         On April1, 2016, CS-36 was interviewed in Sullivan County, TN. CS-36 stated that

  "Mama Kim" was supplying the area with "gravel". CS-36 stated that "Mama Kim's" daughter

  was Whitney Drake, who sold both methamphetamine and "gravel".


         On May 25, 2016, CS-44 was interviewed in Sullivan County, TN. CS-44 stated that

  "Momma Kim" was using out of state addresses to receive shipments of Alpha PVP from China.


         On June 10,2016, CS-45 was interviewed in Kingsport, TN. CS-45 stated that "Ms.

  Kim" DRAKE received packages of Alpha PVP from China. CS-45 stated that "Ms. Kim's"

  daughter sold drugs for her mother.


         On August 12, 2016, CS-46 was interviewed in Kingsport, TN. CS-46 stated that Kim

  DRAKE was still dealing in "gravel". CS-46 stated that DRAKE's daughter, Whitney Drake,

  was a distributor of"ice" (crystal methamphetamine).


         On September 26, 2016, CS-47 was interviewed in Sullivan County, TN. CS-47 stated

  that she was purchasing "ice" (crystal methamphetamine) from several people, including Kim

  DRAKE, aka "Momma Kim" and her daughter, Whitney Drake.


         On October 6, 2016, CS-48 was interviewed in Washington County, TN. CS-48 stated

  that "Momma Kim" DRAKE was receiving packages of"gravel". CS-48 stated that DRAKE

  supplied Jerry Smith with "gravel". CS-48 stated that DRAKE had a big safe in her house.


         (In a related conspiracy indicted in the Eastern District of Tennessee, Jerry Smith was

  arrested on December 17, 2016 in Knoxville, TN in possession of approximately two (2) pounds

  of methamphetamine and a handgun. Smith was a distributor of methamphetamine for Joe

  Luther Sholtz, who was importing multiple kilograms of crystal methamphetamine from Georgia


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  into Knoxville, TN, and eventually much of it was distributed in Northeast Tennessee and

  Southwest Virginia.)


         On January 10, 2017, a search warrant was applied for and obtained in the Eastern

  District of Tennessee for text message content stored in the accounts of telephone numbers (423)

  702-1934 (Joe Luther Sholtz). In response to the execution ofthis search warrant on Verizon

  Wireless, agents received text messages stored in those accounts from December 22, 2016 to

  January 10, 2017. The following is an excerpt from the search warrant results:


  January 1, 2017


         (423) 534-7929 (Kimberly DRAKE) to Joe Sholtz, "Sorry this is Kimjust seen ur

         messages on other phone just got offphone with Jerry ... he said he has already spoke

         with someone about pretrial release ... "


         SHOLTZ to DRAKE, "They got you money right"


         DRAKE to Sholtz, "Yes they did and thank you very much"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Kimberly DRAKE contacted Joe Sholtz to obtain money for Jerry Smith's bond.


  January 2, 2017


         DRAKE to SHOLTZ, "I just had a friend stop by to see what you up with Jerry ot if I had

         heard from me this friend is from here but has a brother that works in Knoxville he is a

         cop he called his brother asking if he knew a Jerry Smith from here and tokd by buddy

         that theu had arrested him and about the federal detainer said a female had called and

         turned them in just thought yiud want to know that sorry to bother you"

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         SHOLTZ to DRAKE, "No bother tks I knew she the one. Your cop friend work Knox"


         DRAKE to Sholtz, "I don't know the cop, but yes he works and lives in Knoxville, the one

         I knkw lives here. There are brothers but jist know the one living her"


         Sholtz to DRAKE, "Well I need a paid friend here    if he knowdwho can help you know"

         DRAKE to Sholtz, "I talk to the one here, also I was in the federal halfway house in

         2010 and met a few ppl there and have stay in touch with some I see what I can find''


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Kimberly DRAKE contacted Joe Sholtz to advise him that she had information from a police

  officer in Knoxville that Jerry Smith had been set up by a female. I believe that Sholtz asked

  DRAKE if she could put him in touch with the officer as he needed someone he could pay for

  information. I believe that DRAKE advised Sholtz that she had previously been in the federal

  system and would try to find him a contact.


  January 6, 2017


         Sholtz to DRAKE, "Bring me what money I take care it"


         DRAKE to Sholtz, "I can leave in the next few bring u all I have and aint afraid ofwork

         if that will help giving u everything back:'

         Sholtz to DRAKE, "I need you to work for me"


         DRAKE to Sholtz, " ... if ur friend has work for me to do I can go met him get what u say

         and make my move and cine back to u"




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         Based on my training and experience, and my knowledge of this investigation, I believe

  that Kimberly DRAKE offered to sell methamphetamine ("ain't afraid ofwor/C') for Joe Sholtzto

  pay him back for Jerry Smith's bond. I believe that SHOLTZ advised DRAKE that he wanted

  her to sell methamphetamine ("wor/C') for him.


  January 8, 2017


          DRAKE to Sholtz, "Everyone is getting laid off here I've got tp go to work I can start

          asap if u know of any jobs I'm not lazy and a hardworker"


          Based on my training and experience, and my knowledge of this investigation, I believe

  that Kimberly DRAKE advised Joe Sholtz that she was ready to sell me~amphetamine for him

  ("I've got to go to wor/C').


          On January 26, 2017, CS-17 was interviewed in Johnson City, TN. CS-17 stated that

  Kim DRAKE was a methamphetamine distributor for Ace Rose. CS-17 stated that DRAKE also

  sold "gravel". CS-17 stated that DRAKE's daughter, Whitney Drake, used to purchase

  methamphetamine from CS-17 and Jerry Smith.


          On February 6, 2017, Brandon Thorpe was interviewed in Anderson County, TN.

  Thorpe stated that "Mama Kim", Whitney Drake's mother, was attempting to obtain crystal

  methamphetamine through him.


          On February 10, 2017, Thorpe was interviewed again in Sullivan County, TN. Thorpe

  listed many distributors for the methampJ:letamine trafficking organization for whom he worked,

  including "Momma Kim", who was the mother of Whitney Drake.




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         On March 23, 2017, CS-27 was interviewed in Abingdon, VA. CS-27 stated that he was

  with Larry Addair the night before his murder. CS-27 stated that he picked up Addair at the

  residence of"Mama Kim" on 23rd St. in Bristol, TN. CS-27 stated that Addair had a huge bag of

  "ice" (crystal methamphetamine), $50,000.00 and nine (9) pistols.


         On June 14, 2017, Amy Mann was arrested in possession of methamphetamine and

  firearms. Pursuant to her arrest, Mann stated that the most methamphetamine she ever had in her

  house was Y2 pound. Mann stated that the Yz pound of methamphetamine was eight (8) ounces in

  block form, at her house last week.


         A search of Mann's cellular telephone revealed the following text messages with

  telephone numbers (423) 217-2481 (saved under "Moma Kim") and (423) 366-6126 (saved under

  "Moma Kim New"):


  April 20, 2017


         DRAKE to Mann, "Omg /just hung up on Bill didn't mean tor u still talking to him"


         Mann to DRAKE, "No Hun they are in lock down"


         DRAKE to Mann, "U know anything good''


         Mann to DRAKE, "Whatya need??"


         DRAKE to Mann, "I need ice cream"


         Based on my training and experience, and my knowledge of this investigation, I believe

 -that Amy Mann and Kim DRAKE discussed talking to Bill Taylor in jail (Taylor was previously




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  indicted in the Eastern District of Tennessee in a related drug conspiracy). I believe that

  DRAKE then ordered crystal methamphetamine ("ice cream") from Mann.


  May 7, 2017


         DRAKE to Mann, "Ok can't text it's Kim call me real quick if u can please heard u may

         have something I need thanks baby"


         DRAKE to Mann, "U make it back''


         Mann to DRAKE, "Not yet working on it but know where mojo went"


         DRAKE to Mann, "Is he on Island Rtf'


         Mann to DRAKE, "No he made it back he trying to hurry get licensed driver and come

         back to me"


         DRAKE to Mann, "I got license do u need me to come and get u"


         Mann to DRAKE, "No we got out but he got my car and I in the new one so we coo/let u

         know when back making big order for everyone now"


         DRAKE to Mann, "I<:'


         DRAKE to Mann, "Is this tire for you Amy or someone else"


         Mann to DRAKE, "Someone else I can't got kids tonight"


         DRAKE to Mann, "I don't care to help anybody but the person who needs the tire owes

         me a lot"




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       DRAKE to Mann, "I'm gonna send this tire but I'd appreciate        ifyou'd pass the message
        on to Craig, that is said he is welcome, and I'd appreciate   if he keep he word and if ever
        call him (which I doubt I will) be a man and not some bull shitter"


       DRAKE to Mann, "But Mohawk hasn't gotten he just"


       Mann to DRAKE, "Mohawk never showed and I can pass message to him idk if we going

        that route tho! That odd he should have already been to your house by now"


        DRAKE to Mann, "Tell Mohawk sorry I didn't mean to cause him to get the run around

        but it put me in a liZ shock when I heard who it was for, just cuz how he has been acting

       since he owes me, but hell that ain 't no reason sorry Amy didn 't mean to slow ur moves

        either, I have no problem with you think ur a sweetheart love Mohawk to death and at

        one didn 't have any doubt about handing Craig whatever, but anyway tire is here I've got

       peep here from Greenville that's been here for hours, gotta get something done just let

        me know k"


        Mann to DRAKE, "!feel yajus have personal helped everyone out today since they all

        out or would help ya!! Thanks I tell everyone the same about ya always did me right and

        offered help when didn't have to!! I feel ya about people owing money idk anyone out

        this group that don 't owe me so I hear ya"


        DRAKE to Mann, "/don't concerned myselfany part of this or that group, and there is

        even one or two that I may owe, but ifI minus what they owes me and forgot about we'd

        be even or they would still owe, a lot it's just chalk to the game, I just don't get when you

        helped and helped someone and you ask if they know anything (not asking for anything

        they owe you, just to get something they lie, cuz they afraid you will ask for what they

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         owed you, but anyway I'm gonna tell them there isn 't gonna be nothing cuz it's late and

         they've been here for a couple hours, hell was trying to help a buddy and make a dollar"


         DRAKE to Mann, "Mohawk just got tire baby"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Kim DRAKE ordered "spackle" (synthetic drug) from Amy Mann, who was making a large

  order to be picked up by Timothy Barry Hall (aka "Mohawk'', previously indicted in the Eastern

  District of Tennessee in a related drug conspiracy). I believe that Mann asked DRAKE to supply

  "Mohawk'' with methamphetamine ("tire"), which she did but not before advising Mann that

  "Mohawk'' owed her money. I believe that DRAKE had drug customers from Greeneville, TN

  waiting at her residence for the "spackle".


  May 13,2017


         DRAKE to Mann, "Amy please push Terry out the door if he is still there"


  June 4, 2017


         DRAKE to Mann, "Hey baby sorry to bug u it's Kim do u know anything"


  June 6, 2017


         DRAKE to Mann, "8 sounds good if u hear ofany spak please call me"


         Mann to DRAKE, "I working on that now too"


         DRAKE to Mann, "Please call me if u do what about the other got a couple gone"


         Mann to DRAKE, "Ok u know I will or let me know if u change your mine!'



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            DRAKE to Marin "I won't LOL"
                             '

            DRAKE to Mann, " ... I'll never change my not on spackle"


            Based on my training and experience, and my knowledge of this investigation, I believe

  that Kim DRAKE ordered "spackle" ("spak'') from Amy Mann, and advised Mann that she

  already had some methamphetamine sold and needed some ("what about the other got a couple

  gone").


  June 7, 2017


            Mann to DRAKE, "I good on cream working on other dayight"


            DRAKE to Mann, "Price in that"


            DRAKE to Mann, "Hey send me a price baby I got some gone, I can get it that for 7 but

            somebody ain't wanting to wait"


            DRAKE to Mann, "I'm on my way to ur house"


            Mann to DRAKE, "So JDawg said he got yafor me"


            DRAKE to Mann, "I did get one need 2 more I'm tripping balls right now ask Jay what

            he told me about someone I would have laid down and died for omg"


            DRAKE to Mann, "I need spackle spackle"


            Mann to DRAKE, "It on way to me"


            DRAKE to Mann, "Spackle is omg I love u to death! I!"


            DRAKE to Mann, "Spackle make it there"

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         Mann to DRAKE, "Yea give me few"


         DRAKE to Mann, "Depending on price I want 2 if u have em"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Amy Mann advised Kim DRAKE that she had methamphetamine ("cream") and was still

  working on getting "spackle". I believe that DRAKE advised Mann that she could get

  methamphetamine from someone else at $700.00 per ounce. I believe that DRAKE was supplied

  an ounce of methamphetamine by Jason Clements (aka "JDawg", aka "Jay'', previously indicted

  in the Eastern District of Tennessee in a related drug conspiracy), but wanted two (2) additional

  ounces from Mann. I believe that eventually, DRAKE was supplied "spackle" by Mann.


  June 10,2017


         DRAKE to Mann, "I'm gonna have to go to Dairy Queen and get some ice cream"


  June 11, 2017


         DRAKE to Mann, "!found it in can get I need Terry asap"


         Mann to DRAKE, "My dude on bike tell him on way to me I need to meet him or have

         him bring that to me now"


         DRAKE to Mann, "He is but he is ain't Amy if they came to u with a bunch of money

         please let me know I got like 4000 gone"


         Mann to DRAKE, "Yea Thorpe has 5,250 of mine so trust me !would'


         Mann to DRAKE, "He not w u? ?"




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           DRAKE to Mann, "No we went separate ways I just told him to call u Thorpe is talking

           to me so I'll help u"


           Mann to DRAKE, "If u help get my money back I'll give u a nice chunk and help ya w

           spac this week''


           · DRAKE to Mann, " .. .!had some body wanting 2 and another quarter but I can't cover it,

           now"


           Based on my training and experience, and my knowledge of this investigation, I believe

  that Kim DRAKE advfsed Amy Mann that she had obtained methamphetamine ("ice cream")

  and needed Terry DALTON to help her sell it. I believe that later, DRAKE advised Mann that

  $4,000.00 in drug proceeds had been stolen from her. I believe that Mann told DRAKE that

  Brandon Thorpe (previously indicted in the Eastern District of Tennessee in a related drug

  conspiracy) owed her $5,250.00 in drug proceeds. I believe that Mann told DRAKE that if she

  helped Mann get her money, Mann would give a chunk of methamphetamine and some

  "spackle" ("spac") to DRAKE. I believe that DRAKE told Mann that she had a drug customer

  ordering 2lf.l ounces of methamphetamine but she couldn't afford to get it since the money was

  taken.


           On July 20, 2017, Amy Mann was interviewed as the result of a proffer agreement

  entered into with the U.S. Attorney's Office in the Western District of Virginia. Mann stated

  that the week before her arrest, Shawn FARRIS dropped off ~ pound of crystal

  methamphetamine at her residence. Mann stated that this methamphetamine was picked up by

  Brandon Thorpe, who still owed Mann $5,000.00 for the methamphetamine. In a subsequent




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  interview, Mann stated that "Mama Kim" was a distributor of"spackle" who lived on 24th Street

  in Bristol, TN.


         Your affiant believes that the text messages between Amy Mann and Kim DRAKE from

  June 6 to June 11, 2018, contained herein, referred to the methamphetamine supplied by Shawn

  FARRIS and distributed by Brandon Thorpe and Terry DALTON.


         On March 6, 2018, Joshua CHAPMAN was interviewed in Sullivan County, TN.

  CHAPMAN stated that he had distributed "gravel" purchased from Jason in Carter County, TN.

  CHAPMAN stated that Jason worked with "Mama Kim" selling "gravel". CHAPMAN stated

  that "Mama Kim" lived on 24th St., in Bristol, TN with two (2) daughters.


         According to the records ofNCIC, Kimberly Ann DRAKE was convicted in the Western

  District of Virginia in 2006 for Conspiracy to Distribute Crack Cocaine. In 2007, DRAKE was

  convicted for Manufacture/Sale/Possession of a Controlled Substance.


                                      Brandon Heath WHITT


         On September 13,2016, officers responded to a domestic disturbance at 2105 Anderson

  St., Bristol, TN. Officers identified Brandon WHITT and two females at the residence inside a

  vehicle. Pursuant to a search of the vehicle, methamphetamine residue, plastic baggies and other

  paraphernalia was seized. WHITT and one of the females was charged with possession of drug

  paraphernalia.


         On November 8, 2016, officers encountered Brandon WHITT in a vehicle in a Food City

  parking lot in Bristol, TN. Pursuant to a search of the vehicle, officers seized two (2) dosage

  units of oxycodone, one ( 1) dosage unit of Clonazepam, drug paraphernalia and two (2)


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  handguns. From WHITT's person officers seized an unknown white powdery substance.

  WHITT was charged with possession of a Schedule II drug, Schedule IV drug, firearm and drug

  paraphernalia. When getting booked into the Sullivan County Jail, officers found a crystal like

  substance on WHITT's person and he was charged with Introduction into a Penal Facility.


         On January 12, 2017, CS-11 was interviewed in Marion, VA. CS-11 provided

  information on several methamphetamine distributors known to law enforcement, including

  Jeremy Olinger. CS-11 stated that after Olinger's arrest, Levi BENNETT and others were

  supplied methamphetamine by Joe and Brandon WHITT.


         On January 18, 2017, CS-12 was interviewed in Abingdon, VA. CS-12 stated that she

  had been using methamphetamine since 2009. CS-12 names several methamphetamine

  distributors from whom she purchased methamphetamine, including the WHITT brothers, Joe

  and Brandon. CS-12 stated that she purchased "8 balls" (1/8 ounce) of methamphetamine from

  Brandon WHITT for $200.00 to $225.00. CS-12 stated that she and Levi BENNETT rode with

  WHITT to obtain methamphetamine from his source at exit 19 in Abingdon, VA.


         On January 31, 2017, a traffic stop was conducted in Sullivan County, TN on a vehicle

  operated by Brandon WHITT. Pursuant to a search of WHITT, a small amount of

  methamphetamine and drug paraphernalia was seized. WHITT was charged with DUI,

  possession of a Schedule II drug, and possession of drug paraphernalia.


         On February 13, 2017, a traffic stop was conducted in Bristol, TN on a vehicle operated

  by Brandon WHITT and occupied by Christopher Reynolds (subsequently indicted in the Eastern

  District of Tennessee in a related conspiracy). Pursuant to a search of the vehicle, small amounts




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  of methamphetamine, digital scales, and drug paraphernalia were seized. WHITT was arrested

  and charged with possession of methamphetamine and paraphernalia.


         On February 22, 2017, Todd MULLINS was interviewed in Bristol, VA. MULLINS

  stated that Joe and Brandon WHITT were brothers and big methamphetamine dealers.

  MULLINS stated that he had recently seen Joe Whitt in possession of three (3) kilograms of

  methamphetamine.


         On March 23, 2017, CS-27 was interviewed in Abingdon, VA. CS-27 provided

  information on many methamphetamine distributors in Southwest Virginia and Northeast

  Tennessee. CS-27 identified Brandon WHITT was one ofthese methamphetamine distributors.


         On April20, 2017, CS-30 was interviewed in Abingdon, VA. CS-30 provided

  information on many known methamphetamine distributors in Southwest Virginia. CS-30 stated

  that Joe and Brandon WHITT were suppliers of methamphetamine to many ofthese distributors.


         On May 6, 2017, Jerrod Garrison was arrested in Kingsport, TN in possession of

  approximately six (6) ounces of crystal methamphetamine and $1,527.00 U.S. Currency.

  Pursuant to a search warrant on Garrison's cellular telephone (423-732-1804), agents found

  telephone number (423-341-9369) saved under "Brandon". (The same phone number was saved

  in the cell phone of John Ratcliff under "Brandon Whitt".) The following text messages between

  Garrison and Brandon WHITT were contained on the phone:


  April28, 2017


         WHITT to Garrison, "I need a bunch. An you help"


         Garrison to WHITT, "What's going on man"

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         WHITT to Garrison, "I can find some"


         Garrison to WHITT, "I'm needing help me find something"


         WHITT to Garrison, "How much brother man? I have some but mostly peronal. Can get

         a zip or two for sure"


         Garrison to WHITT, "Lb"


         Garrison to WHITT, "Where you at least I'll get something from you"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Brandon WHITT contacted Jerrod Garrison to obtain a large amount of methamphetamine

  ("I need a bunch"). I believe that Garrison advised WHITT that he didn't have any

  methamphetamine and needed a pound ("lb"), and WHITT offered to get Garrison an ounce or

  two.


  April 29, 2017


         WHITT to Garrison, "Found a half a lb"


         Garrison to WHITT, "How much"


         Garrison to WHITT, "Where u at"


         WHITT to Garrison, "I'm in Bristol. Out beniums"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Brandon WHITT advised Jerrod Garrison that he found   ~   pound of methamphetamine

  ("half a lb") for Garrison and was on Benhams Road in Bristol, VA.



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  April30, 2017


         WHITT to Garrison, "Hey bro what's up. I need if u can"


         WHITT to Garrison, "I have a trip planned You coming?"


         WHITT to Garrison, "Can get your lb 3 W'


         Garrison to WHITT, "I will be good tonight"


         WHITT to Garrison, "If not bro I got you. We can go to WVA and get it for 7500"


         WHITT to Garrison, "Maybe 8 but no more than"


         Garrison to WHITT, "My guy is bac/C'


         WHITT to Garrison, "Hello yeah. I need to see ya"


         WHITT to Garrison, "Just same me about 21314 wholes. Please    ifpossible"

         Based on my training and experience, and my knowledge of this investigation, !believe

  that Brandon WHITT advised Jerrod Garrison that he was going to make a trip to West Virginia

  to obtain methamphetamine, and could get a pound of methamphetamine for $7,500.00 or

  $8,000.00 at the most. I believe that Garrison advised WHITT that his source of supply was

  back with methamphetamine, and WHITT ordered two (2), three (3) or four (4) ounces from

  Garrison.


  May2,2017


         WHITT to Garrison, "Hey bro. I'm getting asked if I can do a lb"




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         Based on my training and experience, and my knowledge of this investigation, I believe

  that Brandon WHITT check with Jerrod Garrison to see if there was a pound of

  methamphetamine available.


  May 3,2017


         WHITT to Garrison, "I can get you a half a p for 475"


         Garrison to WHITT, "Any good'


         WHITT to Garrison, "Yeah man"


         WHITT to Garrison, "Maybe a whole but not sure     if they have whole. It's 95 if they do"

         Garrison to WHITT, "Get it I will be n Bristol n a hour n a half'


         WHITT to Garrison, "Ok. I'll make it happen brother. Not to many people I would do it

        for. U want half or whole"


         Garrison to WHITT, "Half if it ant what she had last time"


         WHITT to Garrison, "Totally different"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Brandon WHITT advised Jerrod Garrison that WHITT could get Y2 pound of

  methamphetamine for $4,750.00, and maybe a whole pound for $9,500.00.


  May 4, 2017


         WHITT to Garrison, "Hey I'm good Have a couple lined up for sure for you"


         Garrison to WHITT, "K I will call u when I hit town"

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         WHITT to Garrison, "What up"


         Garrison to WHITT, "Morristown driving slow because of the rain but I am coming

         tonight bro I promise you"


         WHITT to Garrison, "Ok. Thanks man. See you soon. Be safe."


         WHITT to Garrison, "Can you do like 8 at a better price"


         Garrison to WHITT, "5 000"


         WHITT to Garrison, "Where can I meet ya"


         Garrison to WHITT, "Airport exit"


         Based on my training and experience, and my knowledge of this investigation, I believe

  that Brandon WHITT contacted Jerrod Garrison to advise him that WHITT had

  methamphetamine customers lined up. I believe that Garrison advised WHITT that he was on

  his way back from picking up and was still in Morristown. I believe that Garrison agreed to sell

  8 ounces of methamphetamine to WHITT for $5,000.00.


  May 5,2017


         WHITT to Garrison, "Where can I meet you."


         WHITT to Garrison, "I can do a q maybe 6''


         Garrison to WHITT, "Airport exit"




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         Based on my training and experience, and my knowledge of this investigation, I believe

  that Brandon WHITT contacted Jerrod Garrison to order Y4 pound (4 ounces) or six (6) ounces of

  methamphetamine.


         On June 1, 2017, CS-3 was interviewed in Bristol, VA. CS-3 stated that she sold

  methamphetamine for Shawn FARRIS. CS-3 stated that others from whom she purchased

  methamphetamine included Joe and Brandon WHITT, Terry DALTON, Heather Ashley DAVIS,

  Gary MCFARLANE, Amy McFarlane (Mann), Barry Hall aka "Mohawk", and Johnny Farner.


         On June 14, 2017, Amy Mann was arrested in possession of methamphetamine and a

  handgun. A search of her cellular telephone revealed the following text messages with telephone

  number (423) 341-9369, saved under "Brandon":


  April 2, 2017


         Mann to WHITT, "Hey did u happen to remember seeing a bag ofpills at my house this

         morning we can 't find them"


         WHITT to Mann, "No honey u only had that one in the crusher. I never seen the bag of

         them"


         Mann to WHITT, "Hey I have to have some for Bill tonighf'


         WHITT to Mann, "I got you."


         WHITT to Mann, "Tonight?"


         Mann to WHITT, "Yea I don'twant to do this but he saysfullproofto get to him so need

         at least half ball for him have gravel coming too from Kevin"


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        Mann to WHITT,"/ have to be there at 9"


        WHITT to Mann, "Be where"


        Mann to WHITT, "To drop stufffor Bill strips and ice and graver'


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Amy Mann inquired of Brandon WHITT if he knew where her pain pills were. I believe that

 Mann ordered methamphetamine from WHITT who agreed to have it for her ("/got you"). I

 believe that Mann advised WHITT that she was going to sneak Suboxone strips ("strips"),

 methamphetamine ("ice"), and Alpha PVP ("graver') into the Abingdon Regional Jail where Bill

 Taylor was being held. (Taylor was indicted in the Eastern District of Tennessee for Possession

 with the intent to distribute methamphetamine, and possession of a firearm in furtherance of a

 drug trafficking crime).


 April3, 2017


        WHITT to Mann, " ... /might need some on that ifyou an honey. I need it to re and I'll

        get you back."


        WHITT to Mann, "Can you meet us"


        Mann to WHITT, "Yea thatfine meet who?"


        WHITT to Mann, "Terry and me"


        Mann to WHITT, "How much didya need''


        WHITT to Mann, "Need help lmk. And 120 and I'll give you and halfg back and some

        later too."

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 (Several hours later)


        WHITT to Mann, "Just got good."


        Mann to WHITT, "All OK want to meet out or can meet ya and go to my house"


        Mann to WHITT, "I dropping Gary and Todd offat his house then heading to house for

        few   ifwant to meet there"

        WHITT to Mann, "0/C'


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Brandon WHITT asked Amy Mann for money so that he and Terry DALTON could obtain

 additional methamphetamine ("re" - short for re-up). I believe that WHITT offered to pay her

 back and give her 'l'2 gram of methamphetamine ("half g") for letting him borrow the money. I

 believe that WHITT advised Mann when he had obtained the methamphetamine ("Just got

 gootf') and Mann agreed to meet with him after she dropped off Gary MCFARLANE and Todd

 MULLINS.


 April4, 2017


        Mann to WHITT, "Hey how much quarter and half'


        Mann to WHITT, "Can u quote me some prices"


        WHITT to Mann, "Can I stop by"


        Mann to WHITT, "Yea"




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        Based on my training and experience, and my knowledge of this investigation, I believe

 that Amy Mann inquired of Brandon WHITT how much it would cost for Y4 ounce and Y2 ounc~

 of methamphetamine.


 April 5, 2017


        WHITT to Mann, "I need a place to hide someone. Like where people don't see them.

        Know anywhere"


        Mann to WHITT, "Are they a the if'


        WHITT to Mann, "Call my cell and no ... they are very close to me."


        WHITT to Mann, "It's my brother."


        WHITT to Mann, "Know anyone needing lmk''


        WHITT to Mann, "Hey I need a car badly. Can I rent one tonight. Need toft"


        WHITT to Mann, "Might need that place for a day or two."


        Mann to WHITT, "Okjus come by and see me around 9:30 should be home but I will call

        or text ya and can meet me there are u good for couple other people"


        WHITT to Mann, "Yeah I'm real good'


        Mann to WHITT, "Ok hun"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Brandon WHITT inquired of Amy Mann if she knew of anywhere he could hide his brother

 (Paul Joseph Whitt- subsequently indicted in the Eastern District of Tennessee in a related


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 conspiracy), for whom there was a warrant. I believe that WHITT asked Mann if she had any

 customers needing methamphetamine because he had just obtained some ("I'm real good'').


 April7, 2017


        Mann to WHITT, "I sold another o and plus half in k town"


        Mann to WHITT, "Have a ton gone but need my wheels and have ?? for ya"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Amy Mann advised Brandon WHITT that she just sold another ounce of methamphetamine

 ("o"), and that she had much more sold but needed her car ("wheels") to deliver it.


 AprilS, 2017


        Mann to WHITT, "Please make sure Bills packages in car"


        Mann to WHITT, "That a lot of money"


        Mann to WHITT, "Do u have ball on ya for someone"


        WHITT to Mann, "Yes."


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Amy Mann asked Brandon WHITT to make sure a package of drugs for Bill Taylor was still

 in her car. I believe that Mann inquired of WHITT if he had 1/8 ounce of methamphetamine

 ("half') for her to sell, to which he responded in the affirmative.


 April 9, 2017


        WHITT to Mann, "Can you take care of Cody please."


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        WHITT to Mann, "1 Y4 to him but he's gotta leave what he owes"


        Mann to WHITT, "I know that I already got 560 tho and jus started'


        WHITT to Mann, "Hell yeah. Is that counting the 200 I left or no"


        Mann to WHITT, "Well yea but I awake now lol and your girl running up to Marion

        hun"


        Mann to WHITT, "Want me to ask her to stay going to get rid of balls"


        WHITT to Mann, "Ifyou feel comfortable Deanna needs a game on front street around

        daylight"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Brandon WHITT directed Amy Mann to sell 1Y4 ounces of methamphetamine to Cody

 Blevins and to make him pay what he already owed. I believe that Mann and WHITT discussed

 amounts of drug proceeds, and sending a female to Marion, VA to sell 1/8 ounce quantities of

 methamphetamine ("balls").


 AprillO, 2017


        Mann to WHITT, "Hey Terry wants 2 onfront told him had to pay down $200.00 but

        only one at a time on front and has to be today"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Amy Mann advised Brandon WHITT that Terry DALTON wanted two (2) ounces fronted to

 him, but Mann told DALTON that he could only have one (1) at a time if he left $200.00 as a

 down payment.


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 Aprilll, 2017


        Mann to WHITT, "Hey need whole instead ofhalfnow is that here"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Amy Mann inquired of Brandon WHITT ifhe had left a whole ounce of methamphetamine

 at her house.


 April12, 2017


        WHITT to Mann, "Well you don't have to send anything by Bob. Is he there. I really

        need that money from anything he got done. I am with her now and I need about 4-450

        more to get what we need'


        Mann to WHITT, "Well will send money whim when he gets here"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Brandon WHITT advised Amy Mann that he was with a source of supply for

 methamphetamine ("her") and needed another $400.00 to $450.00 to obtain a certain amount of

 methamphetamine.


        On July 20, 2017, CS-4 was interviewed pursuant to a proffer agreement entered into

 with the U.S. Attorney's Office in Abingdon, VA. CS-4 stated that "Georgia" was a black

 female who sold methamphetamine for Shawn FARRIS. CS-4 stated that people who sold

 methamphetamine for "Georgia" were Heather Ashley DAVIS, Brandon WHITT and Terry

 DALTON.


        According to the records ofNCIC, Brandon Heath WHITT was arrested in Virginia in

 2016 for Possession With Intent to Distribute Schedule I or II Controlled Substance and two (2)

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 counts of Possession of a Controlled Substance. Also in 2016, WHITT was charged with

 Possession of a Schedule II and IV Controlled Substance in Tennessee.


                                  Melissa Darlene BARRETT


        On December 16, 2016, CS-22 was interviewed pursuant to her arrest for conspiracy to

 distribute methamphetamine in the Western District of Virginia. CS-22 stated that she was a

 methamphetamine user who sold small amounts to support her habit. CS-22 stated that she

 obtained methamphetamine from Jeremy Bartley, Dawn Vincente, Susan PAYNE and Darlene

 BARRETT. CS-22 stated that she purchased methamphetamine from BARRETT on 20 to 30

 occasions.


        On June 7, 2017, CS-8 was interviewed by law enforcement following her arrest for

 possession with intent to distribute methamphetamine. CS-8 stated that she was a

 methamphetamine distributor for Darlene BARRETT. CS-8 advised that she obtained one (1)

 ounce of methamphetamine from BARRETT every two (2) to three (3) days for $1,000.00. CS-8

 advised that BARRETT had been one of her methamphetamine sources of supply since January

 or February, 2017.


        On June 23, 2017, a Confidential Source (CS) working with the Washington County,

 Virginia Sheriffs Office (WCSO) made a controlled purchase of methamphetamine from

 Darlene BARRETT. The CS and CS vehicle were searched before and after the purchase and no

 illegal substances were found in either place. The CS was provided United States currency by

 the WCSO for the purchase. The CS was visually and electronically monitored from the staging

 location to BARRETT's residence located at 240 Campbell Street Abingdon, Virginia. The CS

 met with BARRETT and purchased one (1) gram of methamphetamine from BARRETT for


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 $120.00. Once the deal was complete the CS met with agents from the WCSO at a staging

 location. The methamphetamine was turned over Detective Noah Hom.


        On June 27, 2017, a CS working with the WCSO met with agents at a staging location.

 The CS and CS vehicle was searched and no illegal substances were found in either place. The

 CS was provided United States currency by the WCSO. The CS was then visually and

 electronically monitored from the staging location to BARRETT'S residence located at 240

 Campbell Street Abingdon, Virginia. The CS met with BARRETT and purchased one (1) gram

 of methamphetamine for $120.00 and Y4 gram of cocaine for $20.00. Once the transaction was

 completed the CS traveled back to the staging location. The CS turned over the

 methamphetamine and cocaine to Detective Hom.


        On June 29, 2017, a search warrant was applied for and obtained in the Western District

 of Virginia for text message content stored in the accounts of telephone number (276) 591-7287

 (Shawn FARRIS). In response to the execution ofthis search warrant on Verizon Wireless,

 agents received text messages stored in those accounts from June 20 to June 29, 2017. The

 following is an excerpt from the search warrant results:

 June 20, 2017


        (276) 274-6648 (Darlene BARRETT) to FARRIS, "What's up"


        BARRETT to FARRIS, "Can I come see u"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Darlene BARRETT contacted Shawn FARRIS in an attempt to obtain methamphetamine.




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        On July 26, 2017, John Ratcliff was· arrested for possession of 1.3 kilograms of crystal

 methamphetamine and a gun. Saved under "Darlene" in Ratcliff's phone was telephone number

 (276) 274-6648, a known telephone number for Darlene BARRETT.

        A search of the text messages stored on the cellular telephone of Ratcliff revealed the

 following conversations:

 July 2, 2017

        Ratcliff to (423) 341-8784 ("Cash"), "Just wanted u to know I made it glad nobody came
        I got rained out n stuck here in GA"

        Ratcliff to (276) 274-6648 (Darlene BARRETT), "I got rained out girl I had to get a
        room my cloths are soaked. But I am gonna be there first thing tomorrow"

        BARRETT to Ratcliff, "Fuck. How far"

        Ratcliff to BARRETT, "I'm 4 hrs away"

        BARRETT to Ratcliff, "Ifyour not back I'm going have to go somewhere else so let me
        know"

        Ratcliff to BARRETT, "0 bike now"

        BARRETT to Ratcliff, "How long I'm being drove craxy"

        Ratcliff to BARRETT, "Greenville NC now"

        BARRETT to Ratcliff, "Where uh now or I have to get other they driving me crazy"

        BARRETT to Ratcliff, "Need 3 or 4"

        Based on my training and experience, and my knowledge of this investigation, I believe·

 that John Ratcliff notified Darlene BARRETT that he was still four (4) hours away. I believe

 that BARRETT told Ratcliff that she needed three (3) or four (4) ounces of methamphetamine.

 July 4, 2017

        (276) 274-6648 (Darlene BARRETT) to Ratcliff, "What's up now"

        Ratcliff to BARRETT, "Now shif'


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        BARRETT to Ratcliff, "4. Need 4"

        Based on my training and experience, and my knowledge of this investigation, I believe

 that Darlene BARRETT ordered four (4) ounces of methamphetamine from John Ratcliff.

 July 7, 2017

        Ratcliff to (276) 274-6648 (Darlene BARRETT), "I want u to know it came through. The
        other"

        BARRETT to Ratcliff, "Yes"

        Ratcliff to BARRETT, "Loljigured u would like to hear that lol''

        Ratcliff to BARRETT, "Just let me know lol''

        BARRETT to Ratcliff, "Can u meet me this way"

        Ratcliffto BARRETT, "Yes if need be. What's ur number?"

        BARRETT to Ratcliff "1"
                               '
        BARRETT to Ratcliff, "Exit 5 or 7''

        Ratcliffto BARRETT, "5"

        BARRETT to Ratcliff, "Now"

        Ratcliffto BARRETT, "Exxon"

        BARRETT to Ratcliff, "Ok I'm leaving now"

        Based on my training and experience, and my knowledge of this investigation, I believe

 that John Ratcliff contacted Darlene BARRETT to advise her that the methamphetamine had

 been delivered. I believe that BARRETT ordered one (1) ounce of methamphetamine and they

 agreed to meet at the Exxon station located at exit 5 in Bristol, VA.

 July 20, 2017

        Ratcliff to (276) 274-6648 (Darlene BARRETT), "Do u need to see me today?"



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        BARRETT to Ratcliff, "Be down in about hour and half'

        Ratcliff to BARRETT, "0 ok that's fine I just didn't want to leave u hanging"

        Based on my training and experience, and my knowledge of this investigation, I believe

 that John Ratcliff checked with Darlene BARRETT to see if she needed methamphetamine. I

 believe that BARRETT advised Ratcliff that she would be down to see him.

        On August 9, 2017, a search warrant was applied for and obtained in the Western District

 of Virginia for text message content stored in the accounts of telephone numbers (276) 206-0158

 (Donald Zachary SNYDER) and (276) 274-6648 (Darlene BARRETT). In response to the

 execution of this search warrant on Verizon Wireless, agents received text messages stored in

 those accounts from July 25 to August 1, 2017. The following is an excerpt from the search

 warrant results:

 July 25,2017


        Shawn FARRIS to Darlene BARRETT, "Come on"


        FARRIS to BARRETT, "I be out side"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Shawn FARRIS contacted Darlene BARRETT to tell her that he had methamphetamine for

 her and to come pick it up at his residence, which at the time was 600 Garden Ln., Bristol, VA.


        Darlene BARRETT to (276) 206-0368 (Bradley WiLLIAMS), "When u bringing the

        rest"


        WILLIAMS to BARRETT, "As soon as I get it. I promise it won't be long."


        BARRETT to WILLIAMS, "U need to come on now Brad'


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        BARRETT to WILLIAMS, "I need that"


        WILLIAMS to BARRETT, "I'm waiting on a ride. You do me a q until y 'all get back?"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Darlene BARRETT contacted Bradley WILLIAMS to collect drug proceeds. I believe that

 WILLIAMS advised that he was still collecting, and asked BARRETT to give him a '14 ounce of

 methamphetamine ("q") to last him until BARRETT returned from a trip.


 July 27, 2017


        (276) 206-0368 (Bradley WILLIAMS) to Darlene BARRETT, "Hey, I bout got you

        together. Can you get a couple"


        BARRETT to WILLIAMS, "Don't have the money but need to go now"


        BARRETT to WILLIAMS, "Before I go to Dougs"


        WILLIAMS to BARRETT, "You going down right now? I got the money"


        BARRETT to WILLIAMS, "Yes"


        WILLIAMS to BARRETT, "Just go ahead then.          Ifyou can get me one I would
        appreciate it. I have your money though. I just can 't get it to you right now"


        BARRETT to WILLIAMS, "Can I come to you" .


        BARRETT to WILLIAMS, "Need it"


        BARRETT to Shawn FARRIS, "Can I come by"


        FARRIS to BARRETT, "30 minutes"

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        BARRETT to WILLIAMS, "Have to go in 30"


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Bradley WILLIAMS contacted Darlene BARRETT to advise her that he had drug proceeds

 to pay to her, and to inquire if she could get him a couple more ounces of methamphetamine. I

 believe that BARRETT in turn contacted Shawn FARRIS, who told her to come get the

 methamphetamine in 30 minutes.


        On August 30, 2017, a search warrant was applied for and obtained in the Western

 District of Virginia for text message content stored in the accounts of telephone number (276)

 791-6721 (Shawn FARRIS). In response to the execution ofthis search warrant on Verizon

 Wireless, agents received text messages stored in those accounts from August 19 to August 25,

 2017. The following is an excerpt from the search warrant results:

 August 20, 2017

        Shawn FARRIS to (276) 274-6648 (Darlene BARRETT), "Don't no it was Sunday !will

        send it in the morning"

        BARRETT to FARRIS, "Damn"

        BARRETT to FARRIS, "Ok"

        Based on my training and experience and knowledge of this investigation I believe that

 Shawn FARRIS contacted Darlene BARRETT to advise her that he was not able to send a

 package of methamphetamine to her because it was Sunday. I believe that FARRIS told

 BARRETT he would send the methamphetamine the next day.

 August 25,2017

        (276) 274-6648 (Darlene BARRETT) to Shawn FARRIS, "Why 15 when it's been 14"

        FARRIS to BARRETT, "Because the blue stuffwas extra"

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                BARRETT to FARRIS, "Damn we each got one blue so 7500 a piece"

                FARRIS to BARRETT, "Yes"

                BARRETT to FARRIS, "Ok"

                Based on my training and experience and knowledge of this investigation, I believe that

         Darlene BARRETT utilized the text messaging service of her phone to contact Shawn FARRIS

         on his cellular telephone. I believe that BARRETT asked FARRIS why he sent her 15 ounces of

         methamphetamine when she usually received 14 ounces, "Why 15 when it's been 14 ". I believe-

         that FARRIS advised BARRETT that they received an extra ounce of "blue" methamphetarriine

         free of charge. I believe that BARRETT then confirmed that she would owe $7,500.00 for the

         methamphetamine she received, "Damn we each got one blue so 75 00 a piece ".

                On September 19, 2017, Brad WILLIAMS was arrested in Abingdon, VA with

         approximately one (1) ounce of methamphetamine and $4,400.00 U.S. Currency.

                On September 19, 2017, CS-6 was interviewed. During the interview CS-6 stated that

         Brad WILLIAMS was a methamphetamine distributor in Southwest Virginia. CS-6 stated that

         she had been with WILLIAMS when he sold methamphetamine numerous times to several

         different people. CS-6 stated that Darlene BARRETT was the methamphetamine source of

         supply for WILLIAMS.

                CS-6 also stated that she had known BARRETT for about ten (10) years. CS-6 stated

         that BARRETT had provided methamphetamine to her several times over the past four (4)

         months for personal use. CS-6 stated that she had smoked methamphetamine with BARRETT

         on numerous occasions.

                On January 5, 2018, a Confidential Source (CS), working with the Russell County,

         Virginia and Washington County, Virginia Sheriff's Office's advised that he/she could make a



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 controlled purchase of two (2) "8 balls" (1/8 ounce) of methamphetamine from Susan PAYNE.

 The CS further advised that PAYNE's source of supply for the methamphetamine was Darlene

 BARRETT. The CS met with law enforcement and his/her person was searched and no illegal

 substances/narcotics were found. The CS agreed to have an undercover (UC) drive him/her to

 the purchase location. After several phones calls and discussion it was decided that the UC

 would drive the CS to Dairy Queen located on West Main Street in Abingdon, Virginia to meet

 PAYNE. The CS was provided with an audio recording device and $500.00 United States

 currency for the transaction. Once there the CS got into PAYNE's vehicle and they drove to 240

 Campbell Street Abingdon, VA (approximately one (1) mile from Dairy Queen). Upon arrival a

 vehicle appearing similar to a Chevrolet Equinox that the CS stated was BARRETT's pulled in

 behind PAYNE's vehicle. Two people exited the vehicle and went inside the residence.

 PAYNE collected the $500.00 from the CS and went into the residence. A short time later,

 PAYNE exited the residence and got back into her vehicle and handed the CS a Ziploc style bag

 containing a crystal substance. PAYNE advised the CS that the bag contained seven (7) grams

 of methamphetamine. PAYNE then dropped the CS off to the UC at Dairy Queen. The

 methamphetamine was collected and preserved for evidence.


        On January 19, 2018, CS-9 was interviewed by law enforcement regarding his knowledge

 of methamphetamine distribution in Southwest Virginia. CS-9 stated that Susan PAYNE aka

 WRIGHT had been his methamphetamine source of supply for two (2) to three (3) years. CS-9

 advised that he obtained an "8 ball" (1/8 ounce) of methamphetamine from PAYNE every other

 week and paid $200- $300 per"8 ball". CS-9 advised that the most methamphetamine with

 which he had seen PAYNE was Y2 to one (1) ounce at one time.

        CS-9 advised law enforcement that PAYNE's source of supply for methamphetamine


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 was Darlene BARRETT. CS-9 knew that BARRETT was PAYNE's source because PAYNE

 had told him the same and CS-9 had been present with PAYNE when BARRETT had delivered

 methamphetamine to PAYNE's residence.

        CS-9 also stated that he had purchased methamphetamine from BARRETT three (3) to

 four (4) times in "8 ball" (1/8 ounce) quantities.

         CS-9 advised that PAYNE and BARRETT have advised him that BARRETT's source of

 supply for methamphetamine lived on Orebank Road in Kingsport, Tennessee. PAYNE advised

 CS-9 that BARRETT was also getting methamphetamine from "Mexicans". CS-9 advised that

 BARRETT was also getting methamphetamine mailed to her in Bristol, Virginia. CS-9 advised

 that PAYNE had the idea to steal one of the packages that BARRETT was to receive. PAYNE

 told CS-9 that the package was one (1) pound of crystal methamphetamine and the mail came at

 2:00p.m.


        CS-9 further advised that a few months ago, BARRETT's son stole $17,000.00 in cash

 and methamphetamine from BARRETT.


        On February 2, 2018, ATF CS-10272 was interviewed by law enforcement. The CS

 stated that Darlene BARRETT was a methamphetamine distributor.


        On March 13, 2018, CS-6 was interviewed by law enforcement regarding her knowledge

 of drug trafficking in Southwest, VA. CS-6 had been arrested earlier in the day and while at the

 jail a quantity of methamphetamine had been discovered inside one of her body cavities.


        CS-6 advised that the methamphetamine that she had was obtained from Darlene

 BARRETT. CS-6 advised that she had been friends with BARRETT for many years and

 obtained methamphetamine from her often. CS-6 advised that she never paid for the


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 methamphetamine, but BARRETT always gave it to her. CS-6 advised that she obtained it from

 BARRETT at BARRETT's house and other locations.


        CS-6 advised that BARRETT obtained her methamphetamine from a white male named

 "Shawn" from California. CS-6 advised that "Shawn" sent crystal methamphetamine to

 BARRETT and Brad WILLIAMS. CS-6 advised that she had spoken to "Shawn" one time on

 the phone, but had never met him.


        CS-6 advised that she had received methamphetamine from WILLIAMS, but did not

 have to pay for it, he always gave it to her.


        On March 15, 2018, the United States Postal Service discovered a package that was

 mailed from California to Darlene BARRETT at 240 Campbell Street Abingdon, VA. The

 USPS intercepted the package and after a police K -9 alerted to the package having an illegal

 narcotic inside of it, a search warrant was obtained by the USPS. A crystal like substance was

 found inside the package that was field tested and was positive for methamphetamine.


        The methamphetamine was replaced with a "fake" substance and repackaged in the

 original package. A federal search warrant was obtained for 240 Campbell Street Abingdon, VA

 (known residence of Melissa Darlene BARRETT). On March 16, 2018, the package of

 methamphetamine was delivered by the USPS and after the package was taken from the mailbox,

 the search warrant was served.


         Several items were found during the search and they included the following items: the

 package of "fake" methamphetamine that was delivered by USPS, two (2) sets of digital scales,

 several empty zip style bags and other items.



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        The following text message was recovered from BARRETT's phone:


 March 16, 2018


        (276) 791-6721 (Shawn FARRIS) to (276) 274-6648 (Darlene BARRETT), "It's there"


        Based on my training and experience, and knowledge of this investigation, I believe that

 Shawn FARRIS advised Darlene BARRETT that the package of methamphetamine he sent her

 had arrived at her house. I believe that FARRIS had been tracking the package via the United

 States Postal Service tracking number.


        BARRETT was interviewed by law enforcement on the same day. Before the interview

 started, BARRETT was advised of her Miranda rights- and she acknowledged she understood

 them and agreed to speak with law enforcement. BARRETT stated that her source of supply for

 methamphetamine was Shawn FARRIS. BARRETT advised that she met FARRIS in January

 2017 through a mutual friend, John Ratcliff. BARRETT purchased 118 ounce of

 methamphetamine for $225.00 from FARRIS during the first meeting. For the next four (4)

 months BARRETT purchased 1/8 ounce of methamphetamine from FARRIS two (2) to three (3)

 time per week for $200.00 each. After four (4) months, FARRIS "fronted" one (1) ounce of

 methamphetamine for $700.00. BARRETT was then "fronted" one (1) ounce of

 methamphetamine per week for the next four (4) to five (5) months. After FARRIS moved back

 to California, he started mailing the methamphetamine to BARRETT. During the last three (3)

 to four (4) months, FARRIS had been fronting Y4 pound quantities of methamphetamine to

 BARRETT for $1750.00. The packages with Y<llb. quantities arrived every week or two. Once

 or twice the packages that FARRIS sent to BARRETT only contained one (1) ounce of

 methamphetamine. BARRETT advised there was a six (6) week period when she did not receive


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 any methamphetamine from FARRIS. BARRETT advised that she would owe FARRIS

 $1,750.00 for every four (4) ounces of methamphetamine she received from him. FARRIS

 advised BARRETT to never sign for packages. BARRETT advised that she used the Postal

 Service to mail the money back to FARRIS. She placed the United States currency into a little

 yellow, plastic, bubble wrap lined envelope with the currency inside. She then placed the

 envelope inside of a USPS Priority Mail Box and mails the package to Shawn FARRIS at 253

 Standing Bear Road, Cathedral City, CA.


         According to the records ofNCIC, Melissa Darlene BARRETT had no prior drug

 felonies.


                          Susan Nicole PAYNE, aka Susan WRIGHT


         According to the records ofVerizon Wireless, telephone number (276) 525-2233 was

 subscribed to by David Payne at 22002 Neal Rd., Abingdon, VA.


         On May 15, 2015, a search warrant was applied for and obtained in the Western District

 of Virginia for text message content stored in the accounts of telephone number (423) 341-4177

 (Jeremy BARTLEY). In response to the execution of this search warrant on Verizon Wireless,

 agents received text messages stored in those accounts from April30, 2015 to May 15, 2015.

 The following is an excerpt from the search warrant results:


 April30, 2015

         (423) 341-2177 (Jeremy BARTLEY) to (276) 525-2233 (Susan PAYNE), "Hey !need to
         come get that money"

         PAYNE to BARTLEY, "Where the fuck u been for days"

         PAYNE to BARTLEY, "Don't bring anyone with you!!!!"


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        Based on my training and experience, and my knowledge of this investigation, I believe

 that Jeremy BARTLEY contacted Susan PAYNE in an effort to collect drug proceeds.


 May 6,2015

       (423) 341-2177 (Jeremy BARTLEY) to (276) 525-2233 (Susan PAYNE), "I need cash
       for the two grams u got last"

        PAYNE to BARTLEY, "I can't believe u came up and didn't yell at me"

        BARTLEY to PAYNE, "Hell from what Iv ben tould u don't want me around. Hell Iv

        ben good as I canto u and your kids Iv never gave u a reson to not trust me! If I get

        busted that's on me but I'm trying to make sll these ppl happy really I need to make me

        happy"


        BARTLEY to PAYNE, "I'm sick offight I'm sick ofgetin bitched out alk time I'm a man

        of my word that's all Iv got to got u keep tellin Charley lies Iv never called Jenny my gf

        we ant fuckin she just gets shit cheeper then me and I mean 5 00 $ cheeper ."


        BARTLEY to PAYNE, "Just get my money ready and Ill come grab it up and then I'm

        done ... "


        Based on my training and experience, and my knowledge of this investigation, I believe

 that Jeremy BARTLEY contacted Susan PAYNE to collect money for two (2) grams of

 methamphetamine. I believe that BARTLEY proceeded to tell PAYNE that the only reason he

 was with "Jenny" was because she could get methamphetamine at a cheaper price than he could.


        Based upon other text messages received in this investigation, as well as information

 received from CS', I believe that when referring to "Jenny", BARTLEY was referring to Jannie




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 Perkey who was the ex-girlfriend of Dakota BARKER and had a personal relationship with Alan

 Davis in Atlanta, GA.


        On May 18, 2015, CS-18 was interviewed in Abingdon, VA. CS-18 was in federal

 custody for Conspiracy to Distribute Methamphetamine. CS-18 identified a photograph of Susan

 PAYNE and stated that CS-18 had sold a couple of grams of methamphetamine to PAYNE over

 the past two (2) years.


        On June 13, 2015, CS-19 was interviewed in Blountville, TN. CS-19 stated that Jeremy

 BARTLEY was a crystal methamphetamine distributor in Abingdon, VA. CS-19 stated that

 he/she was introduced to BARTLEY by Susan PAYNE for the purpose of obtaining

 methamphetamine. CS-19 stated that PAYNE was a distributor of methamphetamine for

 BARTLEY.


        On June 15, 2015, CS-20 was interviewed in Bristol, VA. CS-20 stated that Jeremy

 BARTLEY was a crystal methamphetamine distributor in Southwest Virginia. CS-20 stated that

 Susan LNU was a distributor of methamphetamine for BARTLEY.


        According to the records ofVerizon Wireless, telephone number (276) 525-5964 was

 subscribed to by David Payne at 22002 Neal Rd., Abingdon, VA.


        On June 18, 2015, a search warrant was applied for and obtained in the Western District

 of Virginia for text message content stored in the account of (276) 791-1640 (Jeremy

 BARTLEY). 1n response to the execution of this search warrant on Verizon Wireless, agents

 received text messages stored in those accounts from June 8, 2015 to June 18, 2015. The

 following is an excerpt from the search warrant results:



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 June 16, 2015

        (276) 791-1640 (Jeremy BARTLEY) to (276) 525-5964 (Susan PAYNE), "Hey can u get
        on the five plz"

        PAYNE to BARTLEY, "Yes"

 June 17,2015

        BARTLEY to PAYNE, "U get them yet"

        PAYNE to BARTLEY, "That mother fucker must have died!"

        BARTLEY to PAYNE, "Well u bring hem back''

        PAYNE to BARTLEY, "My lord I got them"

        BARTLEY to PAYNE, "Where are u?"

        PAYNE to BARTLEY, "I'll yell at u when I get them to sleep"

        BARTLEY to PAYNE, "He'll ya B say in he ready to rolf'

        Based on my training and experience, and my knowledge of this investigation, I believe

 that Jeremy BARTLEY contacted Susan PAYNE to collect drug proceeds, possibly for five (5)

 grams of methamphetamine. I believe that PAYNE was able to collect, notified BARTLEY that

 she had the money, and BARTLEY stated that Brandin HYDE (aka "B") was ready to take a trip

 to purchase additional methamphetamine.


        On July 2, 2015, a search warrant was applied for and obtained in the Western District of

 Virginia for text message content stored in the accounts of (276) 791-1640 (Jeremy BARTLEY)

 and (276) 395-0056 (Brandin HYDE). In response to the execution of this search warrant on

 Verizon Wireless, agents received text messages stored in those accounts from June 18, 2015 to

 July 2, 2015. The following is an excerpt from the search warrant results:


 June 19, 2015




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        (276) 791-1640 (Jeremy BARTLEY) to (276) 525-5964 (Susan PAYNE), "Find me an r
        Imao"

        PAYNE to BARTLEY, "0/C'

        BARTLEY to PAYNE, "U ok now"

        PAYNE to BARTLEY, "That bitch still ain't payed me. And I'm waiting on call for ur
        things"

        BARTLEY to PAYNE, "I need them bad Iof'

        PAYNE to BARTLEY, "He s trying to put me off but it ain t happening Judy has gave
        me hell all afternoon even at dads I m driving her around now trying to get her to sleep
        so I can just show up on his fucking door he wont think I just show up cause the babies"

        Based on my training and experience, and my knowledge of this investigation, I believe

 that Jeremy BARTLEY contacted Susan PAYNE to order a Roxicet (aka "r") and collect drug

 proceeds ("u ok now"). I believe that PAYNE told BARTLEY that after her baby fell asleep she

 was going to visit the person from whom she was trying to collect the money.


 June 21, 2015

        (276) 525-5964 (Susan PAYNE) to (276) 791-1640 (Jeremy BARTLEY), "Damn where
        uat"

        PAYNE to (276) 395-0056 (Brandin HYDE), "U heard from J''

        HYDE to PAYNE, "Sue .. r u awake"

        PAYNE to HYDE, "Ya"

        HYDE to PAYNE, "K can I get him sum them things from u"

        PAYNE to HYDE, "Yes he can have all that I have he knows that but I think there's only
        like 4 damn I don't think help him!"

        Based on my training and experience, and my knowledge of this investigation, I believe

 that Susan PAYNE contacted Brandin HYDE in an attempt to contact Jeremy BARTLEY. I




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 believe that PAYNE agreed to provide four (4) Roxicet tablets to HYDE for BARTLEY's

 personal use.


 June 26-27,2015

        (276) 791-1640 (Jeremy BARTLEY) to (276) 525-5964 (Susan PAYNE), "Hey have u
        came up with that money yet Iv got to do something and fast"

        PAYNE to BARTLEY, "No I haven t I have not even paid my car payment and don t
        have it after someone took money out ofpocket book sometime between 1 yesterday and
        1130 today only place could have happened was at apt"

        BARTLEY to PAYNE, "Who was thir"

        PAYNE to BARTLEY, "sorry sorry u ask who was at my house it was only 3or4 people
        Brandon I know not him girl next door Rob Anthony and I can t remember if Mark was in
        and out I want to say he had been over at B and ran in to say hi but I m doing all I can
        today ok I well yell at u in a bit I m done with that bitch Missy she told me I couldfuck
        off'

        BARTLEY to PAYNE, "Hey how much got took''

        PAYNE to BARTLEY, "Right at 400 it was 383or393"

        BARTLEY to PAYNE, "Mark''

        BARTLEY to PAYNE, "He came up with 500last night some how"

        Based on my training and experience, and my knowledge of this investigation, I believe

 that Jeremy BARTLEY contacted Susan PAYNE to collect drug proceeds. I believe that

 PAYNE advised BARTLEY that she had been robbed of almost $400.00 that was owed to

 BARTLEY. I believe that BARTLEY told PAYNE that "Mark'' had unexpectedly come up with

 $500.00 the night before.


 June 27 - 28, 2015

        (276) 525-5964 (Susan PAYNE) to (276) 791-1640 (Jeremy BARTLEY), "!just talk to B
        he said he's been texting u every 5 mins"

        BARTLEY to PAYNE, "Ya want in dope"

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        PAYNE to BARTLEY, "What?"

        BARTLEY to PAYNE, "Iv got some killer I need it gone"

        Based on my training and experience, and my knowledge of this investigation, I believe

 that Susan PAYNE contacted Jeremy BARTLEY to advise him that Brandin HYDE (aka "B")

 was trying to get in touch with him. I believe that BARTLEY advised PAYNE that he was in

 possession of some high quality methamphetamine (aka "killer dope") that HYDE wanted.


 June 30, 2015

        (276) 395-0056 (Brandin HYDE) to (276) 525-5964 (Susan PAYNE), "Can I come c you
        soon"

        PAYNE to HYDE, "I'm at my dads what's up"

        HYDE to PAYNE, "Biz"

        PAYNE to HYDE, "Oh hold up we cooking and I yell at u ok''

        HYDE to PAYNE, "K''

 July 1, 2015

        HYDE to PAYNE, "Hey Sue jus wanted to c if u had that yet. Not tryin to rush ya or
        anything but I gonna get more dog food this eve."

        PAYNE to HYDE, "Yeah I'll yell at u in just a little"

        HYDE to PAYNE, "Ok''

        Based on my training and experience, and my knowledge of this investigation, I believe

 that Brandin HYDE contacted Susan PAYNE to discuss a business proposition with her. I

 believe that PAYNE agreed to provide money to HYDE to purchase methamphetamine (aka

 "dog food').




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        On July 16, 2015, a search warrant was applied for and obtained in the Western District

 of Virginia for text message content stored in the accounts of (276) 395-0056 (Brandin HYDE)

 and (540) 759-2597 (Jeremy BARTLEY). In response to the execution of this search warrant on

 Verizon Wireless, agents received text messages stored in those accounts from July 2, 2015 to

 July 16, 2015. The following is an excerpt from the search warrant results:


 July 3, 2015

        PAYNE to HYDE, "I was at apt all day yesterday why u not come by"

        HYDE to PAYNE, "I texted u couple times I can come by shortly and really need it also"

        HYDE to PAYNE, "Can I come by I'm really needing dat munny and I hav sum good
        dvds to show. ya also"

        PAYNE to HYDE, "U at the apt"

        HYDE to PAYNE, "Not yet package don't come in til twelve but will b there"

        PAYNE to HYDE, "0/C'

        Based on my training and experience, and my knowledge of this investigation, I believe

 that Susan PAYNE contacted Brandin HYDE to ask why he did not come to her apartment. I

 believe that HYDE told PAYNE that he needed her money and the package of methamphetamine

 would be arriving at 12:00.


 July 5, 2015

        (276) 525-5964 (Susan PAYNE) to (276) 395-0056 (Brandin HYDE), "Ash getting ready
        to change my phn I txt u with it"

        (276) 525-2703 (Susan PAYNE) to HYDE, "This is my new number don't give it to
        anybody"




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                                                                                                 I




        Based on my training and experience, and my knowledge of this investigation, I believe

 that Susan PAYNE contacted Brandin HYDE to advise him ofher new cellular telephone

 number.


        On July 31, 2015, a search warrant was applied for and obtained in the Western District

 of Virginia for text message content stored in the accounts of (276) 395-0056 (Brandin HYDE).

 In response to the execution of this search warrant on Verizon Wireless, agents received text

 messages stored in those accounts from July 16,2015 to July 31,2015. The following is an

 excerpt from the search warrant results:


 July 23, 2015

        HYDE to PAYNE, "Hey Sue u think there anyway we can square up on money today I'm
        hurting like a ma focker for cash rite now"

        PAYNE to HYDE, "It be later this afternoon!"

 July 25, 2015

        HYDE to PAYNE, "I m good on a lil bit offire but I need cash and need to collect if
        possible everybody is hurt in me from gettin anything big cuz I can t get my money that s
        owed out it hurting me"

        Based on my training and experience, and my knowledge of this investigation, I believe

 that Brandin HYDE contacted Susan PAYNE to notify her that he was in possession of a little bit

 of methamphetamine (aka ''fire"), but needed to collect drug proceeds from her and others to

 purchase additional methamphetamine.


 July 27,2015

        (276) 395-0056 (Brandin HYDE) to (276) 525-2703 (Susan PAYNE), "Yo Sue wats
        good."

        PAYNE to HYDE, "Brandon when did u start working for them?"



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        HYDE to PAYNE, "Wat the fuck u talking bout. I hope yur joking rite"

        PAYNE to HYDE, "No I'm not?"

        HYDE to PAYNE, "Well yur wrong. And u ofall people should no that."

        HYDE to PAYNE, "Day wat lies ya want but I bet notta god dam soul can or will show
        me any paperwork on me ever and who ever started that tell em to balls up and say it to
        my god dam face instead of a ducking lying dint in the shadows"

       HYDE to PAYNE, "I need my dam money no matter wat lies ya talking Sue that's sum
       fucked up god dam shit."

        HYDE to PAYNE, "I'll b by wen I get bac in liZ while I need my motherfucking money u
        owe me and hav owed me for a month then u ain't gotta worry bout fuckin wit me ever
        again and if u wanna see he ll in the eyes like u never seen before then call me a snitch
        again that s yur one time pass I ain t never told on nobody that sounds like bullshit to
        avoid paying a ma fucker his money owed that s alright though cuz everybody calls u a
        snitch I jus won t take up for u no more"

 July 31, 2015

        HYDE to PAYNE, "Hey I need that mony Sue today"

        Based on my training and experience, and my knowledge of this investigation, I believe

 that Brandin HYDE contacted Susan PAYNE in an effort to collect drug proceeds. I believe that

 PAYNE accused HYDE of working for the police (aka "snitch"), to which he took offense. I

 believe that HYDE accused PAYNE of using that as an excuse not to pay her drug debt to him. I

 believe that HYDE continued to make attempts at collecting his drug money.


        On August 14, 2015, CS-21 was interviewed at the Abingdon Regional Jail. CS-21

 stated that Brandin HYDE and Jeremy BARTLEY were distributors of crystal methamphetamine

 in SW VA. CS-21 stated that HYDE had others who sold methamphetamine for him including

 Susan PAYNE, Connie Strouth, Dawn (Vincente), Missy (Harless), and Mark (Wilson).


        On December 16, 2015, CS-22 was interviewed pursuant to her arrest in the Western

 District of Virginia for Conspiracy to Distribute Methamphetamine. CS-22 stated that one of her

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 sources of supply for methamphetamine was Susan PAYNE. CS-22 stated that she had obtained

 methamphetamine from PAYNE somewhere between 25 and 40 times. CS:..22 stated that

 PAYNE sold methamphetamine to several people, including Brandin Hyde, Jennifer, Jamie and

 "Opie". CS-22 stated that PAYNE was supplied methamphetamine by Jeremy Bartley and

 Dawn Vincente. CS-22 stated that Darlene BARRETT was also supplied methamphetamine by

 Vincente.


        On February 25, 2016, CS-23 was interviewed pursuant to her arrest for possession with

 intent to distribute methamphetamine. CS-23 stated that her source of supply for

 methamphetamine was Brandon Stone. CS-23 stated that she obtained "8 balls" (118 ounce) of

 methamphetamine every other day from Stone for the last three (3) weeks. CS-23 stated that she

 used half of the methamphetamine she obtained from Stone, and gave the rest to Susan PAYNE

 to sell. CS-23 stated that PAYNE sold the methamphetamine given to her and paid CS-23

 $240.00. CS-23 stated that PAYNE used to sell methamphetamine for Jeremy Bartley.


        On March 22, 2016, CS-24 was interviewed pursuant to a proffer agreement entered intq

 with the U.S. Attorney's Office in Abingdon, VA. CS-24 stated that he sold methamphetamine

 for Jeremy Bartley until Bartley started using Susan PAYNE as his main distributor. CS-24

 stated that PAYNE sold most of Bartley's methamphetamine, and provided methamphetamine to

 CS-24 on a couple of occasions.


        On March 31, 2016, CS-25 was interviewed pursuant to a proffer agreement entered into

 with the U.S. Attorney's Office in Abingdon, VA. CS-25 stated that when he and Jeremy

 Bartley brought methamphetamine back from Georgia, they took the methamphetamine to the




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 residence of Susan PAYNE to "break it up" (split it up for distribution). CS-25 stated that he

 sold methamphetamine to PAYNE, Crystal Pharis and others for distribution.


        On January 5, 2018, a Confidential Source working with the Russell County, Virginia

 Sheriffs Office (RCSO) and the Washington County, Virginia Sheriffs Office (WCSO) agreed

 to purchase methamphetamine from Susan PAYNE. Detective Mike Homer (RCSO) acted as

 the undercover (UC) officer during the deal by driving the CS. After several phone calls from

 the CS to PAYNE it was agreed that the CS would purchase two (2) "8 balls" (1/8 ounce each)

 of methamphetamine. Eventually, the CS and UC met PAYNE at the Exit 14 Dairy Queen. The

 CS got into PAYNE's vehicle and they drive to Campbell Street Abingdon, Virginia (known

 residence of Darlene BARRETT). The CS gave PAYNE $500.00 of documented money that

 had been provided to her by law enforcement. PAYNE went into the residence and left the CS in

 the vehicle. A short time later PAYNE exited the residence (later determined to be 240

 Campbell Street) and got back into the vehicle and gave the CS a one (1) Ziploc style bag that

 was supposed to have seven (7) grams of methamphetamine. PAYNE then drove the CS back to

 Dairy Queen and the CS got back into the vehicle with the UC and they drove to a staging

 location. The methamphetamine was turned over to TFO Kevin Widener for safekeeping.


        On January 19, 2018, CS-9 was interviewed by law enforcement regarding his knowledge

 of methamphetainine distribution in Southwest Virginia. CS-9 stated that Susan PAYNE aka

 WRJGHT has been his methamphetamine source of supply for two to three (2-3) years. CS-9

 advised that he obtain an "8 ball" (1/8 ounce) of methamphetamine from PAYNE every other

 week and paid $200- $300 per "8 ball". CS-9 advised that the most methamphetamine with

 which he had seen PAYNE was Y2 to one (1) ounce.

        CS-9 advised law enforcement that PAYNE's source of supply for methamphetamine

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 was Darlene BARRETT. CS-9 knew that BARRETT was PAYNE's source because PAYNE

 had told him the same and CS-9 had been present with PAYNE when BARRETT had delivered

 methamphetamine to PAYNE's residence.

        CS-9 also stated that he had purchased methamphetamine from BARRETT three to four

 (3-4) times in "8 ball" (1/8 ounce) quantities.

         CS-9 advised that PAYNE and BARRETT had advised him that BARRETT's source of

 methamphetamine lived on Orebank: Road in Kingsport, Tennessee. PAYNE advised CS-9 that

 BARRETT was also getting methamphetamine from "Mexicans". CS-9 advised that BARRETT

. was also getting methamphetamine mailed to her in Bristol, Virginia. CS-9 advised that PAYNE

 had the idea to steal one of the packages that BARRETT was to receive. PAYNE told CS-9 that

 the package was one (1) pound of crystal methamphetamine and the mail came at 2:00p.m.


        On March 16, 2018, Darlene BARRETT was interviewed in Abingdon, VA. ·BARRETT

 stated that she received methamphetamine through the mail from Shawn FARRIS who lived in

 California. BARRETT stated that Susan PAYNE, aka WRIGHT, was a sub-distributor of

 methamphetamine for her. BARRETT stated that she had given PAYNE one (1) to two (2)

 ounce quantities of methamphetamine in the past.


        According to the records ofNCIC, Susan PAYNE has no prior drug felonies.


                                     Bradley Scott WILLIAMS


        On December 16, 2016, CS-22 was interviewed pursuant to her arrest for Conspiracy to

 Distribute Methamphetamine in the Western District of Virginia. CS-22 stated that she was a

 methamphetamine user who sold small amounts to support her habit. CS-22 stated that she

 obtained methamphetamine from Jeremy Bartley, Dawn Vincente, Susan PAYNE and Darlene


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 BARRETT. CS-22 stated that Brad WILLIAMS sold methamphetamine for Vincente and

 delivered it to CS-22 on a couple of occasions.

        On September 13, 2017, a search warrant was applied for and obtained in the Western

 District of Virginia for text message content stored in the accounts of telephone number (276)

 791-6721 (Shawn FARRIS). In response to the execution of this search warrant on Verizon

 Wireless, agents received text messages stored in those accounts from August 30 to September

 13, 2017. The following is an excerpt from the search warrant results:

 September 11,2017

        (276) 206-0368 (Bradley WILLIAMS) to (276) 791-6721 (Shawn FARRIS), "Hey bro,

        everything ok? "

        FARRIS to WILLIAMS, "Address please"

        WILLIAMS to FARRIS, "209 B Street Abingdon, VA 24210"

        WILLIAMS to FARRIS, "You have my address right"

        FARRIS to WILLIAMS, "That's what !was lookingfor !just need house number and

        zip"

 September 12, 2017

        FARRIS to WILLIAMS, "/sent some boxes for you to send money"

        WILLIAMS to FARRIS, "ok"

        Based on my training and experience, and my knowledge of this investigation, I believe

 that Brad WILLIAMS provided an address to Shawn FARRIS to which FARRIS sent a package

 of methamphetamine. I also believe that FARRIS advised WILLIAMS that he included shipping

 boxes in the package of methamphetamine for WILLIAMS to send money to FARRIS once the

 methamphetamine was sold. The address used to send the package to WILLIAMS was 209 B



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 Street Abingdon, VA. Your affiant knows that this is the known address of Charlotte Finch,

 obtained from the Abingdon Police Department database. Charlotte Finch is the on again off

 again girlfriend of WILLIAMS and she is the mother of WIILLIAMS' children.

        On September 19, 2017, Officer Yancy Wilmoth with the Abingdon, Virginia Police

 Department noticed Bradley Scott WILLIAMS at the Foam Wash located on Cook Street in

 Abingdon, Virginia. Officer Wilmoth knew that WILLIAMS had an outstanding arrest warrant

 for him from Washington County, Virginia. Wilmoth noted that a Mercedes SUV was pulled

 into a wash bay and WILLIAMS was washing the vehicle.


        As Wilmoth was taking WILLIAMS into custody, WILLIAMS asked Wilmoth if he

 could give his money to his girlfriend who was inside the vehicle. Wilmoth allowed

 WILLIAMS to do so. As the front passenger door was opened, Wilmoth noticed a strong odor

 of marijuana coming from the vehicle. At this time WILLIAMS removed an item from his left

 front pants pocket and quickly put it in the female passengers lap. The item was a thick wad of

 cash held together by rubber bands. Wilmoth retrieved the cash and placed it on the top of the

 vehicle. As Wilmoth was taking WILLIAMS into custody a black male came to their location

 from another wash bay and asked WILLIAMS what was going on before returning to his vehicle

 and driving off in a gold Chevrolet Malibu. WILLIAMS was advised of his Miranda Rights and

 placed in the rear of Wilmoth's patrol vehicle. The female passenger ofthe Mercedes was

 identified as Nickey Sue Snead.

        A blue Suzuki motorcycle was parked in front of the wash bay were the gold Chevrolet

 Malibu had been. The motorcycle had a helmet, mounted cell phone and the keys were in the

 ignition. Employees of the car wash advised that a male subject had been with the motorcycle

 and was interacting with the female in the Mercedes and the black male. Snead informed


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 officers that the Mercedes belonged to WILLIAMS and that WILLIAMS had driven the

 motorcycle to the car wash.


        Snead's belongings were removed from the Mercedes and she permitted them to be

 searched. No illegal items were located within Snead's belongings.


        During the search of the Mercedes, several illegal items were found. Found in the center

 console of the vehicle were the following items: Ziploc style bag containing a crystal substance

 (methamphetamine), plastic bag with green plant material (marijuana), various small Ziplock

 style bags, and an O'Reilly's receipt for the purchase of car cleaning items. A Wal-Mart receipt

 showing that the Mercedes had been serviced two (2) days prior was found in the glove box of

 the vehicle. Brad WILLIAMS name was on the receipt as being the person who had the vehicle

 serviced. A red and black backpack was found in the rear seat. Snead advised that the backpack

 belonged to WILLIAMS. Dried mushrooms were found inside the backpack.


        On September 19, 2017, CS-6 was interviewed in Abingdon, VA. CS-6 stated that she

 met Brad WILLIAMS about one (1) month prior to this interview through Darlene BARRETT.

 CS-6 advised that WILIAMS had been staying at BARRETT's residence since BARRETT had

 bonded him from jail. CS-6 advised she had been spending a lot more time with WILLIAMS

 over the last few weeks and as a result she has had a falling out with BARRETT.


        CS-6 advised that WILLIAMS was an "8 ball" (1/8 ounce) ice methamphetamine

 trafficker. CS-6 advised that WILLIAMS distributed methamphetamine several times a day

 every day. CS-6 stated that WILLIAMS charged between $215.00 and $220.00 for each "8 ball"

 (1/8 ounce). CS-6 advised that at times, she received calls for methamphetamine and she

 coordinated the methamphetamine deals for WILLIAMS. CS-6advised that WILLIAMS


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 sometimes traded methamphetamine for marijuana. CS-6 advised that WILLIAMS had several

 customers whom he meets at different places. One of WILLIAMS' customers was a black male

 nicknamed "Cuz" who drove a gold Buick or a red Mustang. CS-6 advised that "Cuz" met

 WILLIAMS wherever he happened to be at the time. CS-6 advised that she was unsure whether

 BARRETT was WILLIAMS' source or WILLIAMS was BARRETT's source, but advised that it

 appeared that BARRETT was the source of supply for methamphetamine.


        According to the records ofNCIC, Bradley Scott WILLIAMS has 16 prior felony

 convictions, including several drug trafficking felonies.




                               Devon Scott COLEMAN, aka "Cuz"


        On January 12, 2017, CS-11 was interviewed by law enforcement. CS-11 stated that

 Devon, aka "Black Cuz", obtained ounces of methamphetamine from Ricky Miller. Your affiant

 is aware that "Cuz" is a nickname for Devon COLEMAN, who is a black male.


        On January 18, 2017, CS-12 was interviewed by law enforcement. CS-12 stated that

 Devon Coleman went by the nickname "Cuz". CS-12 advised that COLEMAN had driven her to

 pick up and sell methamphetamine.


        On February 8, 2017, Devon COLEMAN was arrested following a pursuit in Glade

 Spring, VA. COLEMAN was operating a red Ford Mustang at the time. Pursuant to a ~earch of

 COLEMAN's vehicle, officers seized crystal methamphetamine, digital scales, drug

 paraphernalia, and several cellular telephones.

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        On September I9, 20I7, Brad WILLIAMS was arrested in Abingdon, VA with

 approximately one (I) ounce of methamphetamine and $4,400.00 U.S. Currency. During the

 arrest of WILLIAMS, which occurred at a car wash, a black male from a gold Chevrolet Malibu

 type vehicle approached officers to inquire about WILLIAMS. Witnesses had observed

 WILLIAMS and the black male together prior to the arrest.

        On September I9, 20I7, CS-6 was interviewed. CS-6 stated that Brad WILLIAMS was a

 methamphetamine distributor in Southwest Virginia. CS-6 stated that she had been with

 WILLIAMS when he sold methamphetamine numerous times to several different people. CS-6

 stated that one of WILLIAMS' distributors was a black male nicknamed "Cuz" who drove a gold

 Buick and a red Ford Mustang. CS-6 stated that Darlene BARRETT was the methamphetamine

 source of supply for WILLIAMS.

        On September 20, 20 I7, the Washington County Sheriffs Office received a call

 regarding a suspicious vehicle parked at Patrick Henry High School. Upon arrival, deputies

 observed Devon COLElV.~AN passed out in the driver's seat of the vehicle. After making

 contact, COLEMAN advised deputies that he had a .38 Special in the center console of his

 vehicle. Deputies observed what appeared to be marijuana in the vehicle. Pursuant to a search

 of COLEMAN's vehicle, approximately II ounces of methamphetamine, digital scales, baggies

 and other paraphernalia were seized.

        On October 30, 20I7, CS-49 was interviewed in Abingdon, VA. CS-49 provided

 information on several methamphetamine distributors in Southwest Virginia. CS-49 stated that

 several of these distributors were supplied methamphetamine by Devon COLEMAN.




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        On January 26, 2018, CS-49 was interviewed again in Abingdon, VA. CS-49 stated that

 the night before Devon COLEMAN was arrested at Patrick Henry High School, he supplied four

 (4) ounces of methamphetamine to Glenda Keller and Anthony Boardwine.


        On March 13, 2018, CS-6 was interviewed in Abingdon, VA. CS-6 stated that the

 methamphetamine with which Devon COLEMAN was arrested in September 2017 was supplied

 to him by Brad WILLIAMS. CS-6 stated that WILLIAMS had just received a package from

 Shawn FARRIS and provided two (2) ounces of methamphetamine to COLEMAN. CS-6 stated

 that COLEMAN was arrested the following day.


        On April 7, 2018, CS-28 was interviewed following her arrest in Saltville, VA in

 possession of Y2 ounce of methamphetamine. CS-28 stated that she had sold methamphetamine

 to Devon COLEMAN a couple of time prior to his arrest at Patrick Henry High School. CS-28

 stated that prior to that, she had driven COLEMAN to Bristol, VA at least four (4) times to

 acquire methamphetamine. CS-28 stated that she didn't know what amounts of

 methamphetamine COLEMAN purchased, but she observe him in possession of a lot of money.

 CS-28 stated that COLEMAN paid her $200.00 per trip to Bristol.


        CS-28 stated that she had "rented" her vehicle to COLEMAN so he could use it to buy

 and sell crystal methamphetamine. CS-28 stated that she knew COLEMAN was "running dope"

 with the vehicle.


        According to the records ofNCIC, Devon Scott COLEMAN has no prior drug felony

 convictions.


                                      Cooperating Sources



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        Throughout this affidavit your affiant has identified several individuals by name and

 several as Cooperating Sources (CS) which were interviewed and/or assisted law enforcement

 during this investigation. Your affiant believes the information provided by them, and included

 in this affidavit, to be credible and reliable for the following reasons: the debriefings included

 statements against their own penal interest, the information provided by them matched

 information received from other sources, and much of this information was confirmed by other

 investigative methods. Some of these methods included surveillances and records acquired

 during the investigation, including records of phone calls and text messages between the co-

 conspirators.


        CS' are utilized for several reasons: a CS might be a member of the target organization

 and therefore have easy access to information needed by law enforcement; a CS might have a

 relationship with members of the target organization, making it easy to purchase and/or locate

 illegal substances, profits, etc.; and in many situations a CS provides to law enforcement the

 opportunity to infiltrate an organization when all other means are exhausted.


        CS-1, CS-2, CS-3, CS-4, CS-5, CS-7, CS-14, CS-16, CS-18, CS-21, CS-22, CS-23, CS-

 24, CS-25, CS-27, CS-29, CS-31, CS-35 and CS-37 were arrested for violations of the law, most

 of which were drug distribution charges. The CS' provided information on other crimes,

 including drug traffickers, in return for consideration for bond and/or reduced sentences.


         CS-6, CS-8, CS-10, CS-11, CS-12, CS-13, CS-15, CS-17, CS-20, CS-26, CS-28, CS-30,

 CS-32, CS-33, CS-34, CS-36, CS-38, CS-39, CS-40, CS-41, CS-42, CS-43, CS-44, CS-45, CS-

 46, CS-4 7, CS-48 and CS-49 provided information to law enforcement in return for

 consideration for charges which had not yet been brought against them.



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        CS-9 and CS-19 cooperated with law enforcement in return for monetary compensation,

 making undercover purchases of narcotics in furtherance of successful prosecutions.


                                      Telephone Toll Analysis


        Based on my training and experience, I know the following: Distributors of narcotics,

 including but not limited to methamphetamine, oxycodone and other pharmaceutical drugs,

 communicate extensively by the use of cellular telephones. These cellular telephones are often

 in the names of other people or non-existent persons with fraudulent addresses to avoid law

 enforcement detection. Drug distributors often change cellular telephones and/or cellular

 telephone numbers to further avoid detection by law enforcement.


        Throughout this investigation, agents utilized Administrative Subpoenas and Court

 Orders to gather subscriber information, toll records and text messages on cellular telephones

 utilized in the illegal activities of the Shawn FARRIS Drug Trafficking Organization. Although

 the subscriber information was inaccurate and incomplete in some cases, agents were able to

 identify the users through various means (debriefings, surveillances, search warrants, arrests,

 etc.). The collection of toll records also presented a challenge as many cellular telephone

 numbers were changed throughout the investigation. The information received from the

 telephone companies was accurate, however was not complete because of the time lost while

 tracking down new cellular telephone numbers. The information received allowed agents to

 further link specific events to the organization, and also allowed agents to discount certain events

 that were not relevant to the overall conspiracy.


                                   REQUEST FOR SEALING




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        It is respectfully requested that this Court issue an order sealing, until further order of the

 Court, all papers submitted in support of this application, including the application and search

 warrant. I believe that sealing this document is necessary because the items and information to

 be seized are relevant to an ongoing investigation into the criminal organizations as not all of the

 targets of this investigation will be searched at this time. Based upon my training and

 experience, I have learned that, online criminals actively search for criminal affidavits and search

 warrants via the internet, and disseminate them to other online criminals as they deem

 appropriate, i.e., post them publicly online through the carding forums. Premature disclosure of

 the contents of this affidavit and related documents may have a significant and negative impact

 on the continuing investigation and may severely jeopardize its effectiveness.




 I declare·under the penalty of perjury that the_fo~r_ng is true and correct to the best of my

 knowledge and belief. Executed on SeptembW,2018, at Abingdon, Virginia.




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                                    Christopher L.,Parks, TFO
                                    Drug Enforcement Administration




 SWORN AND SUBSCRIBED TO BEFORE ME

         ~ DAY OF SEPTEMBER, 2018




 HONORABLE JUDGE PAMELA MEADE SARGENT

 UNITED STATES DISTRICT COURT IN THE

 WESTERN DISTRICT OF VIRGINIA




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